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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE: FORD MOTOR CO. F-150 AND            Case No. 2:19-md-02901-SFC
RANGER TRUCK FUEL ECONOMY
MARKETING AND SALES PRACTICES
LITIGATION,                                Honorable Sean F. Cox
This Document Relates To: All Actions      JURY TRIAL DEMANDED
                                           CLASS ACTION


        CONSOLIDATED AMENDED MASTER CLASS ACTION
          COMPLAINT AND DEMAND FOR JURY TRIAL
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      The allegations herein are based on Plaintiffs’ personal knowledge and allege

the following based upon the investigation of counsel, the review of scientific

papers, and the proprietary investigation of experts.

                                    INTRODUCTION
      1.     Car makers know that one of the most important factors for a consumer

purchasing a vehicle is fuel economy. With vehicle purchases and leases among the

largest transactions most consumers will carry out in their lifetime, consumers trust

the fuel economy rating displayed in a vehicle’s window sticker to help them make

important financial decisions.

      2.     This case arises because Defendant Ford Motor Company (“Ford”)

cheated on its fuel economy testing on some of its best-selling and most popular

trucks. Ford then used its inaccurate fuel economy ratings on the window stickers to

sell and lease these trucks to consumers. Over a million Ford truck owners are now

driving vehicles that will cost them thousands of dollars more to own or lease than

they anticipated. Because of Ford’s deception, all purchasers and lessees of these

vehicles paid more for these vehicles than they are actually worth.

      3.     Plaintiffs bring this class action for a Class defined as:

             All persons who purchased or leased a Ford vehicle whose
             published EPA fuel economy ratings, as printed on the
             vehicles’ window sticker, were more than the fuel
             economy rating produced by a properly conducted
             applicable federal mileage test. The vehicles in the Class



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             include but are not limited to the model year 2019 Ford
             Ranger and the 2018 and 2019 Ford F-150.
        4.   These vehicles are hereinafter referred to as the “Coastdown Cheating

Vehicles” and include the 2019 Ford Ranger Truck and the 2018-2019 F-150 series

trucks, and likely also include other Ford vehicles.

        5.   A Coastdown test is a procedure that determines metrics used to

calculate a vehicle’s fuel economy values or “MPG Rating” (miles per gallon).

Coastdown testing tells a manufacturer how much rolling resistance and drag a

vehicle has so that when a vehicle is testing on a dynamometer, the manufacturer

knows how much drag and rolling resistance to apply to the vehicle to simulate the

road.

        6.   Ford fudged its coastdown testing and used inaccurate drag and

resistance figures to boost the vehicles’ “EPA” (Environmental Protection Agency)

mileage ratings.

        7.   On the window sticker of every Ford F-150 and Ford Ranger are EPA-

required indications of fuel economy including city and highway mileage, miles per

gallon, and a combined city and highway miles per gallon statement.

        8.   Ford knows that fuel economy is material to consumers.

        9.   Testing of the 2018 F-150 using the mandated coastdown procedure

reveals that Ford did not follow appropriate coastdown testing procedures. The

window sticker or “Monroney sticker” for a 2018 Ford F-150 V6 indicates mileage


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of 20 city, 26 highway, and 22 combined. Accurate coastdown testing of a 2018

Ford F-150 V6 reveals the following: The real highway fuel number is 22.7 MPG

compared to 26.6 reported by Ford to the EPA. For city driving it is 17.7 MPG

compared to 19.6 reported to the EPA. Thus, the highway fuel difference is 15%

and the city difference 10%. Assuming the lifetime of a truck is 150,000 miles, at

the real city miles per gallon rates, city driving would consume an extra 821 gallons

over the lifetime of the truck. The highway extra fuel (extra means real MPG versus

Ford’s reported MPG) is 968 gallons.

      10.    These are material differences as manufacturers fight for every 1/10th

of a difference in miles per gallon both to attract customers and to earn credits under

the applicable environmental emissions regulations.

      11.    Ford’s motives in overstating vehicle miles per gallon were: (1) to

advertise the vehicles as “Best in Class” for fuel economy or to advertise a fuel

economy that would beat the competition and/or be attractive to consumers, (2) to

attract customers based on fuel economy ratings, and (3) to earn more credits for

Ford under the U.S. CAFE environmental regulations since less fuel burned means

less emission.

      12.    Ford has admitted that its newest model of truck, the 2019 Ranger, is

just the first model that is being investigated by the government for improper




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coastdown testing. As explained herein, Plaintiffs’ testing of the 2018 F-150 reveals

similar coastdown cheating.

       13.     Ford sold approximately 1 million 2018 and 2019 F-150s. The extra

fuel costs, with the same assumptions above, for all 2018 and 2019 F-150s would be

approximately $2.32 billion for city driving, $2.09 billion highway, and $1.9 billion

combined.

       14.     The 2019 F-150 is virtually identical in engine and body configuration.

In fact, on its applications to certify fuel economy ratings and emissions

certifications for the 2019 F-150, Ford used the same vehicle serial numbers and

presented the same emissions test numbers to the EPA as it did for the 2018 F-150

application.

       15.     Ford deliberately misrepresented or miscalculated certain road testing

factors during internal vehicle testing processes in order to report that its vehicles

were more fuel efficient than they actually were. In particular, Ford miscalculated

something called “Road Load,” which is the force that is imparted on a vehicle while

driving at a constant speed over a smooth, level surface from sources such as tire

rolling resistance, driveline losses, and aerodynamic drag.1 Ford’s internal lab tests



   1
      See Exhibit 1, Determination and Use of Vehicle Road-Load Force and
Dynamometer Settings, United States Environmental Protection Agency (Feb. 23,
2015), https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34102&flag=1 (last
visited Jan. 26, 20120)

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did not account for these forces, which lead to better—and entirely inaccurate—fuel

economy projections.

       16.   Despite Ford’s own employees questioning its testing practices and the

calculations that Ford was utilizing for fuel economy ratings, at least by September

2018,2 Ford took no action to correct the problems nor to alert consumers that their

test methods were flawed and that consumers would not get the promised fuel

economy.

       17.   With respect to its 2019 Ford Ranger, Ford promised that its midsize

truck “will deliver with durability, capability and fuel efficiency, while also

providing in-city maneuverability and the freedom desired by many midsize pickup

truck buyers to go off the grid.”3 Ford also claimed that its “All-New Ford Ranger

[was] Rated Most Fuel Efficient Gas-Powered Midsize Pickup in America.”4 “With

EPA-estimated fuel economy ratings of 21 mpg city, 26 mpg highway and 23 mpg


   2
      Exhibit 2, Natasha Singer, Ford is Investigating Emissions and Fuel Efficiency
Data, The New York Times (Feb. 21, 2019),
https://www.nytimes.com/2019/02/21/business/ford-emissions.html?module=inline
(last visited Jan. 26, 2020).
    3
      Exhibit 3, 2019 Ford Ranger Most Fuel-Efficient in its Class, Because Of
Course It Is, The Newswheel (Dec. 21, 2018), https://thenewswheel.com/2019-ford-
ranger-most-fuel-efficient/ (last visited Jan. 26, 2020) (“Statement from Todd
Eckert, Ford Truck Group’s Marketing Manager”).
    4
      Exhibit 4, Adventure Further: All-New Ford Ranger Rated Most Fuel-Efficient
Gas-Powered Midsize Pickup in America, Ford Media Center (Dec. 11, 2018),
https://media.ford.com/content/fordmedia/fna/us/en/news/2018/12/11/ford-ranger-
rated-most-fuel-efficient-gas-powered-midsize-pickup.html (last visited Jan. 26,
2020).

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combined, 2019 Ford Ranger is the most fuel efficient gas-powered midsize pickup

in America.”5 Ford claimed the 2019 Ranger “is the no-compromise choice for

power, technology, capability, and efficiency whether the path is on road or off.”6

       18.   Ford knew that to sell the Ranger, it had to tout it had fuel efficiency,

and this promise was material to consumers.

       19.   There is no question that Ford used the fuel efficiency ratings as a

selling tool to entice consumers into purchasing the 2019 Ford Ranger. Indeed, Ford

promised that “[t]he adventure-ready 2019 Ford Ranger is the most fuel-efficient

gas-powered midsize pickup in America—providing a superior EPA-estimated city

fuel economy rating and an unsurpassed EPA-estimated combined fuel economy

rating versus the competition. The all-new Ranger has earned EPA-estimated fuel

economy ratings of 21 mpg city, 26 mpg highway and 23 mpg combined for 4x2

trucks.”7 Ford claimed that “[t]his is the best-in-class EPA-estimated city fuel

economy rating of any gasoline-powered four-wheel-drive midsize pickup and it is

an unsurpassed EPA-estimated combined fuel economy rating.”8

       20.   Fuel economy was also used as a tool to entice customers to buy the

Ford F-150. Ford promised that certain of 2018 F-150s were “best in class” for fuel



   5
     Id.
   6
     Id.
   7
     Id.
   8
     Id.

                                        -6-
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economy, or promised certain city, highway and combined fuel miles per gallon for

other F-150 models that were robust enough that Ford believed would make them

attractive to consumers.

         21.   In contrast to Ford’s promises, as noted above, scientifically valid

testing has revealed that the vehicles (i) are not as fuel efficient as promised; (ii) are

not what a reasonable consumer would expect; and (iii) are not what Ford had

advertised. Further, the vehicles’ promised power, fuel economy and efficiency, and

towing capacity are obtained only by altering the testing calculations.

         22.   Ford’s representations are deceptive and false, and Ford sold its 2019

Ford Rangers and 2018-19 F-150 models while omitting information that would be

material to a reasonable consumer; namely, that Ford miscalculated factors during

internal vehicle testing processes in order to report that its vehicles were more fuel

efficient than they actually were, and discounted common real-world driving

conditions.

         23.   Upon information and belief, the onboard computers in the Coastdown

Cheating Vehicles have been programmed with a mileage cheat device [hereinafter,

the “cheat device”], a computer that misrepresents the mileage displayed on the trip

meter.

         24.   Ford did not disclose that the Coastdown Cheating Vehicles included

the mileage cheat devices. In fact, Ford programmed its onboard computers with a



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mileage cheat device to continue to lie about the vehicle’s fuel economy in order to

continually conceal the misrepresentation.

      25.    The information that the Coastdown Cheating Vehicles contained a

cheat device would be material to a reasonable consumer.

      26.    Plaintiffs bring this action individually and on behalf of all other current

and former owners or lessees of the Coastdown Cheating Vehicles. Plaintiffs seek

damages, injunctive relief, and equitable relief for Ford’s misconduct related to the

design, manufacture, marketing, sale, and lease of the Coastdown Cheating

Vehicles, as alleged in this Complaint.

                                     JURISDICTION

      27.    This Court has subject matter jurisdiction over this action under 28

U.S.C. § 1332 because Plaintiffs and Defendant reside in different states. The Court

has supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C.

§ 1367.

      28.    This Court also has original jurisdiction over this lawsuit pursuant to

28 U.S.C. § 1332(a)(1), as modified by the Class Action Fairness Act of 2005,

because Plaintiffs and Defendant are citizens of different states; there are more than

100 members of the Class (as defined herein); the aggregate amount in controversy

exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and Class




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members reside across the United States 28 U.S.C. § 1332(d)(1), (2). The citizenship

of each party is described further below in the “Parties” section.

      29.    This Court has personal jurisdiction over Ford pursuant to 18 U.S.C.

§ 1965(b) & (d). This Court has personal jurisdiction over Ford because it has its

principal place of business here, minimum contacts with the United States, this

judicial district, and this State, and it intentionally availed itself of the laws of the

United States and this state by conducting a substantial amount of business

throughout the state, including the design, manufacture, distribution, testing, sale,

lease, and/or warranty of Ford vehicles in this State and District. At least in part

because of Ford’s misconduct as alleged in this lawsuit, the Coastdown Cheating

Vehicles ended up on this state’s roads and in dozens of franchise dealerships.

                                           VENUE
      30.    Venue is proper in this Court under 28 U.S.C. § 1391 because Ford

maintains its principal place of business in this District, because a substantial part of

the events or omissions giving rise to Plaintiffs’ claims occurred in this District,

including, inter alia, Ford’s decision-making, design, promotion, marketing, and

distribution of the Coastdown Cheating Vehicles occurred in this District, and

because Defendant conducts a substantial amount of business in this District.

Accordingly, Defendant has sufficient contacts with this District to subject

Defendant to personal jurisdiction in the District and venue is proper. Venue is also



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proper under 18 U.S.C. § 1965(a) because Ford is subject to personal jurisdiction in

this District, as alleged in the preceding paragraph, and Ford has agents located in

this District.

                                          PARTIES
       Plaintiffs

     1.      Alabama Plaintiffs

                    a. William Don Cook

       31.       Plaintiff William Don Cook is an Alabama citizen and resident of

Montgomery, Alabama. On or around March 12, 2019, he purchased a new 2018

Ford F-150 Lariat FX4, paying approximately $56,225.92. Plaintiff Cook compared

the alleged fuel efficiency of the F-150 with other similar trucks and selected the F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

       32.       Plaintiff Cook purchased the new 2018           F-150 with VIN

1FTEW1EG4JKD13378 from Collier Ford, an authorized Ford dealership located

in Wetumpka, Alabama. Plaintiff Cook purchased and still owns this vehicle.

Unbeknownst to Plaintiff Cook at the time the vehicle was purchased, it consumes

more fuel than advertised.

       33.       Plaintiff Cook selected and ultimately purchased his vehicle in part

because of the stated “best in class” fuel economy. Before he purchased the 2018

Ford F-150, Plaintiff Cook saw representations about the vehicle’s performance,




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including its fuel economy, on Ford’s website, dealer brochures, television

commercials and on the vehicle’s window sticker.

          34.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          35.   Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          36.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          37.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      38.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                   b. Ronald J. Dismukes

      39.    Plaintiff Ronald J. Dismukes is an Alabama citizen and resident of

Eufaula, Alabama. On or around February 20, 2018, he purchased a new 2018 Ford

F-150 SuperCrew XLT, paying approximately $51,148.46. Plaintiff Dismukes

compared the alleged fuel efficiency of the F-150 with other similar trucks and

selected the F-150 truck based in part on Ford’s representations about the vehicle’s

fuel efficiency.

      40.    Plaintiff Dismukes purchased the new 2018 F-150 with VIN

1FTEW1EGXJFA56025 from Money Ford, an authorized Ford dealership located

in Abbeville, Alabama. Plaintiff Cook purchased and still owns this vehicle.

Unbeknownst to Plaintiff Dismukes at the time the vehicle was purchased, it

consumes more fuel than advertised.

      41.    Plaintiff Dismukes selected and ultimately purchased his vehicle, in

part, because of the stated “best in class” fuel economy. Before he purchased the

2018 Ford F-150, Plaintiff Dismukes saw representations about the vehicle’s



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performance, including its fuel economy, on Ford’s website and on the vehicle’s

window sticker.

          42.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          43.   Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          44.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          45.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      46.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                c. Jeffrey Foshee

      47.    Plaintiff Jeffrey Foshee is an Alabama citizen and resident of Jasper,

Alabama. On or around March 30, 2019, he purchased a new 2019 Ford F-150

SuperCrew XLT, paying approximately $40,000. Plaintiff Foshee compared the

alleged fuel efficiency of the F-150 with other similar trucks and selected the F-150

truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      48.    Plaintiff Foshee purchased the new 2019 F-150 with VIN

1FTEW1EP4KFB32937 from Long-Lewis Ford, an authorized Ford dealership

located in Prattville, Alabama. Plaintiff Foshee purchased and still owns this vehicle.

Unbeknownst to Plaintiff Cook at the time the vehicle was purchased, it consumes

more fuel than advertised.

      49.    Plaintiff Foshee selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Plaintiff Foshee recalls that

before he purchased the 2019 Ford F-150, he saw representations about the vehicle’s

performance, including its fuel economy, in Ford’s print brochures, Ford’s radio and



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television ads, and on the vehicle’s window sticker. Plaintiff Foshee also recalls

discussing fuel economy with the dealer in advance of purchase.

          50.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          51.   Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          52.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          53.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      54.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

     2.     California Plaintiffs

                a. Victor Perez

      55.    Plaintiff Victor Perez is a California citizen and resident of El Centro,

California, located in Imperial County. On or about February 16, 2019, he purchased

a new 2019 Ford Ranger pickup, paying approximately $32,000. Plaintiff Perez

compared the alleged fuel efficiency of the Ranger with other similar trucks,

including the Toyota Tacoma and Chevy Colorado, and selected the Ranger truck

based in part on Ford’s representations about the vehicle’s fuel efficiency.

      56.    Plaintiff Perez purchased the new 2019 Ranger, with VIN

1FTER4EH0KLA05637, from El Centro Motors, an authorized Ford dealership

located in El Centro, California. Plaintiff Perez purchased and still owns this vehicle.

Unbeknownst to Plaintiff Perez at the time the vehicle was purchased, it consumes

more fuel than advertised.

      57.    Plaintiff Perez selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Plaintiff Perez recalls that before



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the purchase of the 2019 Ford Ranger, he saw representations online about the

vehicle’s performance, including its fuel economy, on Ford’s website and on the

vehicle’s window sticker. Plaintiff Perez recalls that before he purchased the 2019

Ford Ranger, the dealer highlighted the best in class fuel economy and pointed to

the Monroney sticker to highlight how much he would save on gas.

          58.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          59.   Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          60.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.



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      61.     Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      62.     Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                 b. Harold Brower

      63.     Plaintiff Harold Brower is a California citizen and resident of

Escondido, California, located in San Diego County. In February 2019, he leased a

new 2019 Ford F-150 pickup for approximately $47,000. Prior to leasing the F-150,

Plaintiff Brower compared the alleged fuel efficiency of the F-150 with other similar

trucks, including the Dodge Ram 1500 and the Chevy Silverado, Plaintiff Brower

selected the F-150 in part based on Ford’s representations about the vehicle’s fuel

efficiency.

      64.     Plaintiff   Brower   leased   the   new    2019    F-150     with   VIN

1FTEW1CP5KFA17590 from Penske La Mesa Ford, an authorized Ford dealership

located in La Mesa, California. Plaintiff is still leasing this vehicle. Unbeknownst

to Plaintiff at the time the vehicle was leased, it consumes more fuel than advertised.




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      65.    Plaintiff Brower selected and ultimately leased his vehicle in part

because of the stated fuel economy.

      66.    Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      67.    Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of lease in

addition to added fuel costs.

      68.    Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      69.    Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      70.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.

     3.     Colorado Plaintiff

                a. Ramiro Antonio Sandoval Pinon

      71.    Plaintiff Ramiro Antonio Sandoval Pinon is a Colorado citizen and

resident of Federal Heights, Colorado. On or about February 16, 2019, he purchased

a new 2019 Ford Ranger pickup paying approximately $50,700.85. Plaintiff Pinon

compared the alleged fuel efficiency of the 2019 Ford Ranger with other similar

trucks and selected the 2019 Ford Ranger truck based in part on Ford’s

representations about the vehicle’s fuel efficiency.

      72.    Plaintiff Pinon purchased the 2019 Ford Ranger with VIN

1FTER4FH0KLA15521 from Loveland Ford Lincoln, an authorized Ford dealership

located in Loveland, Colorado. Plaintiff Pinon purchased and still owns this vehicle.

Unbeknownst to Plaintiff Pinon at the time the vehicle was purchased, it consumes

more fuel than advertised.

      73.    Plaintiff Pinon selected and ultimately purchased his vehicle in part

because of the stated fuel economy, as represented through advertisements and



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representations made by Ford. Plaintiff Pinon also saw comparison videos on

Youtube. Plaintiff Pinon recalls that before he purchased the 2019 Ford Ranger, he

saw representations about the vehicle’s performance and the dealer highlighted that

the vehicle shuts off at red lights in order to save gas.

          74.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          75.   Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          76.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.




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      77.    Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      78.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

     4.     Florida Plaintiffs

                a. Steve Beavers

      79.    Plaintiff Steve Beavers is a Florida citizen and resident of Winter

Haven, Florida. On or about August 2018, he purchased a new 2018 Ford F-150

XLT Super Crew pickup, paying approximately $35,779.93. Plaintiff Beavers

selected the 2018 F-150 truck based in part on Ford’s representations about the

vehicle’s fuel efficiency.

      80.    Plaintiff Beavers purchased the new 2018 F-150 with VIN

1FTEW1EB2JFB51960 from Jarret-Gordon Ford, an authorized Ford dealership

located in Winter Haven, Florida. Unbeknownst to Plaintiff Beavers at the time the

vehicle was purchased, it consumes more fuel than advertised.

      81.    Plaintiff Beavers selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and



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representations made by Ford. Plaintiff Beavers recalls that before he purchased the

2018 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford advertisements for the vehicle and on the vehicle’s window

sticker.

          82.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          83.   Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          84.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.




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      85.     Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      86.     Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                 b. Dillon Drake

      87.     Plaintiff Dillon Drake is a Florida citizen and resident of Sebring Park,

Florida. In or around March 2019, Plaintiff Drake purchased a Ford F-150 Raptor

Class Vehicle. Plaintiff Drake selected the 2018 F-150 truck based in part on Ford’s

representations about the vehicle’s fuel efficiency.

      88.     Plaintiff Drake purchased the 2018 F-150 truck from Bill Jarret Ford,

an authorized Ford dealership located in Avon Park, Florida. Unbeknownst to

Plaintiff Drake at the time the vehicle was purchased, it consumes more fuel than

advertised.

      89.     Plaintiff Drake selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford.




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          90.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          91.   Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          92.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          93.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




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      94.      Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

     5.       Georgia Plaintiffs
                  a. Robert Goolsby

      95.      Plaintiff Robert Goolsby is a Georgia citizen and resident of Roswell,

Georgia. On or about February 23, 2018, he leased a new 2018 Ford F-150 King

Ranch pickup for approximately $60,000. Prior to leasing the F-150, Plaintiff

Goolsby compared the alleged fuel efficiency of the 2018 F-150 with other similar

trucks and selected the 2018 F-150 truck based in part on Ford’s representations

about the vehicle’s fuel efficiency.

      96.      Plaintiff   Goolsby     leased     the   2018   F-150,    with    VIN

1FTEW1EG1JFB49872, from Mall of Georgia Ford, an authorized Ford dealership

located in Roswell, Georgia. Plaintiff Goolsby still leases this vehicle. Unbeknownst

to Plaintiff Goolsby at the time the vehicle was leased, it consumes more fuel than

advertised.

      97.      Plaintiff Goolsby selected and ultimately leased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Goolsby recalls that before he leased the




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2018 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website and on the vehicle’s window sticker.

      98.    Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      99.    Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of lease in

addition to added fuel costs.

      100. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      101. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      102. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.

                b. Jamar Haynes

      103. Plaintiff Jamar Haynes is a Georgia citizen and resident of

Lawrenceville, Georgia. In May 2019, he purchased a new 2019 Ford F-150 pickup,

paying approximately $38,000.        Plaintiff Haynes compared the alleged fuel

efficiency of the F-150 with other similar trucks and selected the F-150 truck based

in part on Ford’s representations about the vehicle’s fuel efficiency.

      104. Plaintiff Haynes purchased the new 2019 F-150, with VIN

1FTEW1CPOKFA28481 from Gwinnett Place Ford, an authorized Ford dealership

located in Duluth, Georgia. Plaintiff Haynes purchased and still owns this vehicle.

Unbeknownst to Plaintiff Haynes at the time the vehicle was purchased, it consumes

more fuel than advertised.

      105. Plaintiff Haynes selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Before he purchased the 2019 F-

150, Plaintiff Haynes saw representations about the vehicle’s performance,




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including its fuel economy, on the vehicle’s window sticker. He also discussed the

fuel economy with the dealer before purchase.

          106. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          107. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          108. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          109. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      110. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

    6.        Idaho Plaintiff

                  a. Dustin Walden

      111. Plaintiff Dustin Walden is an Idaho citizen and resident of Meridian,

Idaho. On or about March 26, 2019, he purchased a new 2019 Ford F-150 pickup

paying approximately $42,000. Plaintiff Walden compared the alleged fuel

efficiency of the 2019 Ford F-150 with other similar trucks and selected the 2019

Ford F-150 truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      112. Plaintiff Walden purchased the 2019 Ford F-150, with VIN

1FTEW1EP8KKC21241 from Corwin Ford, an authorized Ford dealership located

in Nampa, Idaho. Plaintiff Walden purchased and still owns this vehicle.

Unbeknownst to Plaintiff Walden at the time the vehicle was purchased, it consumes

more fuel than advertised.

      113. Plaintiff Walden selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and



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representations made by Ford. Plaintiff Walden recalls that before he purchased the

2019 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and on the vehicle’s window sticker. He also

discussed the vehicle’s fuel economy with the dealer before purchasing.

          114. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          115. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          116. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.




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      117. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      118. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

     7.    Illinois Plaintiffs

                a. Cassandra Morrison

      119. Plaintiff Cassandra Morrison is an Illinois citizen and resident of

Chicago, Illinois. In or around June 4, 2019, she purchased a new 2019 Ford F-150

XLT SuperCrew pickup, paying approximately $49,016.50.                 Ms. Morrison

compared the alleged fuel efficiency of the F-150 with other similar trucks, including

the Chevrolet Silverado, GMC Sierra, and Nissan Titan, and selected the F-150 truck

based in part on Ford’s representations about the vehicle’s fuel efficiency.

      120. Plaintiff Morrison purchased the new 2019 F-150, with VIN

1FTEW1EP8KFB13355 from McCarthy Ford, an authorized Ford dealership

located in Chicago, Illinois. Plaintiff Morrison purchased and still owns this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes more

fuel than advertised.



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          121. Plaintiff Morrison selected and ultimately purchased her vehicle, in

part, because of the stated “best in class” fuel economy. Plaintiff Morrison recalls

that before she purchased the 2019 Ford F-150, she saw representations about the

vehicle’s performance, including its fuel economy, in Ford’s advertisements and on

the vehicle’s window sticker.

          122. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          123. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          124. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, she purchased her vehicle on the

reasonable, but mistaken, belief that her vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.



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      125. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      126. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                b. Ryan Hubert

      127. Plaintiff Ryan Hubert is an Illinois citizen and resident of Champaign,

Illinois. In or about February 2019, he purchased a new 2018 Ford F-150 XL pickup.

Plaintiff Hubert selected the F-150 truck based in part on Ford’s representations

about the vehicle’s fuel efficiency.

      128. Plaintiff Hubert purchased the new 2018 F-150 from Heller Ford, an

authorized Ford dealership located in El Paso, Illinois. Plaintiff Hubert purchased

and still owns this vehicle. Unbeknownst to Plaintiff at the time the vehicle was

purchased, it consumes more fuel than advertised.

      129. Plaintiff Hubert selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy. Plaintiff Hubert recalls that before he purchased

the 2018 F-150, he saw representations about the vehicle’s performance, including

its fuel economy, in Ford advertisements and on the vehicle’s window sticker.



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          130. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          131. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          132. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          133. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




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      134. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        8. Louisiana Plaintiffs
                a. Evan Allen

      135. Plaintiff Evan Allen is a Louisiana citizen and resident of Ruston,

Louisiana. In or around April 27, 2019, he purchased a new 2019 Ford Ranger

pickup for approximately $27,000. Plaintiff Allen compared the alleged fuel

efficiency of the 2018 F-150 with other similar trucks, including the Chevy Colorado

and Toyota Tacoma, and selected the 2018 F-150 truck based in part on Ford’s

representations about the vehicle’s fuel efficiency.

      136. Plaintiff Allen purchased the 2019 Ford Ranger, with VIN

1FTER1EH9KLA32860 from Jim Taylor Ford, an authorized Ford dealership

located in Ruston, Louisiana. Plaintiff Allen purchased and still owns this vehicle.

Unbeknownst to Plaintiff Allen at the time the vehicle was purchased, it consumes

more fuel than advertised.

    137.     Plaintiff Allen selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford. Plaintiff Allen recalls that before he purchased the




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2018 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s television advertisements and sales pamphlets.

          138. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          139. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          140. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          141. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      142. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                b. Benjamin Bischoff

      143. Plaintiff Benjamin Bischoff is a Louisiana citizen and resident of

Eunice, Louisiana. In June 2018, he purchased a used 2018 Ford F-150 pickup for

approximately $53,000. Plaintiff Bischoff compared the alleged fuel efficiency of

the 2018 F-150 with other similar trucks and selected the 2018 F-150 truck based in

part on Ford’s representations about the vehicle’s fuel efficiency.

      144. Plaintiff    Bischoff    purchased     the   2018     F-150     with   VIN

1FTEW1E52JKC76720 from Pitre Ford, an authorized Ford dealership located in

Eunice, Louisiana. Plaintiff Bischoff purchased and still owns this vehicle.

Unbeknownst to Plaintiff Bischoff at the time the vehicle was purchased, it

consumes more fuel than advertised.

    145.     Plaintiff Bischoff selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford. Plaintiff Bischoff recalls that before he purchased




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the 2018 F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          146. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          147. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          148. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          149. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      150. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

    9.     Maryland Plaintiff

                a. Randy Transue

      151. Plaintiff Randy Transue is a Maryland citizen and resident of Mount

Airy, Maryland. In or around April 2019, he purchased a new 2019 Ford Ranger

pickup paying approximately $45,000. Plaintiff Transue compared the alleged fuel

efficiency of the 2019 Ford Ranger XLT with other similar trucks, including the

Toyota Tundra, and selected the 2019 Ford Ranger truck based in part on Ford’s

representations about the vehicle’s fuel efficiency.

      152. Plaintiff Transue purchased the 2019 Ford Ranger with VIN

1FTER4FH2KLA03175 from Century Ford of Mount Airy, an authorized Ford

dealership located in Mount Airy, Maryland. Plaintiff Transue purchased and still

owns this vehicle. Unbeknownst to Plaintiff Transue at the time the vehicle was

purchased, it consumes more fuel than advertised.

      153. Plaintiff Transue selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and



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representations made by Ford. Plaintiff Transue recalls that before he purchased the

2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on the vehicle’s window sticker.

          154. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          155. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          156. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          157. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to



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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      158. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

    10.    Michigan Plaintiffs

                a. Mark Hill

      159. Plaintiff Mark Hill is a Michigan citizen and resident of Rockford,

Michigan. On or about January 23, 2019, he purchased a new 2019 Ford Ranger

pickup paying approximately $37,504.88. Plaintiff Hill compared the alleged fuel

efficiency of the 2019 Ford Ranger with other similar trucks, such as the Chevy

Colorado and the Toyota Tacoma, and selected the 2019 Ford Ranger truck based in

part on Ford’s representations about the vehicle’s fuel efficiency.

      160. Plaintiff Hill purchased the 2019 Ford Ranger with VIN

1FTER4FH3KLA03802 from Tony Betten & Sons Ford, an authorized Ford

dealership located in Grand Rapids, Michigan. Plaintiff Hill purchased and still owns

this vehicle. Unbeknownst to Plaintiff Hill at the time the vehicle was purchased, it

consumes more fuel than advertised.

      161. Plaintiff Hill selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and



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representations made by Ford. Plaintiff Hill recalls that before he purchased the

2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          162. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          163. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          164. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          165. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to



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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      166. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                b. Brian Leja

      167. Plaintiff Brian Leja is a Michigan citizen and resident of Omer,

Michigan. On or about April 10, 2019, he leased a new 2019 Ford Ranger pickup

paying approximately $624 per month. Plaintiff Leja compared the alleged fuel

efficiency of the 2019 Ford Ranger with other similar trucks and selected the 2019

Ford Ranger truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      168. Plaintiff    Leja    leased    the     2019   Ford   Ranger     with   VIN

1FTER4FH1KLA24521 from Richardson Ford, an authorized Ford dealership

located in Standish, Michigan. Plaintiff Leja continues to lease this vehicle.

Unbeknownst to Plaintiff Leja at the time the vehicle was purchased, it consumes

more fuel than advertised.

      169. Plaintiff Leja selected and ultimately leased his vehicle, in part, because

of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Leja recalls that before he leased the 2019



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Ford Ranger, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website.

      170. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      171. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      172. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      173. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time lease and added fuel costs.

      174. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.

                   c. Nicholas Leonardi

      175. Plaintiff Nicholas Leonardi is a Michigan citizen and resident of

Warren, Michigan, located in Macomb County. In February 2019, he leased a new

2019 Ford F-150 pickup paying approximately $317 per month. Plaintiff Leonardi

compared the alleged fuel efficiency of the F-150 with other similar trucks, such as

the Dodge Ram and Chevy Silverado, and selected the F-150 truck based in part on

Ford’s representations about the vehicle’s fuel efficiency.

      176. Plaintiff     Leonardi   leased     the new    2019   F-150   with   VIN

1FTEW1EP3KFA40671 from Russ Milne Ford, an authorized Ford dealership

located in Macomb, Michigan. Plaintiff Leonardi continues to lease this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was leased, it consumes more fuel

than advertised.

      177. Plaintiff Leonardi selected and ultimately leased his vehicle, in part,

because of the stated fuel economy. Plaintiff Leonardi recalls that before he leased




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the 2018 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

      178. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      179. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      180. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      181. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      182. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.

                d. Jeffrey Kaloustian

      183. Plaintiff Jeffrey Kaloustian is a Michigan citizen and resident of

Whitmore Lake, Michigan, located in County of Livingston. On or around May 18,

2018, he leased a new 2018 Ford F-150 pickup. Plaintiff Kaloustian selected the F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      184. Plaintiff Kaloustian leased the new 2018 F-150 from Varsity Ford, an

authorized Ford dealership located in Ann Arbor, Michigan. Unbeknownst to

Plaintiff at the time the vehicle was leased, it consumes more fuel than advertised.

      185. Plaintiff Kaloustian selected and ultimately leased his vehicle, in part,

because of the stated fuel economy. Plaintiff Kaloustian recalls that he saw

representations about the vehicle’s performance, including its fuel economy, on the

vehicle’s window sticker.

      186. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.



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      187. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      188. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      189. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      190. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.




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     11.      Minnesota Plaintiff

                  a. Mark Arendt

      191. Plaintiff Mark Arendt is a Minnesota citizen and resident of

Bloomington, Minnesota. In or around December 4, 2018, he purchased a new 2018

Ford F-150 SuperCrew pickup for approximately $49,249.              Plaintiff Arendt

compared the alleged fuel efficiency of the F-150 with other similar trucks, including

the Chevy 1500, and selected the F-150 truck in part based on Ford’s representations

about the vehicle’s fuel efficiency.

      192. Plaintiff Arendt purchased the new 2018 F-150 with VIN

1FTEW1EG9JKF78877 from Apple Ford, an authorized Ford dealership located in

Shakopee, Minnesota. Plaintiff purchased and still owns this vehicle. Unbeknownst

to Plaintiff at the time the vehicle was purchased, it consumes more fuel than

advertised.

      193. Plaintiff Arendt selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy. Plaintiff Arendt recalls that before he purchased

the 2018 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, in Ford’s television commercials and on the vehicle’s

window sticker. Plaintiff Arendt also discussed gas mileage with the dealer before

purchase.




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          194. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          195. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          196. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          197. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




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      198. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

     12.   Missouri Plaintiffs
                   a. Josh Brumbaugh

      199. Plaintiff Josh Brumbaugh is a Missouri citizen and resident of

Marshfield, Missouri. In or about July of 2019, he purchased a new 2019 Ford F-

150 Crewcab XLT pickup paying approximately $39,000. Plaintiff Brumbaugh

compared the alleged fuel efficiency of the 2019 Ford F-150 with other similar

trucks, such as the Dodge Ram 1500 and the Chevy Silverado 1500, and selected the

2019 Ford F-150 truck based in part on Ford’s representations about the vehicle’s

fuel efficiency.

      200. Plaintiff Brumbaugh purchased the 2019 Ford F-150 with VIN

1FTEW1EP9KKC76796 from Don Vance Ford, an authorized Ford dealership

located in Marshfield, Missouri. Plaintiff Brumbaugh purchased and still owns this

vehicle. Unbeknownst to Plaintiff Brumbaugh at the time the vehicle was purchased,

it consumes more fuel than advertised.

      201. Plaintiff Brumbaugh selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Brumbaugh recalls that before he purchased



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the 2019 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          202. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          203. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          204. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          205. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      206. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                b. Darren Honeycutt

      207. Plaintiff Darren Honeycutt is a Missouri citizen and resident of Billings,

Missouri. In or around January 2018, he purchased a new 2018 Ford F-150 2.7L

EcoBoost pickup, paying approximately $46,131.60. Plaintiff Honeycutt compared

the alleged fuel efficiency of the 2018 Ford F-150 with other similar trucks and

selected the 2018 Ford F-150 truck based in part on Ford’s representations about the

vehicle’s fuel efficiency.

      208. Plaintiff Honeycutt purchased the 2018 Ford F-150 with VIN

1FTEW1EP5JKC82187 from Don Vance Ford, an authorized Ford dealership

located in Marshfield, Missouri. Due to the poor fuel economy he experienced, in

April 2018, Plaintiff Honeycutt traded in the 2018 Ford F-150 for approximately

$31,230. Unbeknownst to Plaintiff Honeycutt at the time the vehicle was purchased,

it consumes more fuel than advertised.

      209. Plaintiff Honeycutt selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and



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representations made by Ford. Plaintiff Honeycutt recalls that before he purchased

the 2018 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          210. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          211. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          212. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          213. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to



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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      214. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

    13.    Montana Plaintiff

                a. John Sautter

      215. Plaintiff John Sautter is a Montana citizen and resident of Malta,

Montana. On or about January 31, 2019, he purchased a new 2019 Ranger pickup

paying approximately $36,000. Plaintiff Sautter selected the 2019 Ford Ranger truck

based in part on Ford’s representations about the vehicle’s fuel efficiency.

      216. Plaintiff Sautter purchased the 2019 Ford Ranger with VIN

1FTER4FH0KLA01795 from Bison Ford, an authorized Ford dealership located in

Great Falls, Montana. Plaintiff Sautter purchased and still owns this vehicle.

Unbeknownst to Plaintiff Sautter at the time the vehicle was purchased, it consumes

more fuel than advertised.

      217. Plaintiff Sautter selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Sautter recalls that before he purchased the




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2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          218. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          219. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          220. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          221. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      222. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

     14.   Nebraska Plaintiff

                   a. Scott Whitehill

      223. Plaintiff Scott Whitehill is a Nebraska citizen and resident of Omaha,

Nebraska. On or about July 31, 2018, he purchased a new 2018 Ford F-150

SuperCrew pickup, paying approximately $49,380. Prior to purchasing the F-150,

Plaintiff Whitehill compared the alleged fuel efficiency of the F-150 with other

similar trucks, such as the Chevy 1500. Plaintiff Whitehill selected the F-150 truck

based in part on Ford’s representations on the window sticker about the vehicle’s

fuel efficiency.

      224. Plaintiff Whitehill purchased the new 2018 F-150 with VIN

1FTEW1E52JKE30312 from Woodhouse Ford, an authorized Ford dealership

located in Omaha, Nebraska. Plaintiff Whitehill purchased and still owns this

vehicle. Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes

more fuel than advertised.




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          225. Plaintiff Whitehill selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy. Plaintiff Whitehill recalls that before he

purchased the 2018 Ford F-150, he saw representations about the vehicle’s

performance, including its fuel economy, on Ford’s website, television and radio

commercials and on the vehicle’s window sticker. Plaintiff Whitehill also recalls that

before he purchased the vehicle, the dealer pointed to the MPG ratings listed on the

Monroney Sticker and highlighted the auto stop/start feature as a fuel saving feature.

          226. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          227. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          228. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the



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competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      229. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      230. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        15. Nevada Plaintiff

                a. Matthew Combs

      231. Plaintiff Matthew Combs is a Nevada citizen and resident of Boulder

City, Nevada. On or about June 20, 2019, he purchased a new 2019 Ford Ranger

XLT Sport pickup paying approximately $34,000. Plaintiff Combs compared the

alleged fuel efficiency of the 2019 Ford Ranger with other similar trucks, such as

the Toyota Tacoma, and selected the 2019 Ford Ranger truck based in part on Ford’s

representations about the vehicle’s fuel efficiency.

      232. Plaintiff    Combs      purchased     the   2019   Ford    Ranger    with

VIN1FTER4EH7KLA13489 from Ford Country, an authorized Ford dealership

located in Henderson, Nevada. Plaintiff Combs purchased and still owns this vehicle.



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Unbeknownst to Plaintiff Combs at the time the vehicle was purchased, it consumes

more fuel than advertised.

          233. Plaintiff Combs selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Combs recalls that before he purchased the

2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website, in television commercials and on the

vehicle’s window sticker.

          234. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          235. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          236. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the



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reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      237. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      238. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        16.New Jersey Plaintiffs

                a. Dean Kriner

      239. Plaintiff Dean Kriner is a New Jersey citizen and resident of Voorhees

Township, New Jersey. On or about November 9, 2018, he purchased a used 2018

Ford F-150 pickup, paying approximately $27,000. Plaintiff Kriner compared the

alleged fuel efficiency of the 2018 F-150 with other similar trucks and selected the

2018 F-150 truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      240. Plaintiff    Kriner     purchased    the    2018    F-150    with    VIN

1FTEW1EP0JFC47257 from Matt Blatt Glassboro, an authorized Ford dealership



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located in Glassboro, New Jersey. Plaintiff Kriner purchased and still owns this

vehicle. Unbeknownst to Plaintiff Kriner at the time the vehicle was purchased, it

consumes more fuel than advertised.

          241. Plaintiff Kriner selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Kriner recalls that before he purchased the

2018 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website and on the vehicle’s window sticker.

          242. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          243. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          244. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the



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reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      245. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      246. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                b. Keith Fencl

      247. Plaintiff Keith Fencl is a citizen and resident of Riverton, New Jersey.

On or about November 24, 2018, he leased a new 2018 Ford F-150 pickup. Plaintiff

Fencl selected the F-150 truck based in part on Ford’s representations about the

vehicle’s fuel-efficiency.

      248. Plaintiff leased the new 2018 F-150 from Holman Ford Maple Shade,

an authorized Ford dealership, located in Maple Ford, New Jersey. Unbeknownst to

Plaintiff at the time the vehicle was leased, it consumes more fuel than advertised.

      249. Plaintiff selected and ultimately leased his vehicle in part because of

the stated “fuel economy.” Plaintiff Fencl recalls that he saw representations about



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the vehicle’s performance, including its fuel economy, on the vehicle’s window

sticker.

       250. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

       251. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

       252. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

       253. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      254. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.

                   c. Tracey Travis

      255. Plaintiff Tracey Travis is a New Jersey citizen and resident of Little

Falls, New Jersey located in Passaic County. On or about March 11, 2019, he

purchased a new 2019 Ford Ranger pickup, paying $42,500. Plaintiff Travis

compared the alleged fuel-efficiency of the Ranger with other similar trucks and

selected the Ranger truck based in part on Ford’s representations about the vehicle’s

fuel-efficiency.

      256. Plaintiff purchased the new 2019 Ranger Lariat model with VIN

1FTER4FH2KLA10885 from All American Ford located in Hackensack, New

Jersey. Plaintiff purchased and still owns this vehicle. Unbeknownst to Plaintiff at

the time the vehicle was purchased, it consumes more fuel than advertised.

      257. Plaintiff selected and ultimately purchased his vehicle, in part, because

of the stated “best in class” fuel economy.




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          258. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          259. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          260. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          261. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




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      262. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        17. New York Plaintiff
                a. Cody Smith

      263. Plaintiff Cody Smith is a New York citizen and resident of Binghamton,

New York. On or about April 26, 2019, he purchased a new 2019 Ford F-150

pickup, paying approximately $36,000. Plaintiff Smith compared the alleged fuel

efficiency of the 2019 Ford F-150 with other similar trucks, such as the Dodge Ram

1500 and the Chevy Colorado, and selected the 2019 Ford F-150 truck based in part

on Ford’s representations about the vehicle’s fuel efficiency.

      264. Plaintiff Smith purchased the 2019 Ford F-150 with VIN

1FTEW1EP2KFB75026 from Maguire Ford of Ithaca, an authorized Ford

dealership located in Ithaca, New York. Plaintiff Smith purchased and still owns this

vehicle. Unbeknownst to Plaintiff Smith at the time the vehicle was purchased, it

consumes more fuel than advertised.

      265. Plaintiff Smith selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Smith recalls that before he purchased the




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2019 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and television ads.

          266. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          267. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          268. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          269. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      270. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        18. North Carolina Plaintiffs

                a. Matthew Smith

      271. Plaintiff Matthew Smith is a North Carolina citizen and resident of

Catawba, North Carolina. On or about April 23, 2019, he purchased a new 2018

Ford F-150 pickup, paying approximately $52,000. Mr. Smith selected the 2018 F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      272. Mr. Smith purchased the 2018 F-150, VIN 1FTEW1E57JFE73441,

from Mooresville Ford, an authorized Ford dealership located in Mooresville, North

Carolina. Mr. Smith purchased and still owns this vehicle. Unbeknownst to Mr.

Smith at the time the vehicle was purchased, it consumes more fuel than advertised.

      273. Mr. Smith selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Mr. Smith recalls that before he purchased the 2018

F-150, he saw representations about the vehicle’s performance, including its fuel




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economy, in Ford’s pamphlets and on the vehicle’s window sticker. Mr. Smith also

discussed the vehicle’s fuel economy with the dealer before purchase.

          274. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          275. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          276. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

          277. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




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a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      278. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        19. Ohio Plaintiff

                a. David Polley

      279. Plaintiff David Polley is an Ohio citizen and resident of Bellevue,

Ohio. On or about December 10, 2018, he leased a new 2018 Ford F-150 XLT

pickup, paying approximately $50,205. Plaintiff Polley compared the alleged fuel-

efficiency of the 2018 Ford F-150 with other similar trucks such as the Chevy

Silverado 1500 and selected the 2018 Ford F-150 truck based in part on Ford’s

representations about the vehicle’s fuel-efficiency.

      280. Plaintiff    Polley    leased   the   2018   Ford   F-150     with   VIN

1FTEW1EP0JFE22008 from Don Tester Ford, an authorized Ford dealership

located in Norwalk, Ohio.        Plaintiff Polley leased and is still leasing this

vehicle. Unbeknownst to Plaintiff Polley at the time the vehicle was leased, it

consumes more fuel than advertised.

      281. Plaintiff Polley selected and ultimately leased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and



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representations made by Ford. Plaintiff Polley recalls that before he leased the 2018

Ford F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s television commercials and on the vehicle’s window

sticker. Plaintiff Polley recalls discussing fuel mileage with the dealer in advance of

purchasing the vehicle.

      282. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      283. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      284. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.



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      285. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      286. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.

        20. Oklahoma Plaintiff

                a. Ahmed Abdi

      287. Plaintiff Ahmed Abdi is an Oklahoma citizen and resident of Oklahoma

City, Oklahoma. On or about March 2019, he purchased a new 2018 Ford F-150

with a 2.7L EcoBoost pickup, paying approximately $38,300.              Plaintiff Abdi

compared the alleged fuel-efficiency of the 2018 Ford F-150 with other similar

trucks, including the Toyota Tundra and Tacoma, and selected the 2018 Ford F-150

truck based in part on Ford’s representations about the vehicle’s fuel-efficiency.

      288. Plaintiff Abdi purchased the 2018 Ford F-150 from Billingsley Ford,

an authorized Ford dealership located in Duncan, Oklahoma.              Plaintiff Abdi

purchased and still owns this vehicle. Unbeknownst to Plaintiff Abdi at the time the

vehicle was purchased, it consumes more fuel than advertised.




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      289. Plaintiff Abdi selected and ultimately leased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Abdi recalls that before he purchased the

2018 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on the vehicle’s window sticker.

      290. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      291. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and leasing the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      292. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he leased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.



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      293. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      294. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to lease.


        21. Oregon Plaintiff

                a. Dustin Dawson

      295. Plaintiff Dustin Dawson is an Oregon citizen and resident of Newport,

Oregon. In or around February 2019, he purchased a new 2019 Ford Ranger pickup

paying approximately $37,629.40. Plaintiff Dawson compared the alleged fuel

efficiency of the 2019 Ranger with other similar trucks, including the Toyota

Tacoma and GMC Canyon, and selected the 2019 Ranger truck based in part on

Ford’s representations about the vehicle’s fuel efficiency.

      296. Plaintiff    Dawson      purchased    the      2019   Ranger     with   VIN

1FTER4FH4KLA05803 from Power Motors Ford, an authorized Ford dealership

located in Newport, Oregon. Plaintiff Dawson purchased and still owns this

vehicle. Unbeknownst to Plaintiff Dawson at the time the vehicle was purchased, it

consumes more fuel than advertised.


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      297. Plaintiff Dawson selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Dawson recalls that before he purchased the

2019 Ranger, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s television commercials, Ford’s website and on the vehicle’s

window sticker.

      Had Ford disclosed the true fuel economy and dubious certifications of the

vehicle, Plaintiff would not have purchased the vehicle or would have paid less for

it.

      298. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      299. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the




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competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      300. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      301. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        22. Pennsylvania Plaintiff

                a. Steven Hull

      302. Plaintiff Steven Hull is a Pennsylvania citizen and resident of Orefield,

Pennsylvania. In or about July of 2019, he purchased a new 2019 Ford F-150 King

Ranch pickup, paying approximately $69,544. Plaintiff Hull compared the alleged

fuel efficiency of the 2019 F-150 with other similar trucks and selected the 2019 F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      303. Plaintiff     Hull     purchased      the   2019     F-150     with    VIN

1FTEW1E42KFB00106 from Ciocca Ford, an authorized Ford dealership located in

Souderton, Pennsylvania. Plaintiff Hull purchased and still owns this




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vehicle. Unbeknownst to Plaintiff Hull at the time the vehicle was purchased, it

consumes more fuel than advertised.

          304. Plaintiff Hull selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Hull recalls that before he purchased the

2019 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website and on the vehicle’s window sticker.

          305. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          306. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          307. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the



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competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      308. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      309. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        23.South Carolina Plaintiff

                a. Matthew Brownlee

      310. Plaintiff Matthew Brownlee is a South Carolina citizen and resident of

Central, South Carolina. In December 2018, he purchased a new 2018 Ford F-150

pickup, paying approximately $36,411. Plaintiff Brownlee compared the alleged

fuel efficiency of the 2018 F-150 with other similar trucks and selected the 2018 F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      311. Plaintiff Brownlee purchased the new 2018 F-150 with VIN

1FTFW1E56JFE72902 from Fairway Ford, an authorized Ford dealership located in

Greenville, South Carolina. Plaintiff Brownlee purchased and still owns this vehicle.




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Unbeknownst to Plaintiff Brownlee at the time the vehicle was purchased, it

consumes more fuel than advertised.

          312. Plaintiff Brownlee selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Brownlee recalls that before he purchased

the 2018 F-150’s, he saw representations about the vehicle’s performance, including

its fuel economy, on television and internet advertisements and on the vehicle’s

window sticker.

          313. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          314. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          315. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the



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reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      316. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      317. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        24. South Dakota Plaintiff

                a. Robert Raney

      318. Plaintiff Robert Raney is a South Dakota citizen and resident of Box

Elder, South Dakota. On or about May 30, 2019, he purchased a new 2018 Ford

Roush F-150 pickup, paying approximately $82,280.13. Plaintiff Raney compared

the alleged fuel efficiency of the Ford F-150 with other similar trucks, including the

GMC Sierra 1500 and the Ram 150, and selected the Ford F-150 truck based in part

on Ford’s representations about the vehicle’s fuel efficiency.

      319. Plaintiff     Raney     purchased     his   Ford      F-150    with    VIN

1FTEW1E51JFD88045 from McKie Ford, an authorized Ford dealership located in



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Rapid City, South Dakota. Plaintiff Raney purchased and still owns this vehicle.

Unbeknownst to Plaintiff Raney at the time the vehicle was purchased, it consumes

more fuel than advertised.

          320. Plaintiff Raney selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Raney recalls that before he purchased the

Ford F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website, on television and radio advertisements and on the

vehicle’s window sticker. Plaintiff Raney also recalls that prior to purchase, the

dealer touted the vehicle’s best in class fuel economy.

          321. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          322. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.




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      323. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      324. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      325. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        25. Tennessee Plaintiff
                a. James Williams

      326. Plaintiff James Williams is a Tennessee citizen and resident of

Hendersonville, Tennessee, located in Sumner County. On or around May 7, 2019,

he purchased a new 2018 Ford F-150 diesel pickup for approximately $57,653.81.

Plaintiff Williams compared the alleged fuel efficiency of the F-150 with other




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similar trucks, such as the Dodge Ram, and selected the F-150 truck based in part on

Ford’s representations about the vehicle’s fuel efficiency.

          327. Plaintiff Williams purchased the new 2018 F-150 with VIN

1FTFW1E10JFD80181 from Two Rivers Ford, an authorized Ford dealership

located in Mt. Juliet, Tennessee. Plaintiff Williams purchased and still owns this

vehicle. Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes

more fuel than advertised.

          328. Plaintiff Williams selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy. Plaintiff Williams recalls that before he

purchased the Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

Specifically, Plaintiff Williams also looked at the vehicle’s window sticker and

discussed the vehicle’s fuel economy with the dealer prior to purchase.

          329. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          330. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff



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to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      331. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      332. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      333. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        26. Texas Plaintiffs

                a. David Brewer

      334. Plaintiff David Brewer is a Texas citizen and resident of Jacksonville,

Texas, located in Cherokee County. On or about March 6, 2019, he purchased a new




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2019 Ford F-150 pickup, paying $48,042. Plaintiff Brewer selected the F-150 truck

based in part on Ford’s representations about the vehicle’s fuel efficiency.

          335. Plaintiff Brewer purchased the new 2019 F-150 with VIN

1FTEW1EP3KFA79860 from Bill McRae Ford Lincoln, an authorized Ford

dealership located in Jacksonville, Texas. Plaintiff purchased and still owns this

vehicle. Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes

more fuel than advertised.

          336. Plaintiff Brewer selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy. Plaintiff Brewer recalls that before he purchased

the Ford F-150, he saw representations about the vehicle’s lightweight aluminum

frame and fuel economy, in television and radio advertisements and observed the

purported fuel economy on the vehicle’s window sticker.

          337. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          338. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff




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to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

      339. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      340. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      341. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                b. Rosalynda Garza

      342. Plaintiff Rosalynda Garza is a Texas citizen and resident of Helotes,

Texas. On or around June 11, 2018, Plaintiff Garza purchased a new 2018 Ford F-

150 pickup, paying $37,944.25. Plaintiff Garza compared the alleged fuel efficiency




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of the F-150 with other similar trucks and selected the F-150 truck based in part on

Ford’s representations about the vehicle’s fuel efficiency.

          343. Plaintiff Garza purchased the new 2018 F-150 with VIN

1FTEW1CP1JKD04415 from Red McCombs Ford, an authorized Ford dealership

located in San Antonio, Texas. Plaintiff purchased and still owns this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes more

fuel than advertised.

          344. Plaintiff Garza selected and ultimately purchased her vehicle, in part,

because of the stated fuel economy. Plaintiff Garza recalls that before she purchased

the Ford F-150, she saw representations about the vehicle’s performance, including

its fuel economy, on the vehicle’s window sticker.

          345. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          346. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.



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      347. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, she purchased her vehicle on the

reasonable, but mistaken, belief that her vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      348. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      349. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                c. Marshall B. Lloyd

      350. Plaintiff Marshall B. Lloyd is a Texas citizen and resident of San

Antonio, Bexar County, Texas. On or about February 20, 2019, he purchased a new

2019 Ford Ranger pickup for approximately $36,000. Plaintiff Lloyd compared the

alleged fuel-efficiency of the Ranger with other similar trucks and selected the

Ranger truck based in part on Ford’s representations about the vehicle’s fuel-

efficiency.



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          351. Plaintiff purchased the new Ranger crew cab Lariat XLT model with

VIN 1FTER4EH9KLA12893 from Red McCombs Ford in San Antonio, Texas.

Plaintiff purchased and still owns this vehicle. Unbeknownst to Plaintiff at the time

the vehicle was purchased, it consumes more fuel than advertised.

          352. Plaintiff selected and ultimately purchased his vehicle, in part, because

of the stated “best in class” fuel economy.

          353. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          354. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          355. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the




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competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      356. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      357. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                d. Michael Smith

      358. Plaintiff Michael Smith, a Texas citizen and resident of Blanco, Bexar

County, Texas. On or about August 8, 2019, he purchased a new 2019 Ford Ranger

pickup for approximately $36,808.16. Plaintiff Smith compared the alleged fuel

efficiency of the Ranger with other similar trucks and selected the Ranger truck

based in part on Ford’s representations about the vehicle’s fuel-efficiency.

      359. Plaintiff purchased the new Ranger, with VIN 1FTER4EH1KLA44866

from Ford of Boerne, an authorized Ford dealership in Boerne, Texas. Plaintiff

purchased and still owns this vehicle. Unbeknownst to Plaintiff at the time the

vehicle was purchased, it consumes more fuel than advertised.




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          360. Plaintiff Smith selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Plaintiff Smith recalls that before

he purchased the Ford F-150, he saw representations about the vehicle’s

performance, including its fuel economy, on Ford’s website.

          361. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          362. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          363. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.




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      364. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      365. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        27. Utah Plaintiffs

                a. Al Balls

      366. Plaintiff Al Balls is a Utah citizen and resident of Logan, Utah. In or

around May 2019, he purchased a new 2019 Ford Ranger XLT pickup, paying

approximately $41,000. Plaintiff Balls compared the alleged fuel efficiency of the

2019 Ranger with other similar trucks from Honda and Toyota and selected the 2019

Ranger truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      367. Plaintiff Balls purchased the 2019 Ford Ranger with VIN

1FTER4FH7KLA34745 from Wilson Motor Group, an authorized Ford dealership

located in Logan, Utah. Plaintiff Balls purchased and still owns this vehicle.

Unbeknownst to Plaintiff Balls at the time the vehicle was purchased, it consumes

more fuel than advertised.



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          368. Plaintiff Balls selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Balls recalls that before he purchased the

2019 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website and on the vehicle’s window sticker.

          369. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          370. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          371. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.



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      372. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      373. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        28. Virginia Plaintiff

                a. Kenneth Bernard

      374. Plaintiff Kenneth Bernard is a Virginia citizen and resident of

Chesapeake, Virginia. On or about March 11, 2019, he purchased a new 2019 Ford

F-150 Lariat pickup, paying approximately $56,051. Plaintiff Bernard compared the

alleged fuel efficiency of the 2019 F-150 with other similar trucks, such as the Dodge

Ram 1500, and selected the 2019 F-150 truck based in part on Ford’s representations

about the vehicle’s fuel efficiency.

      375. Plaintiff     Bernard       purchased   the   2019   F-150     with   VIN

1FTEW1E49KKC08164 from Cavalier Ford, an authorized Ford dealership located

in Chesapeake, Virginia. Plaintiff Bernard purchased and still owns this vehicle.

Unbeknownst to Plaintiff Bernard at the time the vehicle was purchased, it consumes

more fuel than advertised.



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          376. Plaintiff Bernard selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Bernard recalls that before he purchased the

2019 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on television and on the vehicle’s window sticker.

          377. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          378. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          379. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.



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      380. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      381. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        29. Washington Plaintiffs

                a. John Jung

      382. Plaintiff John Jung is a Washington citizen and resident of Puyallup,

Washington, located in Pierce County. On or about January 12, 2019, he purchased

a new 2019 Ford F-150 Raptor truck, paying approximately $74,000. Plaintiff Jung

compared the alleged fuel efficiency of the F-150 Raptor with other similar trucks,

including the Dodge Ram, Toyota Tundra and Chevy Silverado, and selected the F-

150 Raptor truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      383. Plaintiff Jung purchased the new 2019 F-150 Raptor with VIN

1FTFW1RG8KFA18907 from Dwayne Lane’s Skagit Ford, an authorized Ford

dealership located in Burlington, Washington. Plaintiff Jung purchased and still




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owns this vehicle. Unbeknownst to Plaintiff Jung at the time the vehicle was

purchased, it consumes more fuel than advertised.

          384. Plaintiff Jung selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Jung recalls that before he purchased the

2019 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and television ads and on the vehicle’s window

sticker. Plaintiff Jung also recalls that the dealer stated that the vehicle was more

fuel efficiency than previous generation Raptors.

          385. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          386. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          387. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not



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disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      388. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      389. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                b. Jeffrey Quizhpi

      390. Plaintiff Jeffrey Quizhpi is currently a Texas citizen and resident of El

Paso, Texas. In or around January 27, 2019, while a citizen of and residing in

Washington, Plaintiff Quizhpi purchased a new 2018 Ford F-150 pickup, paying

$47,116.32. Plaintiff Quizhpi compared the alleged fuel efficiency of the F-150 with

other similar trucks manufactured by Toyota and Chevrolet and selected the F-150

truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      391. Plaintiff Quizhpi purchased the new 2018 F-150 with VIN

1FTEW1EP3JKF82780 from Titus-Will Ford, an authorized Ford dealership located



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in Tacoma, Washington. Plaintiff purchased and still owns this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes more

fuel than advertised.

          392. Plaintiff Quizhpi selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy.          Plaintiff Quizhpi recalls that before he

purchased the Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

The dealer also told him that the Ford F-150 had better gas mileage compared to

trucks made by Chevrolet and Toyota.

          393. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          394. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          395. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not



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disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      396. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      397. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

                c. Rick Shurtliff

      398. Plaintiff Rick Shurtliff is a Washington citizen and resident of

Ridgefield, Washington. In or around April 2019, he purchased a new 2019 Ford

Ranger truck, paying approximately $42,000. Plaintiff Shurtliff selected the Ranger

truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      399. Plaintiff Shurtliff purchased the new 2019 Ranger with VIN

1FTER4FH1KLA24924 from Titus-Will Ford, an authorized Ford dealership

located in Tacoma, Washington. Plaintiff Shurtliff purchased and still owns this




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vehicle. Unbeknownst to Plaintiff Shurtliff at the time the vehicle was purchased, it

consumes more fuel than advertised.

          400. Plaintiff Shurtliff selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Shurtliff recalls that before he purchased the

2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          401. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          402. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          403. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not

disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the



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competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      404. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      405. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.

        30. Wisconsin Plaintiff

                a. Stephen Leszczynski

      406. Plaintiff Stephen Leszczynski is a Wisconsin citizen and resident of

Mount Pleasant, Wisconsin. On or about July 24, 2019, he purchased a new 2019

Ford Ranger pickup, paying approximately $38,299.00.          Plaintiff Leszczynski

selected the 2019 Ford Ranger truck based in part on Ford’s representations about

the vehicle’s fuel efficiency.

      407. Plaintiff Leszczynski purchased the 2019 Ford Ranger with VIN

1FTER4FH7KLA33465 from Hieser Ford, an authorized Ford dealership located in

Glendale, Wisconsin. Plaintiff Leszczynski purchased and still owns this vehicle.




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Unbeknownst to Plaintiff Leszczynski at the time the vehicle was purchased, it

consumes more fuel than advertised.

          408. Plaintiff Leszczynski selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Leszczynski recalls that before he purchased

the 2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website, in television and radio ads and on the

vehicle’s window sticker. Plaintiff Leszczynski also recalls the dealer telling him

that the truck had “great” gas mileage.

          409. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          410. Upon information and belief, the vehicle is also equipped with a cheat

device, a computer that misrepresents the mileage displayed on the trip meter.

Ford’s unfair, unlawful and deceptive conduct in designing, testing, manufacturing,

marketing, and selling the vehicle with exaggerated fuel economy caused Plaintiff

to suffer out-of-pocket loss in the form of overpayment at the time of purchase in

addition to added fuel costs.

          411. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations and the mileage cheat device included in the vehicle, but did not



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disclose such facts or their effects to Plaintiff. So, he purchased his vehicle on the

reasonable, but mistaken, belief that his vehicle had better fuel economy than the

competition, was properly EPA-certified and would retain all of its promised fuel

economy and performance throughout its useful life.

      412. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      413. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the existence of a fuel economy cheat device

or the true fuel economy of the Coastdown Cheating Vehicles prior to purchase.



      Defendant
      1.     Ford Motor Company

      414. Ford Motor Company is a corporation doing business in all 50 states

and the District of Columbia and is organized under the laws of the State of

Delaware, with its principal place of business in Dearborn, Michigan.

      415. At all times relevant to this action, Ford designed, manufactured, sold,

and warranted the Coastdown Cheating Vehicles throughout the United States. Ford

and/or its agents, divisions, or subsidiaries designed, and manufactured the



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Coastdown Cheating Vehicles. Ford also developed and disseminated the owner’s

manuals, supplements, and warranty booklets, advertisements, and other

promotional materials relating to the Coastdown Cheating Vehicles; and Ford

provided these to its authorized dealers for the express purpose of having these

dealers pass such materials to potential purchasers at the point of sale. Ford also

created, designed, and disseminated information about the quality of the Coastdown

Cheating Vehicles to various agents of various publications for the express purpose

of having that information reach potential consumers.

                              FACTUAL ALLEGATIONS

      Coastdown testing

      416. Ford deliberately miscalculated and misrepresented factors used in

vehicle certification testing in order to report that its vehicles used less fuel and

emitted less pollution than they actually did. The certification test-related cheating

centers on the “Coastdown” testing and “Road Load” calculations.

      417. A coastdown test is a procedure that determines metrics later used to

calculate a vehicle’s fuel economy values or “MPG rating.” MPG ratings are

established using a machine called a “dynamometer.” A dynamometer is like a

treadmill for vehicles, enabling vehicles to be operated indoors on a stationary

platform to simulate real-world vehicle operation. The level of resistance on the

dynamometer is adjusted based on coastdown testing for each specific vehicle model



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to simulate the level of resistance that the vehicle would encounter if operated on the

road. Coastdown testing is used to determine the appropriate resistance levels (or

“road loads”) to use on the dynamometer for a given vehicle model. Coastdown

testing is used to measure all types of resistance encountered by a given vehicle

model during real-world operation, including:

      •      Vehicle aerodynamic resistance, a factor affected by the
             vehicle’s shape, which determines how much energy the
             vehicle uses to push air out of the way as it moves. The more
             resistance, the more energy has to be expended.

      •      Tire rolling resistance, a factor related to tire design that
             determines how much energy the vehicle has to use to
             overcome the resistance caused by the interface between the
             tires and the road.

      •      Driveline and powertrain mechanical resistance, a factor
             measuring the vehicle’s drivetrain and how much energy the
             vehicle has to use to overcome internal friction to drive the
             wheels.

      418. A vehicle that has been properly broken in prior to the test (generally

includes vehicle and tire mileage, fluids and fuel, and vehicle warm-up) is driven up

to a certain speed, typically around 80 MPH, after which it is put into neutral and

allowed to coast until its speed drops below 9 MPH.

      419. Special devices in the vehicle accurately measure environmental

conditions (ambient temperature, humidity and barometric pressure), performance

data, and speed and distance traveled during the coastdown test.




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        420. In order to eliminate the effect of wind speed and direction, the test is

performed multiple times (a minimum of 5 runs) on a completely flat, straight, and

dry road in both directions of the track. Analysis of the recorded speed and distance

information provides the vehicle’s road load force.

        421. Ford miscalculated “Road Load,” which is a measure of those forces,

defined as the force that is imparted on a vehicle while driving at a constant speed

over a smooth, level surface from sources such as tire rolling resistance, driveline

losses, and aerodynamic drag.9

        422. This measure of forces acting against the vehicle during real-world

driving is critical to the simulation of actual driving when a vehicle is tested in the

laboratory. Ford’s internal lab tests did not account for these forces, which lead to

better—and entirely inaccurate—fuel economy projections, and claims that the

vehicles emitted less pollution than they emitted in reality.

        The coastdown results are used to create fuel economy information
        posted on vehicles’ windows and used in advertising.

        423. The Coastdown test results are sent by Ford to the EPA to be used as

the basis for mileage information used on window stickers, also called a “Monroney

sticker.”




   9
       See Exhibit 1, supra fn. 1.

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      424. The Monroney sticker is on the window of every new car and includes

information about the vehicle’s price, engine and transmission specifications, other

mechanical and performance specs, fuel economy and emissions ratings, safety

ratings, and standard and optional features.

      425. The Monroney sticker is named for A.S. “Mike” Monroney, a longtime

Oklahoma congressman who wrote the 1958 Automobile Information Disclosure

Act, the federal law that requires the Monroney sticker.

      426. The Monroney sticker lists all features that come standard to the

vehicle. This might include air bags, anti-lock brakes, a radio and CD or MP3 player,

plus any warranties or additional services such as roadside assistance. Also included

on the sticker is a section called “the EPA sticker.” The Environmental Protection

Agency section of the sticker tells how many miles per gallon of gas the vehicle gets

on the highway and in the city. The EPA label provides miles-per-gallon equivalent

(MPGe) figures for electric and hybrid cars to help consumers compare the fuel

economy of these vehicles with gas- and diesel-powered cars. The EPA section

hereinafter will detail the vehicle’s potential environmental impact with greenhouse

gas emissions.

      427. The fuel economy figures are used by car reviewers and used by

consumers to rate cars. For example, trucks are ranked on fuel economy as follows

with the Ford F-150 at the top:



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          9 Best Ranked MPG Trucks of 2018: Ranked:
          •   2016 Ford F-150 Automatic 2.7L
          •   2016 Chevrolet Colorado Automatic 3.6L
          •   2015 Chevrolet Silverado 1500 Automatic 4.3L
          •   2015 Ford F-150 Automatic 3.5L
          •   2014 Chevrolet Silverado 1500 Automatic 4.3L
          •   2016 Chevrolet Silverado 1500 Automatic 4.3L
          •   2016 Dodge Ram 1500 Automatic 3.6L
          •   2016 Ford F-150 Automatic 3.5L[10]
        428. On the popular CarMax site11, based on fuel economy numbers

provided by Ford and published by EPA, CarMax had this to say about putting Ford

F-150s near the top:




   10
      Exhibit 15, Google and related search for F-150 fuel economy.
   11
      Exhibit 16, 8 Best Ranked MPG Trucks of 2019: Ranked (June 27, 2019),
https://www.carmax.com/articles/best-mpg-trucks-ranking (last visited Jul. 18,
2019).

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         Ford admits improper coastdown testing on the 2019 Ranger.
         429. Ford has admitted that in September of 2018 several of its own

employees were questioning its computer modeling and physical test practices for

certification of fuel economy and emissions.12 Yet, Ford took no action to correct

these ongoing misrepresentations or to alert consumers.

         430. Pressured by a pending governmental criminal investigation, Ford has

now stated that it will look into the testing of the 2019 Ranger truck before looking

at its other vehicles.

         431. When Ford released a statement regarding the problem, truck blogger

Andre Smirnov of TheFastLaneTruck.com (hereinafter “TFL”) drove the new

Ranger for 1,000 miles, from California to Colorado to test its “TFL” real-world




   12
        Exhibit 2, supra fn. 2.

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mileage, and found it achieved only 19.5 MPG, not the 24 MPG certified to the EPA

for the 4x4 model.13

        432. Having concluded that the actual performance of the Ranger was

“nowhere close” to the EPA rated MPG, in March of 2019, the truck blogger tested

the Ranger truck on The Fast Lane Truck’s 98-mile fuel economy loop.14 “[T]he

Ranger’s trip computer told us that the truck managed just over 25 mpg, though our

math at the fuel pump did not add up to the same number.”15 The highway mileage

was only one MPG greater on the test loop than on its 1,000 mile drive. The TFL

test drivers were at a loss for words when they discovered a nearly four MPG

discrepancy between the mileage reported on the Ranger’s trip meter and what they

measured at the pump (21.3 MPG actual versus 25.8 MPG on Ford’s trip meter)16:




   13
      Exhibit 5, Andrew Smirnov, Real-world 2019 Ford Ranger Fuel Economy:
Here Is the Unexpected Result after a 1,000 Mile Road Trip (Video),
TheFastLaneTruck.com (Feb. 23, 2019), https://www.tfltruck.com/2019/02/real-
world-2019-ford-ranger-fuel-economy-here-is-the-unexpected-result-after-a-1000-
mile-road-trip-video/ (last visited Jan. 26, 2020).
   14
      Exhibit 14, Stephen Elmer, EPA Says the New Ford Ranger Gets 24 MPG on
the Highway, But What Does It Really Get at 70 MPH? (Video) (Mar. 19, 2019),
https://www.tfltruck.com/2019/03/epa-says-the-new-ford-ranger-gets-24-mpg-on-
the-highway-but-what-does-it-really-get-at-70-mph-video/ (last visited Jan. 26,
2020).
   15
      Id.
   16
       Exhibit 6, Video of the testing located at https://youtu.be/W6iLtygCC7Y,
embedded       in    the     previously      cited  article,  Exhibit   14,  at:
https://www.tfltruck.com/2019/03/epa-says-the-new-ford-ranger-gets-24-mpg-on-
the-highway-but-what-does-it-really-get-at-70-mph-video/.

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         433. Thus, Ford has programmed its onboard computers with a mileage

cheat device to continue to lie about the vehicle’s fuel economy in order to

continually conceal the misrepresentation.

         434. With respect to its 2019 Ford Ranger, Ford promised that its midsize

truck “will deliver with durability, capability and fuel efficiency, while also

providing in-city maneuverability and the freedom desired by many midsize pickup

truck buyers to go off the grid.”17 Ford also claimed that its “All-New Ford Ranger

[was] Rated Most Fuel Efficient Gas-Powered Midsize Pickup in America.”18 “With


   17
        Exhibit 3, supra fn. 3.
   18
        Exhibit 4, supra fn. 4.

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EPA-estimated fuel economy ratings of 21 mpg city, 26 mpg highway and 23 mph

combined, 2019 Ford Ranger is the most fuel efficient gas-powered midsize pickup

in America.”19 Ford claimed the 2019 Ranger “is the no-compromise choice for

power, technology, capability, and efficiency whether the path is on road or off.”20

Ford knew that to sell the Ranger effectively, it had to tout it as having fuel efficiency

and reduced emissions, and that such promises were material to consumers.

        435. There is no question that Ford used the fuel efficiency ratings as a sales

tool to entice consumers into purchasing the 2019 Ford Ranger. Indeed, Ford

promised that “[t]he adventure-ready 2019 Ford Ranger is the most fuel-efficient

gas-powered midsize pickup in America—providing a superior EPA-estimated city

fuel economy rating and an unsurpassed EPA-estimated combined fuel economy

rating versus the competition. The all-new Ranger has earned EPA-estimated fuel

economy ratings of 21 mpg city, 26 mpg highway and 23 mpg combined for 4x2

trucks.”21 Ford claimed that “[t]his is the best-in-class EPA-estimated city fuel

economy rating of any gasoline-powered four-wheel-drive midsize pickup and it is

an unsurpassed EPA-estimated combined fuel economy rating.”22




   19
      Id.
   20
      Id.
   21
      Id.
   22
      Id.

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      CAFE standards provide manufacturers with credits for low emissions.

      436. Ford also reaped a double reward from this cheating. Cars and trucks

are one of the major sources of air pollution, which includes ozone, particulate

matter, and other smog-forming emissions. The health risks of air pollution are

extremely significant.

      437. Poor air quality increases respiratory ailments like asthma and

bronchitis, heightens the risk of life-threatening conditions like cancer, and burdens

the American health care system with substantial medical costs. Passenger cars and

trucks are major contributors to pollution, producing significant amounts of nitrogen

oxides, carbon monoxide, and other pollution. The U.S. government, through the

EPA, has passed and enforced laws designed to protect U.S. citizens from these

pollutants and certain chemicals and agents known to cause disease in humans.

      252. The United States has two sets of parallel standards that affect fuel

economy: (1) the corporate average fuel economy (CAFE) standards adopted by the

National Highway Traffic Safety Administration (NHTSA), an agency within the

Department of Transportation (DOT); and (2) greenhouse gas (GHG) emissions

standards adopted by the EPA.

      438. Automobile manufacturers must abide by these laws and must adhere

to EPA rules and regulations.       One of the major drivers of fuel efficiency

improvement are the CAFE standards. These requirements have nearly doubled the



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fuel efficiency of vehicles in the U.S. In addition to the reduced health costs and

human illness, CAFE standards are estimated to save each U.S. household

approximately $2,000.00 per year in reduced fuel consumption as of 2016. The

Energy Independence and Security Act (EISA) of 2007 mandated a 40% increase in

fuel economy by 2020.

      439. The original CAFE standards set minimum average fuel consumption

performance (average miles travelled per gallon of fuel used) for the fleets of new

“passenger automobiles” (passenger cars) and “non-passenger automobiles” (light

trucks, which includes many SUVs) produced by each manufacturer. The standards

for these two types of vehicles differed.

      440. Before standards took effect, the average fuel efficiency for passenger

cars was 15.2 MPG). Congress required manufacturers to achieve a fleet average of

18 MPG by 1978, 19 MPG by 1979, and 20 MPG by 1980, rising to 27.5 MPG by

1985, with interim standards to be set by NHTSA. But by 1981, average fuel

efficiency for passenger cars had risen to 28.4 MPG, exceeding the standards.

      441. For light trucks, NHTSA set standards that required manufacturers to

achieve a fleet average of 17.2 MPG for two-wheel drive vehicles and 15.8 MPG for

four-wheel drive vehicles in 1979, rising to 21.5 MPG and 19 MPG respectively by

1989. Over this period, two-wheel drive vehicles increased from 13.4 to 16.9 MPG,

while four-wheel drive vehicles increased from 12.3 MPG to 14.4 MPG.



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      442. The National Highway Traffic Safety Administration (NHTSA) kept

CAFE standards for cars the same from 1985 to 2010, except for a slight decrease in

required MPG from 1986 to 1989. Truck standards, initially set in 1976 for 1989

vehicles at 21.5 MPG for 2-wheel drive vehicles and 19 MPG for 4-wheel drive

vehicles, were frozen by Congress in the mid-1990s at 20.7 MPG and were not

increased until 2005.

      443. However, starting in 2005, Washington policy makers ushered in a

number of changes. Between 2005 and 2007, the Bush administration raised the

truck fuel efficiency standard from 20.7 to 22.2 MPG. More significantly, in 2007,

Congress passed the Energy Independence and Security Act (EISA), which requires

model-year 2011 and later vehicles for sale in the U.S. that were manufactured

outside the U.S. to achieve a fleetwide gas mileage of 35 MPG and requires vehicles

for sale in the U.S. that were manufactured in the U.S. to achieve a fleetwide gas

mileage of 27.5 MPG by 2020. In 2009, the Obama administration eliminated the

default 27.5 MPG standard and established a new 27.3 MPG standard for 2011

model-year vehicles manufactured domestically and internationally. The new

standard was scheduled to increase annually until it reached 35 MPG for 2020

model-year vehicles.

      444. Starting in 2005 for trucks and 2011 for all vehicles, the standard is

based on one specific attribute: a manufacturer’s collective vehicle footprint. The



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formula multiplies every vehicle’s wheelbase by its average track width for each

manufacturer. This creates a relatively simple inverse-linear formula with cutoff

values. The attribute-based formula produces one number for each automaker. So

while each model sold does not have to achieve a specific target, the automaker’s

fleet on a whole must meet its target. This method helps balance earlier standards,

which were biased against automakers whose overall vehicle lineup was fuel-

efficient, but sold one or two models (typically work trucks) that were not fuel-

efficient.

       445. For example, the GM Sierra Denali is a full-size work truck with an

MPG range of 16 in the city and 23 on the highway. The Honda Ridgeline is a mid-

size truck with an MPG range of 19 in the city and 26 on the highway. To balance

the lower fuel efficiency of the Denali, GM also builds the hybrid Chevrolet Volt

that gets 42 MPG. If the absolute standard was 20 miles per gallon, drivers would

not be able to buy the Denali work truck, which averages 19. But because the

standard is by manufacturer and not model, GM can use the Volt to help balance the

Denali.

       446. In 2012, NHTSA and the EPA issued joint standards for 2017–2025.

While NHTSA’s standards continued to focus on fuel efficiency, the EPA’s more-

stringent regulations targeted reductions in carbon dioxide emissions (greenhouse

gas emissions) and not fuel efficiency. NHTSA increased the CAFE standards to 41



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MPG by 2021 and 49.7 MPG by 2025. The EPA’s standard of 163 g/mi of CO 2-

equivalent emissions effectively increased standards to 54.5 MPG by 2025. This

54.5 MPG 2025 standard is the first one benchmarked to emissions and not gasoline

consumption.

      447. Both the NHTSA and EPA standards offer certain flexibilities, termed

“components,” to help manufacturers comply with the standards. The first

component is a credit trading system that allows manufacturers to carry efficiency

and greenhouse gas credits forward by up to five years and backwards by up to three

years to achieve compliance and avoid fines. Manufacturers can transfer credit

between cars and trucks and trade credits with other manufacturers. Carbon dioxide

credits generated for EPA compliance from model year 2016 and before can be

carried forward up to model year 2021.

      448. In 2016 NHTSA announced plans to more than double the fines for

failing to meet CAFE standards from $5.50 per 0.1 MPG to $14.00. The fine is

applied to each 0.1 MPG the automaker falls short and multiplied by the number of

vehicles sold in a model year. Companies must satisfy both EPA and NHTSA

standards. Manufacturers passing EPA’s greenhouse gas emissions standards that

fail NHTSA’s CAFE standards still pay the fine.

      449. Manufacturers have a clear economic motivation to meet the standards.

If an automaker fails to meet the standards for the model year, it must pay a penalty



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of $5.50 per 0.1 miles per gallon below the standard, multiplied by the total number

of vehicles the manufacturer has produced for the entire U.S. domestic market.

        450. Under the increasing federal standards, Ford also began to market its

gasoline powered vehicles as being cleaner with high fuel economy. As the Ford

Ranger was out of the market for eight years, Ford took a targeted marketing

approach for the 2019 Ranger, focusing on “outdoorsy digital ads” that pitched the

truck to outdoor adventurists.23 Ford capitalized on its fuel efficiency as a selling

point over its competitors.24 Ford sought a strong re-entry of the Ranger into the

U.S. market by pitching it as amazingly fuel efficient.

        Criminal investigation

        451. Ford Motor Company’s March 2019 Securities and Exchange

Commission filing revealed that it is under criminal investigation by the United

States Department of Justice for its emissions certification practices.25




   23
       Exhibit 8, E.J. Schultz, Ford Takes Targeted Marketing Approach for Ranger
Comeback, AdAge (Mar. 1, 2019), https://adage.com/article/cmo-strategy/ford-
takes-targeted-approach-ranger-comeback/316801 (last visited Jan. 26, 2020).
    24
       Exhibit 9, Joey Capparella, The 2019 Ford Ranger Pickup Gets Slightly Better
MPG Ratings Than the Honda Ridgeline, Car and Driver (Dec. 11, 2018),
https://www.caranddriver.com/news/a25470574/2019-ford-ranger-pickup-mpg/
(last visited Jan. 26, 2020).
    25
       Exhibit 10, Ford’s March 31, 2019 Quarterly Report to the SEC, at page 70:
https://www.sec.gov/Archives/edgar/data/37996/000003799619000026/f03312019
10-q.htm.

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        452. Ford Motor Company is a leading auto manufacturer, having sold 2.5

million vehicles in 2018.      Ford’s strategy has increasingly focused on the

manufacture and sale of larger gas-guzzling pickup trucks, sport utility vehicles

(SUVs) and vans. These vehicles are, of course, the most challenged by emissions

standards and fuel efficiency. Ford’s focus on this segment of the market created an

immense incentive to cheat.

        453. In September 2018, several Ford employees expressed concerns about

the testing practices at Ford pertaining to emissions and fuel efficiency. In February

2019, Ford admitted it was looking into these concerns about its “computer-

modeling methods and calculations used to measure fuel economy and emissions.”26

Kim Pittel, Ford’s vice president for sustainability, environment and safety

engineering, has admitted to the New York Times that these “calculations [are] used

in testing cars for fuel economy ratings and emissions certifications.”27

        Mechanism of coastdown cheating
        454. The Environmental Protection Agency (EPA) defines “Road load” as

follows:




   26
      Exhibit 11, Tiffany Hsu, Ford Says Justice Dept. Has Opened Criminal
Inquiry Into Emissions Issues, The New York Times (Apr. 26, 2019),
https://www.nytimes.com/2019/04/26/business/ford-emissions-criminal-
investigation.html (last visited Jan. 26, 2020).
   27
      Exhibit 2, supra fn. 2.

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         the force imparted on a vehicle while driving at a constant speed over a smooth
         level surface from sources such as tire rolling resistance, driveline losses, and
         aerodynamic drag.

EPA letter to manufacturers, titled: “Determination and Use of Vehicle Road-Load

Force and Dynamometer Settings.”28 These calculations are critical to laboratory

fuel efficiency and emissions testing because the vehicle is placed on a

dynamometer, which is essentially a treadmill for cars.             When driving on a

dynamometer, the vehicle is stationary and does not experience the drag of air

against the vehicle; or of the resistance of the tire against the road surface; or the loss

of horsepower that occurs in the drivetrain of the vehicle - the friction, heat, drag,

and other various losses that occur between the engine and tires touching the road.




                     2017 Ford F-350 During Dynamometer Testing




   28
        Exhibit 1, supra fn. 1.

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      455. Auto manufacturers use “coastdown” tests of vehicles on the actual

roadway to help calculate variables to be utilized in conjunction with dynamometer

testing. Coastdown testing provides data regarding aerodynamic drag, tire rolling

resistance, and drivetrain frictional losses and provides technical data used to

program the test dynamometers that generate EPA fuel economy and emissions

ratings. In a coastdown test, a vehicle is brought to a high speed on a flat, straight

road and then set coasting in neutral until it slows to a low speed. By recording the

time the vehicle takes to slow down, it is possible to model the forces affecting the

vehicle.   Coastdown tests are governed by tests developed by the Society of

Automotive of Engineers (SAE). SAE developed a standard procedure (J2263-Dec

2008) to perform road load measurement using coastdown testing, and a standard

procedure (J1263-Mar 2010) to perform road load measurement and dynamometer

simulation using coastdown testing. The current government-approved standard for

road load measurement using onboard anemometry and the coastdown testing

technique is the SAE International Standard. These standards must be followed by

federal regulation. The data relating to speed and distance are recorded by special

instruments to account for various factors that might affect the results. The test

produces data that identifies or maps the drag and other forces acting on the vehicle

in the real world.




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      456. A coastdown requires planning, data collection, and data processing,

but offers many opportunities for manipulation of the data. Data variability and error

can be controlled, but several factors must be considered under SAE standards,

including calculation of the mass of the vehicle, tire pressure, weather, and

environmental factors (e.g., wind speed, air temperature, humidity, and barometric

pressure), aerodynamic factors, and road surface, as well as experiment design and

methodology, measurement errors, data acquisition systems, and vehicle

qualifications. The SAE procedure on coastdown testing includes an appendix with

FORTRAN code that processes experimental velocity data and produces a

mathematical vehicle force model.

      457. The protocol specifies all conditions under which the engine is tested,

including lab temperature and vehicle conditions. Most importantly, the test cycle

defines the vehicle speed over time that is used to simulate a typical driving scenario.

An example of a driving cycle is shown in Figure A. This graph represents the FTP-

75 (Federal Test Procedure) cycle that has been created by the EPA and is used for

emission certification and fuel economy testing of passenger vehicles in the United

States. The cycle simulates an urban route with frequent stops. The cycle lasts 1,877

seconds (about 31 minutes) and covers a distance of 11.04 miles (17.77 km) at an

average speed of 21.2 mph (34.12 km/h).




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                                     Figure A




      458. To assess conformance, these tests are carried out on a chassis

dynamometer, a fixture that holds a car in place while allowing its driven wheels to

turn (a treadmill for cars) with varying resistance meant to simulate the actual load

on the engine during on-road driving. Fuel consumption and emissions are measured

during the test and compared to an emissions standard that defines the maximum

pollutant levels that can be released during such a test. In the United States,

emissions standards are managed on a national level by the EPA. In addition,

California has its own emissions standards that are defined and enforced by CARB.

California standards are also adopted by a number of other states (“Section 177”




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states).29 Together with California, these states cover a significant fraction of the

U.S. market, making them a de facto second national standard.

        F-150 and Ranger test results
        459. Testing was conducted on a 2018 Ford F-150 SuperCrew 4x2 truck and

a 2019 Ford Ranger SuperCrew 4x2 truck to independently verify the model inputs

used to calculate fuel economy of those vehicles.

        460. Fuel economy testing to provide the values listed on the Monroney label

of passenger cars and light duty trucks for sale in the United States is performed on

a chassis dynamometer, a kind of stationary treadmill that simulates the forces acting

on the vehicle during real world driving. Dynamometer testing is required by the

United States Environmental Protection Agency (US EPA) for emissions

certification and fuel economy testing, both for labeling purposes and for compliance

with Corporate Average Fuel Economy, or CAFE, standards. Real world models

specific to every vehicle tested, called “road load models,” are used during testing

to ensure the dynamometer accurately simulates the real world frictional losses a

vehicle experiences during operation on the road. These models are specific to every

vehicle tested for fuel economy. For vehicles having a variety of body

configurations, like the F-150 and Ranger, each configuration and weight class


   29
    Those states are: Connecticut, Maine, Maryland, Massachusetts, New Jersey,
New Mexico, New York, Oregon, Pennsylvania, Rhode Island, Vermont,
Washington, Delaware, Georgia, and North Carolina.

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(grouped according to “equivalent test weight” by the EPA) will have its own unique

model. The road load model is obtained by performing a vehicle “coastdown,” a

process whereby the time to decelerate a vehicle from a high speed is measured. The

standardized technique for performing a coastdown is prescribed in the Code of

Federal Regulations, which references the use of Society or Automotive Engineering

(SAE) Standard J2263.

      461. In the case of both the 2018 F-150 tested and the 2019 Ranger, the road

load obtained in the J2263 coastdown for each vehicle was found to have more

resistance (which would result in more fuel consumption) than the road load models

reported to the EPA.

      462. In order to accurately measure fuel efficiency, the dynamometer rollers

must simulate the parasitic frictional forces a vehicle would experience if it were to

be driving on the road. The quadratic function below replicates these forces (a

combination of driveline parasitic losses, rolling resistance, and aerodynamic drag).

The coastdown test yields the coefficients (A, B, and C below) that are used to model

a particular vehicle’s road load. In certification documents and the EPA fuel

economy test database, these are often referred to as the “target coefficients:”

𝐹𝑜𝑟𝑐𝑒(𝑉) = 𝐴 + 𝐵 ∙ 𝑉 + 𝐶 ∙ 𝑉 2 , where V is the speed of the vehicle.

      463. Once a vehicle’s target coefficients are obtained, the vehicle is

calibrated, or “matched,” to the dynamometer to determine the force the



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dynamometer must apply to simulate the target road load. The “match” accounts for

the friction and inertia inherent in the dynamometer’s driveline and rolls. This

process produces a data set called the “Set Coefficients,” values specific to a

particulate vehicle and a particular dynamometer calibration. Once the set

coefficients are obtained, the dynamometer can accurately replicate the weight (or

inertia) of the vehicle as well as the road load forces. The processes required by the

Code of Federal Regulations, as well as SAE J2264, were strictly followed to match

the vehicle to the dynamometer and to perform fuel economy testing.

        464. The 2018 Ford F-150 SuperCrew and 2019 Ford Ranger SuperCrew

used for testing were selected to replicate vehicles presented in the US EPA fuel

economy test database.30 The EPA database provides vehicle and test data details

including, cab length, drivetrain (4 wheel drive vs 2 wheel drive), axle ratio, engine,

and transmission. Furthermore, the database provides the road load model, and the

FTP-75, and HWFET results presented to the US EPA to certify the fuel economy.

SAE J2263 and EPA Guidance Letter CD-15-04 provided selection criteria for tire

size and trim options based on vehicle population statistics. The test-truck

configurations are shown in Table 1.




   30
     Exhibit 7, Data on Cars used for Testing Fuel Economy, United States
Environmental Protection Agency, https://www.epa.gov/compliance-and-fuel-
economy-data/data-cars-used-testing-fuel-economy (last visited Jan. 26, 2020).

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                               Table 1 - Test Vehicles
MY/Make Model        Cab Style Drivetrain   Axle    Engine     Transmission Equivalent
                                            Ratio                             Test
                                                                             Weight
                                                                              (lbs)
 2018 Ford   F-150SuperCrew       4x2       3.55    2.7L V6      10 Speed     5,000
                   (4 door)                         Ecoboost      Auto
 2019 Ford Ranger SuperCrew       4x2       3.73     2.3L I4     10 Speed     4,750
                   (4 door)                         Ecoboost      Auto

       465. In preparation for coastdown testing, the trucks and tires were aged to

just over 4,000 miles as directed by SAE J2263. The trucks were fitted with an

anemometer on a preceding boom, GPS antennae, and an eDAQ XR Lite data

acquisition system. The body was checked for any damage that might affect

aerodynamic drag. Tire tread depths and pressures were measured. The brakes were

checked for contact and the alignment was checked and adjusted as necessary. The

F-150 was loaded with sandbags to a scale weight of 4,990 lbs. and the Ranger to

4,750 lbs. The trucks were warmed to operating temperature, as per SAE J2263, by

driving for more than 30 min at 50 mph. Once warmed, the tire pressures were re-

adjusted and the truck immediately tested.

       466. The coastdown test-driver accelerated the test truck to approximately

80 mph, placed the transmission into neutral, and coasted the truck until deceleration

reduced the speed below 9 mph. This process was repeated for each truck 12 times:

6 in each direction. Truck speed, time, apparent wind velocity, track temperature,

ambient temperature, and pressure were measured and recorded for each run. This




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data was used to generate the force target coefficients listed in Table 2 and compared

to the EPA Fuel Economy Database target coefficients.

     Table 2 - Target Coefficients (A,B, and C) from Coastdown Tests with
                  Comparison to Values from EPA Database
                                    Target               Ford F-150                 Ford Ranger
                                  Coefficients     From Test From EPA           From      From EPA
                                                                Database         Test      Database
                                A (lbf)             25.1113       26.570       23.7939      31.540
                                B (lbf/mph)          0.9725      0.05130        0.8954     0.29320
                                C (lbf/mph^2)        0.0273      0.03385        0.0288     0.03433

             467. The quadratic coefficients above are used to tune the dynamometer

during the dynamometer match. The effects of these different road load coefficients

can be seen in Figure 1.

                                             Comparison of EPA and Measured Road Load Models
                              300.0


                              250.0
      Road Load Force (lbf)




                              200.0


                              150.0
                                                                                                 EPA Reported Road Load
                                                                                                 Measured Road Load
                              100.0


                               50.0


                                0.0
                                      0     10    20    30       40      50   60   70    80
                                                             Speed (mph)

                                          Figure 1 – MY 2018 Ford F-150 Road Load Force
             468. The coefficients Ford supplied to the EPA underestimate the force

acting on the truck. This underestimation of force yields the over estimation of fuel



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economy. In the speed ranges where the road load has the greatest effect on overall

engine load, road load forces are some 20-35% higher than those values reported to

the EPA.

      469. The Ranger measured road load model is some 5-8% higher in those

same speed ranges, see Figure 2.




           Figure 2 – MY 2019 Ford Ranger Road Load Drag Force
      470. Fuel economy was quantified on both the FTP-75 and HWFET cycles

in strict accordance with the federal regulations by accounting for both the fuel

properties and the carbon-containing emissions from the test cycles. Testing was

performed using Tier 2 gasoline, again as prescribed by regulations and as presented

in the EPA fuel economy database. The fuel economy values calculated from FTP-

75 and HWFET results were used to calculate label fuel economy using the derived



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5-cycle method specified in 40 CFR § 600.115-1131 and shown in the equations

below;

                                                 1
                      𝐶𝑖𝑡𝑦 𝐹𝐸 =
                                                         𝐶𝑖𝑡𝑦𝑆𝑙𝑜𝑝𝑒
                                  𝐶𝑖𝑡𝑦 𝐼𝑛𝑡𝑒𝑟𝑐𝑒𝑝𝑡 +
                                                          𝐹𝑃𝑇 𝐹𝐸
        And for highway fuel efficiency;

                                                     1
             𝐻𝑖𝑔ℎ𝑤𝑎𝑦 𝐹𝐸 =
                                                           𝐻𝑖𝑔ℎ𝑤𝑎𝑦 𝑆𝑙𝑜𝑝𝑒
                              𝐻𝑖𝑔ℎ𝑤𝑎𝑦 𝐼𝑛𝑡𝑒𝑟𝑐𝑒𝑝𝑡 +
                                                            𝐻𝑊𝐹𝐸𝑇 𝐹𝐸
        471. The respective slopes and intercepts are created from a regression of

fuel economies across multiple vehicles. These values are periodically published

by the EPA Administrator. The coefficients for the model years corresponding to the

trucks tested are shown in Table 3.

         Table 3 Current Derived 5-cycle Coefficients. Source CD-15-15
                             Coefficients of Model Year 2017 and Later
         City Intercept                       0.004091
         City Slope                            1.1601
         Highway Intercept                    0.003191
         Highway Slope                         1.2945


   31
      Current fuel economy regulations require that every manufacturer test their
vehicle fuel economy using the same 5 test cycles used for emissions testing (FTP-
75, HWFET, US06, SC03, and Cold CO). A complex calculation is used based on
the results of each of those tests to determine the “City” and “Highway” fuel
economy to be used on the Monroney label. If the emissions test vehicle used for
emissions certification passes a “litmus test,” the EPA allows a “derived 5 cycle”
fuel economy calculation that is based on the results of two tests only: the FTP-75
and HWFET. The purpose of this litmus test is to reduce the number of total tests
manufacturers must perform to test for fuel economy. Because the 2019 Ford Ranger
and 2018 Ford F-150 both pass the litmus test in their certification applications, the
“derived 5 cycle” calculation is used.

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      472. The calculated fuel economies obtained from testing are compared to

the fuel economies presented to the EPA in the application for certification and each

vehicle’s Monroney label in Table 4.

                      Table 4 - Fuel Economy Comparison
                          Ford F-150                         Ford Ranger
                    FE       FE      FE                FE       FE       FE
                  Measured EPA Monroney              Measured EPA Monroney
                            App                                 App
       City (mpg)   17.7     19.6    20                18.3     20.0     20
   Highway (mpg)    22.7     26.6    26                23.4     25.0     25
  Combined (mpg)    20.0     22.8    22                20.6     22.3     22

      473. For the Ford F-150, if the measured fuel economy values are rounded

to the nearest whole number, as prescribed for Monroney labeling calculations, the

resulting city fuel economy label would be 18 mpg for city driving, 23 mph for

highway driving, and 20 mph combined. Compared to the EPA label, this represents

a difference in fuel economy of 2 mpg for the city (10%), 3 mpg highway (12%),

and 2 mpg combined (9%). The certification application states a full useful life of

150,000 miles. Over this lifetime mileage, there will be an additional 833 gallons

consumed for city driving, 752 gallons for highway driving, and 682 gallons

combined. Based on the current national average fuel price of $2.79, this would

represent an added lifetime fuel cost of $2,324, $2,098, and $1,903 for city, highway,

and combined, respectively.

      474. For the Ford Ranger, if the measured fuel economy values are rounded

to the nearest whole number, as prescribed for Monroney labeling calculations, the


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resulting city fuel economy label would be 18 mpg for city driving, 23 mph for

highway driving, and 21 mph combined. Compared to the EPA label, this represents

a loss in fuel economy of 2 mpg for the city (10%), 2 mpg highway (8%), and 1 mpg

combined (5%). The certification application states a full useful life of 150,000

miles. Over this lifetime mileage, there will be an additional 833 gallons for city

driving, 522 gallons for highway driving, and 325 gallons combined. Based on the

current national average fuel price of $2.79, this would represent an added lifetime

fuel cost of $2,324, $1,456, and $907 for city, highway, and combined, respectively.

      475. The difference in fuel consumption and money spent over the 150,000

mile life of the vehicles is summarized in Table 5 below.

   Table 5 – Lifetime Additional Fuel Consumed and Money Spend on Fuel
        Based on Actual Testing Compared to EPA Reported Valued
                               Ford F-150        Ford Ranger
                             Gallons    $    Gallons       $
                 City (mpg)   833     $2,324    833     $2,324
            Highway (mpg)     752     $2,098    522     $1,456
           Combined (mpg)     682     $1,903    325      $907


      476. By cheating in the certification testing, and providing a mileage cheat

device in the vehicles, Ford made its F-150 trucks more appealing and competitive

in the marketplace, to the point of being named “best in class” for some F-150’s and

driving up sales and profits.




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        Ford’s History of Cheating

        477. Ford has a long history of emissions cheating. The recent Volkswagen

emissions cheating debacle is definitely not the first. In 1973, Ford and Volkswagen

were caught in the EPA’s first investigation into emission cheating devices.

        478. Ford was caught again in 1998, using a cheat device in 60,000

Econoline vans, which resulted in a multi-million-dollar settlement with the EPA.32

        479. Ford was caught just last year, cheating on emissions certification for

over 500,000 heavy-duty diesel trucks for which Ford was sued and a motion to

dismiss was denied in material respects.

        480. Ford is increasingly misrepresenting the fuel efficiency of its vehicles,

which is a more indirect way of cheating on emissions requirements. Through

computer modeling, Ford constructs a fuel efficiency for each vehicle that does not

exist in the real world.

        481. Ford over-stated the fuel efficiency of its Ford Fusion and C-MAX

hybrid vehicles and was sued for it. As a result, “[i]n 2013 and 2014, it lowered the

gas mileage ratings on several hybrid cars by one to seven miles per gallon.”33




   32
      Exhibit 12, Ryan Beene, VW Emissions ‘Defeat Device’ Isn’t the First,
AutoWeek (Sep. 24, 2015), https://autoweek.com/article/car-news/vw-emissions-
defeat-device-isnt-first (last visited Jan. 26, 2020).
   33
      Exhibit 2, supra fn. 2.

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        Ford advertising for the Ranger emphasizes fuel economy.

        482. Even after Ford employees had come forward about the cheating,

Ford’s media center touted the 2019 Ranger truck as having amazing performance

without compromise, and the claims of its fuel efficiency are front and center:




   •    With EPA-estimated fuel economy ratings of 21 mpg city, 26 mpg highway
        and 23 mpg combined, 2019 Ford Ranger is the most fuel-efficient gas-
        powered midsize pickup in America

December 11, 2018 Ford Media Press Release titled, “Adventure Further: All-New

Ford Ranger Rated Most Fuel-Efficient Gas-Powered Midsize Pickup in America.”34

        483. Ford’s claim of most fuel efficient in its class is repeated in sales

brochures for the 2019 Ranger35:


   34
        Exhibit 4, supra fn. 4.
   35
        Exhibit 13, 2019 Ford Ranger brochure.

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        Ford promotes the F-150 as best in class for fuel economy or publishes
        MPG estimates to beat its competition.
        484. The F-150 is the best-selling vehicle in the United States and has been

so for decades. In 2018, Ford sold more than 1.075 million F series vehicles

globally, a sale every 29.3 seconds. As Ford executive Jim Farley noted, “But it’s

our F-Series juggernaut that leads the world in sales, capability and smart

technology, setting the bar others follow.”36



   36
      Exhibit 17, Ford Surpasses 1 Million Truck Sales in 2018, Ford Media Center
(Jan. 12, 2019),
https://media.ford.com/content/fordmedia/fna/us/en/news/2019/01/12/ford-
surpasses-1-million-truck-sales-in-2018.html (last visited Jan. 26, 2020).

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        485. To stimulate F-150 sales and maintain its lead over competitors like the

Dodge Ram, Ford announced that the 2018 Ford F-150 would be best in class for

fuel economy and/or published inflated MPG estimates.

        486. As early as August 2017, based on information from Ford, consumers

were told to expect “better fuel economy” in the 2018 F-150.

        487. The Monroney sticker for a 2018 F-150 2.7 V637 lists the MPG as

follows:




   37
        Exhibit 18, Monroney sticker for 2018 F-150 2.7 V6.

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      488. An August 10, 2017 cnet.com article “2018 Ford F-150 touts best-in-

class towing, payload, fuel economy” states:

            Buyers have a choice of five different engines. The base
            offering is a 290-horsepower 3.3-liter V6, followed by a
            325-hp 2.7-liter turbo V6. In the middle of the range is the
            5.0-liter V8 with 395 horsepower. The top two engine




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             choices are both 3.5-liter turbocharged V6s -- one putting
             out 375 horsepower, and the other putting out 450.[38]
        489. The cnet.com article emphasizes fuel economy:

             With these new engines comes better fuel economy. And
             once again, Ford gets to claim best-in-class, thanks to the
             2.7-liter V6, which achieves 20 mpg city and 26 mpg
             highway in 2WD. The 3.3-liter V6 isn’t very far behind it
             at 19 mpg city and 25 mpg highway. The thirstiest engine
             of the bunch is the high-output 3.5-liter turbo V6, which
             still isn’t too bad at 15 mpg city and 18 mpg highway.39

        490. The 2018 F-150 brochure40 lists the estimated fuel economy for the

various types of 150s:




   38
       Exhibit 19, Andrew Krok, 2018 Ford F-150 touts best-in-class towing,
payload,      fuel    economy,       Road      Show      (Aug.       10,   2017),
https://www.cnet.com/roadshow/news/2018-ford-f-150-touts-best-in-class-towing-
payload-fuel-economy/ (last visited Jan. 26, 2020) (emphasis in original).
   39
      Id.
   40
      Exhibit 20, 2018 Ford F-150 brochure.

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      Economic harm

      491. As a result of Defendant’s unfair, deceptive, and/or fraudulent business

practices, Plaintiffs did not receive the fuel efficiency that was advertised and will

incur increased fuel costs over the life of their vehicle. Had Ford told the truth, that

it was cheating on its coastdown testing, Plaintiffs would not have bought their

vehicle or would have paid substantially less.

                 TOLLING OF THE STATUTE OF LIMITATIONS
      Discovery rule tolling

      492. Class members had no way of knowing about Ford’s deception with

respect to the Coastdown Cheating Vehicles’ performance in real-world driving. To

be sure, Ford continues to market the Coastdown Cheating Vehicles, including the

2019 Ranger and 2019 F-150, with false representations of its fuel efficiency. The

Coastdown Cheating Vehicles also contain a computerized mileage “cheat device”

that constantly misrepresents the fuel efficiency to consumers as they drive.

      493. Within the period of any applicable statutes of limitation, Plaintiffs and

members of the proposed Class could not have discovered through the exercise of

reasonable diligence that Ford was concealing the conduct complained of herein and

misrepresenting the company’s true position with respect to the performance of the

Coastdown Cheating Vehicles.

      494. Plaintiffs and the other Class members did not discover, and did not

know of, facts that would have caused a reasonable person to suspect that Ford did

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not report information within its knowledge to federal and state authorities, its

dealerships, or consumers; nor would a reasonable and diligent investigation have

disclosed that Ford had concealed information about the true emissions of the

Coastdown Cheating Vehicles, which was discovered by Plaintiffs only shortly

before this action was filed. Nor in any event would such an investigation on the part

of Plaintiffs and other Class members have disclosed that Ford valued profits over

truthful marketing and compliance with the law.

      495. For these reasons, all applicable statutes of limitation have been tolled

by operation of the discovery rule with respect to claims as to the Coastdown

Cheating Vehicles.

      Fraudulent concealment tolling

      496. All applicable statutes of limitation have also been tolled by Ford’s

knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the period relevant to this action.

      497. Instead of disclosing its fuel economy and emissions testing scheme,

Ford continues to falsely represent that the Coastdown Cheating Vehicles have

higher fuel economy and lower emissions than advertised.




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      Estoppel

      498. Ford was under a continuous duty to disclose to Plaintiffs and the other

Class members the true character, quality, and nature of the Coastdown Cheating

Vehicles’ fuel efficiency and emissions.

      499. Ford knowingly, affirmatively, and actively concealed or recklessly

disregarded the true nature, quality, and character of the fuel efficiency and

emissions in the Coastdown Cheating Vehicles and continues to do so in its

advertising and brochures for continued sale of these vehicles.

      500. Based on the foregoing, Ford is estopped from relying on any statutes

of limitations in defense of this action.

                                  CLASS DEFINITIONS
      501. Plaintiffs bring this action on behalf of themselves and as a class action,

pursuant to the provisions of Rules 23(a) and (b)(3) of the Federal Rules of Civil

Procedure, on behalf of the following class (collectively, the “Class”):

             Nationwide Class
             All persons who purchased or leased a Ford vehicle whose
             published EPA fuel economy ratings, as printed on the
             vehicles’ window sticker, were more than the fuel
             economy rating produced by a properly conducted
             applicable federal mileage test. The vehicles in the Class
             include but are not limited to the model year 2019 Ford
             Ranger and the 2018 and 2019 Ford F-150.




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            Alabama Subclass
            All members of the Nationwide Class who are residents of Alabama or
            purchased or leased their Coastdown Cheating Vehicle in Alabama.

            California Subclass
            All members of the Nationwide Class who are residents of California
            or purchased or leased their Coastdown Cheating Vehicle in California.

            Colorado Subclass
            All members of the Nationwide Class who are residents of Colorado or
            purchased or leased their Coastdown Cheating Vehicle in Colorado.

            Florida Subclass
            All members of the Nationwide Class who are residents of Florida or
            purchased or leased their Coastdown Cheating Vehicle in Florida.

            Georgia Subclass
            All members of the Nationwide Class who are residents of Georgia or
            purchased or leased their Coastdown Cheating Vehicle in Georgia.

            Idaho Subclass
            All members of the Nationwide Class who are residents of Idaho or
            purchased or leased their Coastdown Cheating Vehicle in Idaho.

            Illinois Subclass
            All members of the Nationwide Class who are residents of Illinois or
            purchased or leased their Coastdown Cheating Vehicle in Illinois.

            Louisiana Subclass
            All members of the Nationwide Class who are residents of Louisiana
            or purchased or leased their Coastdown Cheating Vehicle in Louisiana.

            Maryland Subclass
            All members of the Nationwide Class who are residents of Maryland or
            purchased or leased their Coastdown Cheating Vehicle in Maryland.

            Michigan Subclass
            All members of the Nationwide Class who are residents of Michigan or
            purchased or leased their Coastdown Cheating Vehicle in Michigan.



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            Minnesota Subclass
            All members of the Nationwide Class who are residents of Minnesota
            or purchased or leased their Coastdown Cheating Vehicle in Minnesota.

            Missouri Subclass
            All members of the Nationwide Class who are residents of Missouri or
            purchased or leased their Coastdown Cheating Vehicle in Missouri.

            Montana Subclass
            All members of the Nationwide Class who are residents of Montana or
            purchased or leased their Coastdown Cheating Vehicle in Montana.

            Nebraska Subclass
            All members of the Nationwide Class who are residents of Nebraska or
            purchased or leased their Coastdown Cheating Vehicle in Nebraska.

            Nevada Subclass
            All members of the Nationwide Class who are residents of Nevada or
            purchased or leased their Coastdown Cheating Vehicle in Nevada.

            New Jersey Subclass
            All members of the Nationwide Class who are residents of New Jersey
            or purchased or leased their Coastdown Cheating Vehicle in New
            Jersey.

            New York Subclass
            All members of the Nationwide Class who are residents of New York
            or purchased or leased their Coastdown Cheating Vehicle in New York.

            North Carolina Subclass
            All members of the Nationwide Class who are residents of North
            Carolina or purchased or leased their Coastdown Cheating Vehicle in
            North Carolina.

            Ohio Subclass
            All members of the Nationwide Class who are residents of Ohio or
            purchased or leased their Coastdown Cheating Vehicle in Ohio.




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            Oklahoma Subclass
            All members of the Nationwide Class who are residents of Oklahoma
            or purchased or leased their Coastdown Cheating Vehicle in Oklahoma.

            Oregon Subclass
            All members of the Nationwide Class who are residents of Oregon or
            purchased or leased their Coastdown Cheating Vehicle in Oregon.

            Pennsylvania Subclass
            All members of the Nationwide Class who are residents of
            Pennsylvania or purchased or leased their Coastdown Cheating Vehicle
            in Pennsylvania.

            South Carolina Subclass
            All members of the Nationwide Class who are residents of South
            Carolina or purchased or leased their Coastdown Cheating Vehicle in
            South Carolina.

            South Dakota Subclass
            All members of the Nationwide Class who are residents of South
            Dakota or purchased or leased their Coastdown Cheating Vehicle in
            South Dakota.

            Tennessee Subclass
            All members of the Nationwide Class who are residents of Tennessee
            or purchased or leased their Coastdown Cheating Vehicle in Tennessee.

            Texas Subclass
            All members of the Nationwide Class who are residents of Texas or
            purchased or leased their Coastdown Cheating Vehicle in Texas.

            Utah Subclass
            All members of the Nationwide Class who are residents of Utah or
            purchased or leased their Coastdown Cheating Vehicle in Utah.

            Virginia Subclass
            All members of the Nationwide Class who are residents of Virginia or
            purchased or leased their Coastdown Cheating Vehicle in Virginia.

            Washington Subclass


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             All members of the Nationwide Class who are residents of Washington
             or purchased or leased their Coastdown Cheating Vehicle in
             Washington.

             Wisconsin Subclass
             All members of the Nationwide Class who are residents of Wisconsin
             or purchased or leased their Coastdown Cheating Vehicle in Wisconsin.

      502. The class is likely to also include other vehicles, as well as other model

year vehicles.   Plaintiffs reserve the right to amend the proposed class after

additional information is received from Ford Motor Company in discovery.

      503. Excluded from the Class are individuals who have personal injury

claims resulting from the high emissions in the Coastdown Cheating Vehicles. Also

excluded from the Class are Ford and its subsidiaries and affiliates; all persons who

make a timely election to be excluded from the Class; governmental entities; the

Judge to whom this case is assigned and his/her immediate family; and Plaintiffs’

counsel.

      504. Plaintiffs reserve the right to revise the Class definition based upon

information learned through discovery.

      505. Certification of Plaintiffs’ claims for class-wide treatment is

appropriate because Plaintiffs can prove the elements of their claims on a class-wide

basis using the same evidence as would be used to prove those elements in individual

actions alleging the same claim.




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      506. This action has been brought and may be properly maintained on behalf

of the Class proposed herein under Federal Rule of Civil Procedure 23.

      507. Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members of

the Class are so numerous and geographically dispersed that individual joinder of all

Class members is impracticable. For purposes of this complaint, Plaintiffs allege that

there are in excess of an estimated 1,000,000 or more vehicles in the Class. The

precise number of Class members is unknown to Plaintiffs but may be ascertained

from Ford’s books and records. Class members may be notified of the pendency of

this action by recognized, Court-approved notice dissemination methods, which may

include U.S. Mail, electronic mail, Internet postings, and/or published notice.

      508. Commonality and Predominance: Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3): This action involves common questions of law and fact, which

predominate over any questions affecting individual Class members, including,

without limitation:

             a)       Whether Ford engaged in the conduct alleged herein;

             b)       Whether Ford designed, advertised, marketed, distributed,
                      leased, sold, or otherwise placed Coastdown Cheating Vehicles
                      into the stream of commerce in the United States;

             c)       Whether Ford provided false information to consumers
                      regarding the fuel efficiency and emissions of the Coastdown
                      Cheating Vehicles;




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             d)    Whether Ford provided false information to the EPA regarding
                   the fuel efficiency and emissions of the Coastdown Cheating
                   Vehicles;

             e)    Whether Ford knew, and for how long, that the testing
                   certifying the fuel efficiency and emissions of the Coastdown
                   Cheating Vehicles was tainted by inaccurate information;

             f)    Whether Ford intentionally designed, manufactured, marketed,
                   and distributed Coastdown Cheating Vehicles with misleading
                   fuel efficiency and emissions ratings;

             g)    Whether Plaintiffs and the other Class members overpaid for
                   their vehicles at the point of sale; and

             h)    Whether Plaintiffs and the other Class members are entitled to
                   damages and other monetary relief and, if so, in what amount.

      509. Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims

are typical of the other Class members’ claims because, among other things, all Class

members were comparably injured through Ford’s wrongful conduct as described

above.

      510. Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are

adequate Class representatives because their interests do not conflict with the

interests of the other members of the Class they seek to represent; Plaintiffs have

retained counsel competent and experienced in complex class action litigation; and

Plaintiffs intend to prosecute this action vigorously. Plaintiffs’ counsel have

extensive experience in emissions cases. The Class’s interests will be fairly and

adequately protected by Plaintiffs and their counsel.



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      511. Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action is

superior to any other available means for the fair and efficient adjudication of this

controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered

by Plaintiffs and the other Class members are relatively small compared to the

burden and expense that would be required to individually litigate their claims

against Ford, so it would be impracticable for the members of the Classes to

individually seek redress for Ford’s wrongful conduct. Even if Class members could

afford individual litigation, the court system could not. Individualized litigation

creates a potential for inconsistent or contradictory judgments and increases the

delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

                                CLASS ALLEGATIONS
      Claims Brought on Behalf of the Alabama Subclass

                                    COUNT 1

                     VIOLATION OF THE ALABAMA
                   DECEPTIVE TRADE PRACTICES ACT
                       (ALA. CODE § 8-19-1 et seq.)
      512. Plaintiffs William Don Cook, Ronald J. Dismukes, and Jeffrey Foshee

(“Alabama Plaintiffs”) hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

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      513. This claim is brought by the Alabama Plaintiffs on behalf of the

Alabama Subclass.

      514. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”)

declares several specific actions to be unlawful, including: “engaging in any other

unconscionable, false, misleading, or deceptive act or practice in the conduct of trade

or commerce.” ALA. CODE § 8-19-5.

      515. Alabama Plaintiffs and the Alabama Subclass are “consumers” within

the meaning of ALA. CODE. § 8-19-3(2).

      516. Alabama Plaintiffs, the Alabama Subclass, and Ford are “persons”

within the meaning of ALA. CODE § 8-19-3(3).

      517. Ford was and is engaged in “trade or commerce” within the meaning of

ALA. CODE § 8-19-3(8).

      518. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy was far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle.

      519. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,



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suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      520. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Alabama Plaintiffs and the Alabama

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      521. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Alabama

Plaintiffs and the Alabama Subclass.

      522. Ford knew or should have known that its conduct violated the Alabama

DTPA.

      523. Ford owed Alabama Plaintiffs and the Alabama Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.    Possessed exclusive knowledge that it manipulated
                  the testing, certification, and onboard vehicle
                  reporting of fuel efficiency;
            b.    Intentionally concealed the foregoing from
                  Alabama Plaintiffs and the Alabama Subclass;
                  and/or



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            c.      Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy or presence of a
                    fuel efficiency cheat device in the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Alabama Plaintiffs and the
                    Alabama Subclass that contradicted these
                    representations.

      524. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Alabama Plaintiffs and the

Alabama Subclass.

      525. Alabama Plaintiffs and the Alabama Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Alabama Plaintiffs and the Alabama Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Alabama DTPA.

      526. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Alabama DTPA.

      527. As a direct and proximate result of Ford’s violations of the Alabama

DTPA, Alabama Plaintiffs and the Alabama Subclass have suffered injury-in-fact

and/or actual damage.




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       528. Ford’s violations present a continuing risk to Alabama Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

       529. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

       530. Pursuant to ALA. CODE § 8-19-10, Alabama Plaintiffs seek monetary

relief against Ford measured as the greater of (a) actual damages in an amount to be

determined at trial and (b) statutory damages in the amount of $100 for each plaintiff.

       531. Alabama Plaintiffs also to seek an order enjoining Ford’s unfair,

unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

relief available under ALA. CODE. § 8-19-1, et seq.

       532. On June 20, 2019, Plaintiffs sent a letter complying with ALA. CODE

§ 8-19-10(e) to Ford. Ford failed to remedy its unlawful conduct within the requisite

period. Thus, Alabama Plaintiffs seek all damages and relief to which they are

entitled.




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                                     COUNT 2

                            BREACH OF CONTRACT
                          (BASED ON ALABAMA LAW)

      533. Alabama Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      534. This claim is brought by Alabama Plaintiffs on behalf of the Alabama

Subclass.

      535. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Alabama Plaintiffs and the Alabama Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Alabama Plaintiffs and the Alabama Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Alabama Plaintiffs and the Alabama Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      536. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to Alabama Plaintiffs and the Alabama Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      537. As a direct and proximate result of Ford’s breach of contract, Alabama

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 3

                          FRAUDULENT CONCEALMENT
                           (BASED ON ALABAMA LAW)
      538. Alabama Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      539. This claim is brought by Alabama Plaintiffs on behalf of the Alabama

Subclass.

      540. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


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for the truth and denied Alabama Plaintiffs and the Alabama Subclass information

that is highly relevant and material to their purchasing decision.

      541. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      542. Ford further affirmatively misrepresented to Alabama Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      543. Ford knew these representations were false when made.

      544. The Coastdown Cheating Vehicles purchased or leased by Alabama

Plaintiffs and the Alabama Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      545. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Alabama Plaintiffs and the



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Alabama Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      546. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      547. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Alabama Plaintiffs and the Alabama Subclass did not know of these facts and

Ford actively concealed these facts from Alabama Plaintiffs and the Alabama

Subclass.

      548. Alabama Plaintiffs and the Alabama Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Alabama Plaintiffs and the Alabama

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Alabama Plaintiffs and the Alabama Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.



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      549. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Alabama Plaintiffs and the Alabama Subclass

placed in its representations.

      550. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Alabama Plaintiffs and the Alabama

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      551. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Alabama Plaintiffs and the Alabama Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the



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qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Alabama Plaintiffs and the Alabama Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Alabama Plaintiffs and the

Alabama Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Alabama Plaintiffs and the Alabama Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      552. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Alabama

Plaintiffs and the Alabama Subclass.




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      553. Ford has still not made full and adequate disclosures and continues to

defraud Alabama Plaintiffs and the Alabama Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      554. Alabama Plaintiffs and the Alabama Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Alabama Plaintiffs’ and the Alabama Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Alabama Plaintiffs, or Alabama Subclass members.

      555. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Alabama Plaintiffs and the Alabama Subclass

have been injured and sustained damage because they overpaid for their vehicles and

own vehicles that diminished in value as a result of Ford’s concealment, and suffered

and continue to suffer increased fuel costs over what was represented by Ford. Had

they been aware of the true facts, Alabama Plaintiffs and Class members would not

have purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      556. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Alabama Plaintiffs and the Alabama Subclass for damages in an amount to



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be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      557. Ford’s      acts were done wantonly,          maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Alabama Plaintiffs’

and the Alabama Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the California Subclass

                                     COUNT 4

    VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
             (CAL. BUS. & PROF. CODE § 17200 ET SEQ.)

      558. Plaintiffs Victor Perez and Harold Brower (“California Plaintiffs”)

incorporate by reference all paragraphs as though fully set forth herein.

      559. This claim is brought by the California Plaintiffs on behalf of the

California Subclass.

      560. California’s Unfair Competition Law (UCL), CAL. BUS. & PROF. CODE

§ 17200 et seq., proscribes acts of unfair competition, including “any unlawful,

unfair or fraudulent business act or practice and unfair, deceptive, untrue or

misleading advertising.”




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      561. Ford’s conduct, as described herein, was and is in violation of the UCL.

Ford’s conduct violates the UCL in at least the following ways:

             i.     By failing to disclose that the Coastdown Cheating
                    Vehicles do not achieve the MPGs listed on the Monroney
                    sticker or Ford’s advertising;

             ii.    By knowingly and intentionally concealing from Plaintiffs
                    and the other California Subclass members that the
                    Coastdown Cheating Vehicles contain reported MPGs via
                    a Coastdown Cheating process chat do not achieve the
                    MPGs listed on the Monroney sticker, do not provide the
                    fuel efficiency that was advertised and certified, and their
                    mileage is far worse than a reasonable consumer would
                    expect given the premium paid for these vehicles;

             iii.   By failing to disclose that fuel economy is achieved with
                    manipulation of the computer trip meter;

             iv.    By marketing the Coastdown Cheating Vehicles as fuel
                    efficient vehicles; and

             v.     By violating federal laws, including the Automobile
                    Disclosure Act (15 U.S.C. §§ 1231-33) and 49 U.S.C. §
                    32908, and EPA CAFE standards by failing to disclose
                    that the Coastdown Cheating Vehicles do not achieve the
                    MPGs listed on the Monroney sticker
             vi.    By violating other California laws, including California
                    consumer protection laws.

             vii.   By refusing or otherwise failing to repair and/or replace
                    the Coastdown Cheating Vehicles.

      562. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with an intent to mislead California

Plaintiffs and the Class.


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      563. In purchasing or leasing the Coastdown Cheating Vehicles, California

Plaintiffs and the California Subclass were deceived by Ford’s failure to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the representation made by Ford.

      564. California Plaintiffs and California Subclass reasonably relied upon

Ford’s false misrepresentations. They had no way of knowing that Ford’s

representations were false and gravely misleading. As alleged herein, Ford engaged

in extremely sophisticated methods of deception. California Plaintiffs and California

Subclass did not, and could not, unravel Ford’s deception on their own.

      565. Ford knew or should have known that its conduct violated the UCL.

      566. Ford owed California Plaintiffs and the California Subclass a duty to

disclose the truth about its fuel efficiency manipulation because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

             b.    Intentionally concealed the foregoing from
                   California Plaintiffs and the California Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a
                   fuel efficiency cheat device in the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from California Plaintiffs and the


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                    California Subclass that contradicted these
                    representations.
      567. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford.

      568. Ford’s conduct proximately caused injuries to California Plaintiffs and

the California Subclass.

      569. California Plaintiffs and the California Subclass were injured and

suffered ascertainable loss, injury-in-fact, and/or actual damage as a proximate result

of Ford’s conduct in that California Plaintiffs and the California Subclass members

overpaid for the Coastdown Cheating Vehicles, and/or the Coastdown Cheating

Vehicles have suffered a diminution in value. These injuries are the direct and

natural consequence of Ford’s misrepresentations and omissions.

      570. Ford’s violations present a continuing risk to California Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      571. Ford’s misrepresentations and omissions alleged herein caused

California Plaintiffs and the California Subclass to make their purchases or leases of

the Coastdown Cheating Vehicles. Absent those misrepresentations and omissions,

California Plaintiffs and the California Subclass would not have purchased or leased


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these vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the mileage cheat device and

reduced fuel economy of the Coastdown Cheating Vehicles.

      572. Accordingly, California Plaintiffs and the California Subclass members

have suffered injury in fact, including lost money or property, as a result of Ford’s

misrepresentations and omissions.

      573. California Plaintiffs request that this Court enter such orders or

judgments as may be necessary to restore to California Plaintiffs and the California

Subclass any money it acquired by unfair competition, including restitution and/or

restitutionary disgorgement, as provided in CAL. BUS. & PROF. CODE § 17203 and

CAL. CIV. CODE § 3345; and for such other relief as may be appropriate.

                                    COUNT 5

        VIOLATIONS OF THE CALIFORNIA’S CONSUMERS LEGAL
                           REMEDIES ACT
               (CAL. BUS. & PROF. CODE § 1750 ET SEQ.)

      574. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      575. This claim is brought by the California Plaintiffs on behalf of California

Subclass.




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      576. California’s Consumers Legal Remedies Act (“CLRA”), CAL. CIV.

CODE § 1750, et seq., proscribes “unfair methods of competition and unfair or

deceptive acts or practices undertaken by any person in a transaction intended to

result or which results in the sale or lease of goods or services to any consumer.”

      577. The Coastdown Cheating Vehicles are “goods” as defined in CAL.

CIV. CODE §§ 1751(a).

      578. California Plaintiffs and the California Subclass are “consumers” as

defined in CAL. CIV. CODE § 1761(d), and Plaintiffs, the other Class members, and

Ford are “person[s]” as defined in CAL. CIV. CODE § 1761(c).

      579. Ford’s conduct, as described herein, was and is in violation of the

CLRA. Ford’s conduct violates at least the following enumerated CLRA provisions:

             i.     CAL. CIV. CODE § 1770(a)(2): Misrepresenting the
                    approval or certification of goods;

             ii.    CAL. CIV. CODE § 1770(a)(5): Representing that goods
                    have sponsorship, approval, characteristics, uses, benefits,
                    or quantities which they do not have;


             iii.   CAL. CIV. CODE § 1770(a)(7): Representing that goods are
                    of a particular standard, quality, or grade, if they are of
                    another;

             iv.    CAL. CIV. CODE § 1770(a)(9): Advertising goods with
                    intent not to sell them as advertised; and

             v.     CAL. CIV. CODE § 1770(a)(16): Representing that goods
                    have been supplied in accordance with a previous
                    representation when they have not.


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      580. California Plaintiffs and the California Subclass have suffered injury in

fact and actual damages resulting from Ford’s material omissions and

misrepresentations because they paid an inflated purchase or lease price for the

Coastdown Cheating Vehicles.

      581. Because Ford fraudulently concealed that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

representation made by Ford, their value has diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      582. Ford knew, should have known, or was reckless in not knowing that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect.

      583. California Plaintiffs and the California Subclass were injured and

suffered ascertainable loss, injury-in-fact, and/or actual damage as a proximate result

of Ford’s conduct in that Plaintiffs and the other California Class members overpaid

for the Coastdown Cheating Vehicles, and/or the Coastdown Cheating Vehicles have




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suffered a diminution in value. These injuries are the direct and natural consequence

of Ford’s misrepresentations and omissions.

      584. Ford’s misrepresentations and omissions alleged herein caused

California Plaintiffs and the California Subclass to make their purchases or leases of

the Coastdown Cheating Vehicles. Absent those misrepresentations and omissions,

California Plaintiffs and the California Subclass would not have purchased or leased

these vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the mileage cheat device and

reduced fuel economy of the Coastdown Cheating Vehicles.

      585. In accordance with Civil Code § 1780 (a), California Plaintiffs and the

California Subclass seek injunctive and equitable relief for Ford’s violations of the

CLRA, including an injunction to enjoin Ford from continuing its deceptive

advertising and sales practices.

      586. California Plaintiffs have provided Ford with notice of its violations of

the CLRA pursuant to CAL. CIV. CODE § 1782(a). The notice was transmitted to

Ford on June 20, 2019.

      587. California Plaintiffs and the California Subclass’s injuries were

proximately caused by Ford’s fraudulent and deceptive business practices.




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      588. Therefore, California Plaintiffs and the California Subclass are entitled

to equitable and monetary relief under the CLRA.

                                       COUNT 6

     VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
             (CAL. BUS. & PROF. CODE § 17500 ET SEQ.)

      589. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      590. This claim is brought by the California Plaintiffs on behalf of the

California Subclass.

      591. CAL. BUS. & PROF. CODE § 17500 states: “It is unlawful for any . . .

corporation . . . with intent directly or indirectly to dispose of real or personal

property . . . to induce the public to enter into any obligation relating thereto, to make

or disseminate or cause to be made or disseminated . . . from this state before the

public in any state, in any newspaper or other publication, or any advertising device,

. . . or in any other manner or means whatever, including over the Internet, any

statement . . . which is untrue or misleading, and which is known, or which by the

exercise of reasonable care should be known, to be untrue or misleading.” Ford failed

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.


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      592. Ford caused to be made or disseminated through California and the

United States, through advertising, marketing and other publications, statements that

were untrue or misleading, and which were known, or which by the exercise of

reasonable care should have been known to Ford, to be untrue and misleading to

consumers, including California Plaintiffs and the California Subclass.

      593. Ford has violated § 17500 because the misrepresentations and

omissions regarding the functionality and fuel efficiency of the Coastdown Cheating

Vehicles as set forth in this Complaint were material and likely to deceive a

reasonable consumer.

      594. California Plaintiffs and the California Subclass have suffered an injury

in fact, including the loss of money or property, as a result of Ford’s unfair, unlawful,

and/or deceptive practices. In purchasing or leasing their Coastdown Cheating

Vehicles, California Plaintiffs and the California Subclass relied on the

misrepresentations and/or omissions of Ford with respect to the functionality and

fuel economy of the Coastdown Cheating Vehicles. Had California Plaintiffs and

the California Subclass known this, they would not have purchased or leased the

Coastdown Cheating Vehicles and/or paid as much for them. Accordingly, Plaintiffs

and the other California Class members overpaid for the Coastdown Cheating

Vehicles.




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      595. All wrongful conduct alleged herein occurred, and continues to occur,

in the conduct of Ford’s business. Ford’s wrongful conduct is part of a pattern or

generalized course of conduct that is still perpetuated and repeated, both in the State

of California and nationwide.

      596. The facts concealed and omitted by Ford to California Plaintiffs and the

California Subclass are material in that a reasonable consumer would have

considered them to be important in deciding whether to purchase or lease the

Coastdown Cheating Vehicles or pay a lower price. Had California Plaintiffs and the

California Subclass known of the lower fuel economy or onboard mileage cheat

device at the time they purchased or leased the Coastdown Cheating Vehicles, they

would not have purchased or leased those vehicles, or would have paid substantially

less for the vehicles than they did.

      597. California Plaintiffs, individually and on behalf of the California

Subclass, request that this Court enter such orders or judgments as may be necessary

to restore to California Plaintiffs and the California Subclass any money Ford

acquired by unfair competition, including restitution and/or restitutionary

disgorgement, and for such other relief as may be appropriate.




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                                    COUNT 7

                             BREACH OF CONTRACT
                          (BASED ON CALIFORNIA LAW)

      598. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      599. This claim is brought by California Plaintiffs on behalf of the California

Subclass.

      600. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused California Plaintiffs and the California Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, California Plaintiffs and the California Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

California Plaintiffs and the California Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      601. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to California Plaintiffs and the California Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      602. As a direct and proximate result of Ford’s breach of contract, Plaintiffs

and the Class have been damaged in an amount to be proven at trial, which shall

include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 8

                          FRAUDULENT CONCEALMENT
                          (BASED ON CALIFORNIA LAW)
      603. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      604. This claim is brought by California Plaintiffs on behalf of the California

Subclass.

      605. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


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for the truth and denied California Plaintiffs and the California Subclass information

that is highly relevant to their purchasing decision.

      606. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      607. Ford further affirmatively misrepresented to California Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      608. Ford knew these representations were false when made.

      609. The Coastdown Cheating Vehicles purchased or leased by California

Plaintiffs and the California Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      610. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because California Plaintiffs and the



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California Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      611. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      612. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; California Plaintiffs and the California Subclass did not know of these facts

and Ford actively concealed these facts from California Plaintiffs and the California

Subclass.

      613. California Plaintiffs and the California Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, California Plaintiffs and the California

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive California Plaintiffs and the California Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.



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      614. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that California Plaintiffs and the California Subclass

placed in its representations.

      615. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including California Plaintiffs and the California Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      616. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by California Plaintiffs and the California Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the



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qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to California Plaintiffs and the California Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by California Plaintiffs and the

California Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to California Plaintiffs and the California Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      617. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of California

Plaintiffs and the California Subclass.




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      618. Ford has still not made full and adequate disclosures and continues to

defraud California Plaintiffs and the California Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      619. California Plaintiffs and the California Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. California Plaintiffs’ and the California Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, California Plaintiffs, or California Subclass members.

      620. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, California Plaintiffs and the California Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Plaintiff and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      621. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to California Plaintiffs and the California Subclass for damages in an amount



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to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      622. Ford’s      acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of California Plaintiffs’

and the California Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Colorado Subclass

                                      COUNT 9

    VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT
                (COLO. REV. STAT. § 6-1-101 et seq.)

      623. Plaintiff Ramiro Sandoval Pinon (“Colorado Plaintiff”) hereby

incorporates by reference the allegations contained in the preceding paragraphs of

this complaint.

      624. This claim is brought by Colorado Plaintiff on behalf of the Colorado

Subclass.

      625. The Colorado Consumer Protection Act (“Colorado CPA”) prohibits

deceptive practices in the course of a person’s business, including but not limited to

“fail[ing] to disclose material information concerning goods, services, or property

which information was known at the time of an advertisement or sale if such failure


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to disclose such information was intended to induce the consumer to enter into a

transaction.” COLO. REV. STAT. § 6-1-105.

      626. Ford is a “person” under COLO. REV. STAT. § 6-1-102(6).

      627. Colorado Plaintiff and the Colorado Subclass members are

“consumers” for purposes of COLO. REV. STAT § 6-1-113(1)(a).

      628. Ford’s conduct, as set forth above, occurred in the conduct of trade or

commerce.

      629. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      630. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Colorado Plaintiff and the Colorado

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel



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economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       631. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Colorado

Plaintiff and the Colorado Subclass.

       632. Ford knew or should have known that its conduct violated the Colorado

CPA.

       633. Ford owed Colorado Plaintiff and the Colorado Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

             b.    Intentionally concealed the foregoing from
                   Colorado Plaintiff and the Colorado Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a
                   fuel efficiency cheat device in the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Colorado Plaintiff and the
                   Colorado Subclass that contradicted these
                   representations.




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      634. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Colorado Plaintiff and the

Colorado Subclass.

      635. Colorado Plaintiff and the Colorado Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Colorado Plaintiff and the Colorado Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Colorado CPA.

      636. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Colorado CPA. As a direct and proximate result

of Ford’s violations of the Colorado CPA, Colorado Plaintiff and the Colorado

Subclass have suffered injury-in-fact and/or actual damage.

      637. Ford’s violations present a continuing risk to Colorado Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      638. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma



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attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      639. Pursuant to COLO. REV. STAT. § 6-1-113, Colorado Plaintiff seek

monetary relief against Ford measured as the greater of (a) actual damages in an

amount to be determined at trial and discretionary trebling of such damages, or

(b) statutory damages in the amount of $500 for each Colorado Plaintiff and the

Colorado Subclass member.

      640. Colorado Plaintiff also seeks an order enjoining Ford’s unfair,

unlawful, or deceptive practices, declaratory relief, attorneys’ fees, and any other

just and proper remedy under the Colorado CPA.

                                   COUNT 10

                            BREACH OF CONTRACT
                          (BASED ON COLORADO LAW)
      641. Colorado Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      642. This claim is brought by Colorado Plaintiff on behalf of the Colorado

Subclass.

      643. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Colorado Plaintiff and the Colorado Subclass to make their


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purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Colorado Plaintiff and the Colorado Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Colorado Plaintiff and the Colorado Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      644. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Colorado Plaintiff and the Colorado Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      645. As a direct and proximate result of Ford’s breach of contract, Colorado

Plaintiff and the Colorado Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.



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                                     COUNT 11

                          FRAUDULENT CONCEALMENT
                           (BASED ON COLORADO LAW)

      646. Colorado Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      647. This claim is brought by Colorado Plaintiff on behalf of the Colorado

Subclass.

      648. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Colorado Plaintiff and the Colorado Subclass information

that is highly relevant to their purchasing decision.

      649. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      650. Ford further affirmatively misrepresented to Colorado Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling


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had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      651. Ford knew these representations were false when made.

      652. The Coastdown Cheating Vehicles purchased or leased by Colorado

Plaintiff and the Colorado Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      653. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Colorado Plaintiff and the

Colorado Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      654. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.




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      655. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Colorado Plaintiffs and the Colorado Subclass did not know of these facts and

Ford actively concealed these facts from Colorado Plaintiff and the Colorado

Subclass.

      656. Colorado Plaintiff and the Colorado Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Colorado Plaintiff and the Colorado

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Colorado Plaintiff and the Colorado Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      657. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Colorado Plaintiff and the Colorado Subclass

placed in its representations.

      658. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford



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well knew, its customers, including Colorado Plaintiff and the Colorado Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      659. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Colorado Plaintiff and the Colorado Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Colorado Plaintiff and the Colorado Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Colorado Plaintiff and the

Colorado Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a



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consumer. Ford represented to Colorado Plaintiff and the Colorado Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      660. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Colorado Plaintiff

and the Colorado Subclass.

      661. Ford has still not made full and adequate disclosures and continues to

defraud Colorado Plaintiff and the Colorado Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      662. Colorado Plaintiff and the Colorado Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Colorado Plaintiff’s and the Colorado Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Colorado Plaintiff, or, Colorado Subclass members.



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      663. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Colorado Plaintiff and the Colorado Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Colorado Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      664. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Colorado Plaintiff and the Colorado Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      665. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Colorado Plaintiff’s

and the Colorado Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




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      Claims Brought on Behalf of the Florida Subclass

                                    COUNT 12

                VIOLATIONS OF THE FLORIDA UNFAIR AND
                   DECEPTIVE TRADE PRACTICES ACT
                      (FLA. STAT. § 501.201 ET SEQ.)

      666. Plaintiffs Steve Beavers and Dillion Drake (“Florida Plaintiffs”)

incorporate by reference all preceding allegations as though fully set forth herein.

      667. Florida Plaintiffs bring this Count on behalf of the Florida Subclass.

      668. Florida Plaintiffs and the Florida Subclass members are “consumers”

within the meaning of Florida Unfair and Deceptive Trade Practices Act (“Florida

UDTPA”), FLA. STAT. § 501.203(7).

      669. Defendant engaged in “trade or commerce” within the meaning of FLA.

STAT. § 501.203(8).

      670. Florida’s Deceptive and Unfair Trade Practices Act prohibits “[u]nfair

methods of competition, unconscionable acts or practices, and unfair or deceptive

acts or practices in the conduct of any trade or commerce.” FLA. STAT. § 501.204(1).

Defendant participated in unfair and deceptive trade practices that violated the

Florida UDTPA as described herein. Defendant engaged in unfair methods of

competition, unconscionable acts or practices, and unfair or deceptive acts or

practices as defined in FLA. STAT. § 501.204(1). Ford’s conduct offends established




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public policy, is immoral, unethical, oppressive, unscrupulous, or substantially

injurious to consumers, and is likely to mislead consumers.

      671. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      672. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Florida Plaintiffs and the Florida Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      673. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Florida Plaintiffs

and the Florida Subclass.



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      674. Ford knew or should have known that its conduct violated the Florida

UDTPA.

      675. Ford owed Florida Plaintiffs and the Florida Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.      Possessed exclusive knowledge that it manipulated
                    the testing, certification, and onboard vehicle
                    reporting of fuel efficiency;

            b.      Intentionally concealed the foregoing from Florida
                    Plaintiffs and the Florida Subclass; and/or

            c.      Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy or presence of a fuel
                    efficiency cheat device in the Coastdown Cheating
                    Vehicles, while purposefully withholding material
                    facts from Florida Plaintiffs and the Florida
                    Subclass that contradicted these representations.

      676. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Florida Plaintiffs and the

Florida Subclass.

      677. Florida Plaintiffs and the Florida Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Florida Plaintiffs and the Florida Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their




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vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Florida UDTPA.

      678. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Florida UDTPA. As a direct and proximate result

of Ford’s violations of the Florida UDTPA, Florida Plaintiffs and the Florida

Subclass have suffered injury-in-fact and/or actual damage.

      679. Ford’s violations present a continuing risk to Florida Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      680. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      681. Accordingly, the Defendant is liable to Florida Plaintiffs and the Florida

Subclass for damages in an amount to be proven at trial.




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                                    COUNT 13

                              BREACH OF CONTRACT
                            (BASED ON FLORIDA LAW)

      682. Florida Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      683. This claim is brought by Florida Plaintiffs on behalf of the Florida

Subclass.

      684. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Florida Plaintiffs and the Florida Subclass to make their purchases

or leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and

omissions, Florida Plaintiffs and the Florida Subclass would not have purchased or

leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage

or fuel efficiency cheat device. Accordingly, Florida Plaintiffs and the Florida

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      685. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to Florida Plaintiffs and the Florida Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        686. As a direct and proximate result of Ford’s breach of contract, Florida

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 14

                          FRAUDULENT CONCEALMENT
                           (BASED ON FLORIDA LAW)
        687. Florida Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

        688. This claim is brought by Florida Plaintiffs on behalf of the Florida

Subclass.

        689. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


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for the truth and denied Florida Plaintiffs and the Florida Subclass information that

is highly relevant to their purchasing decision.

      690. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      691. Ford further affirmatively misrepresented to Florida Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      692. Ford knew these representations were false when made.

      693. The Coastdown Cheating Vehicles purchased or leased by Florida

Plaintiffs and the Florida Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      694. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Florida Plaintiffs and the



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Florida Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      695. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      696. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Florida Plaintiffs and the Florida Subclass did not know of these facts and Ford

actively concealed these facts from Florida Plaintiffs and the Florida Subclass.

      697. Florida Plaintiffs and the Florida Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers Florida Plaintiffs and the Florida Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Florida Plaintiffs and the Florida Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.




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      698. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Florida Plaintiffs and the Florida Subclass

placed in its representations.

      699. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Florida Plaintiffs and the Florida Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      700. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Florida Plaintiffs and the Florida Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the



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qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Florida Plaintiffs and the Florida Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Florida Plaintiffs and the

Florida Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Florida Plaintiffs and the Florida Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      701. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Florida Plaintiffs

and the Florida Subclass.




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      702. Ford has still not made full and adequate disclosures and continues to

defraud Florida Plaintiffs and the Florida Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      703. Florida Plaintiffs and the Florida Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Florida Plaintiffs’ and the Florida Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Florida Plaintiffs, or Florida Subclass members.

      704. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Florida Plaintiffs and the Florida Subclass have

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Florida Plaintiffs and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      705. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Florida Plaintiffs and the Florida Subclass for damages in an amount to be



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proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      706. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Florida Plaintiffs’

and the Florida Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Georgia Subclass

                                     COUNT 15

   VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                (GA. CODE ANN. § 10-1-390 et seq.)

      707. Plaintiffs Robert Goolsby and Jamar Haynes (“Georgia Plaintiffs”)

hereby incorporate by reference the allegations contained in the preceding

paragraphs of this complaint.

      708. Georgia Plaintiffs bring this Count on behalf of the Georgia Subclass.

      709. The Georgia Fair Business Practices Act (“Georgia FBPA”) declares

“[u]nfair or deceptive acts or practices in the conduct of consumer transactions and

consumer acts or practices in trade or commerce” to be unlawful, GA. CODE ANN.

§ 101-393(b), including but not limited to “representing that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that


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they do not have”; “[r]epresenting that goods or services are of a particular standard,

quality, or grade . . . if they are of another”; and “[a]dvertising goods or services

with intent not to sell them as advertised and certified.” GA. CODE ANN. § 10-1-

393(b).

      710. Georgia Plaintiffs and Georgia Class members are “consumers” within

the meaning of GA. CODE ANN. § 10-1-393(b).

      711. Ford engaged in “trade or commerce” within the meaning of GA. CODE

ANN. § 10-1-393(b).

      712. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      713. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Georgia Plaintiffs and the Georgia

Subclass members, about the true performance of the Coastdown Cheating Vehicles,



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the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      714. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Georgia Plaintiffs

and the Georgia Subclass.

      715. Ford knew or should have known that its conduct violated the Georgia

FBPA.

      716. Ford owed Georgia Plaintiffs and the Georgia Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;
            b.     Intentionally concealed the foregoing from Georgia
                   Plaintiffs and the Georgia Subclass; and/or
            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Georgia Plaintiffs and the Georgia
                   Subclass that contradicted these representations.




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      717. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Georgia Plaintiffs and the

Georgia Subclass.

      718. Georgia Plaintiffs and the Georgia Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Georgia Plaintiffs and the Georgia Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Georgia FBPA.

      719. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Georgia FBPA. As a direct and proximate result

of Ford’s violations of the Georgia FBPA, Georgia Plaintiffs and the Georgia

Subclass have suffered injury-in-fact and/or actual damage.

      720. Ford’s violations present a continuing risk to Georgia Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      721. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma



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attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      722. Georgia Plaintiffs and Georgia Class members are entitled to seek

damages and exemplary damages (for intentional violations) per GA. CODE ANN.

§ 10-1-399(a).

      723. Georgia Plaintiffs and Georgia Class members will also seek an order

enjoining Ford’s unfair, unlawful, and/or deceptive practices, attorneys’ fees, and

any other just and proper relief available under the Georgia FBPA per GA. CODE

ANN. § 10-1-399.

      724. On June 20, 2019, certain Georgia Plaintiffs sent a letter complying

with GA. CODE ANN. § 10-1-399(b) to Ford. Because Ford failed to remedy its

unlawful conduct within the requisite time period, Georgia Plaintiffs seek all

damages and relief to which Georgia Plaintiffs and the Georgia Subclass are entitled.

                                    COUNT 16

    VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE
                       PRACTICES ACT
                (GA. CODE ANN § 10-1-370 et seq.)

      725. Georgia Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      726. This claim is brought by Georgia Plaintiffs on behalf of the Georgia

Subclass.



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      727. Georgia’s Uniform Deceptive Trade Practices Act (“Georgia UDTPA”)

prohibits “deceptive trade practices,” which include “representing that goods or

services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

quantities that they do not have”; “[r]epresenting that goods or services are of a

particular standard, quality, or grade . . . if they are of another”; and “[a]dvertising

goods or services with intent not to sell them as advertised and certified.” GA. CODE

ANN. § 10-1-393(b).

      728. Ford, Georgia Plaintiffs, and Georgia Subclass members are “persons”

within the meaning of GA. CODE ANN. § 10-1-371(5).

      729. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      730. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Georgia Plaintiffs and the Georgia



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Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      731. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Georgia Plaintiffs

and the Georgia Subclass.

      732. Ford knew or should have known that its conduct violated the Georgia

UDTPA.

      733. Ford owed Georgia Plaintiffs and the Georgia Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;
            b.     Intentionally concealed the foregoing from Georgia
                   Plaintiffs and the Georgia Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Georgia Plaintiffs and the Georgia
                   Subclass that contradicted these representations.




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      734. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Georgia Plaintiffs and the

Georgia Subclass.

      735. Georgia Plaintiffs and the Georgia Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Georgia Plaintiffs and the Georgia Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Georgia UDTPA.

      736. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Georgia UDTPA. As a direct and proximate result

of Ford’s violations of the Georgia UDTPA, Georgia Plaintiffs and the Georgia

Subclass have suffered injury-in-fact and/or actual damage.

      737. Ford’s violations present a continuing risk to Georgia Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      738. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma



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attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      739. Georgia Plaintiffs seek an order enjoining Ford’s unfair, unlawful,

and/or deceptive practices, attorneys’ fees, and any other just and proper relief

available under GA. CODE ANN. § 10-1-373.

                                    COUNT 17

                            BREACH OF CONTRACT
                          (BASED ON GEORGIA LAW)
      740. Georgia Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      741. This claim is brought by the Georgia Plaintiffs on behalf of the Georgia

Subclass.

      742. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Georgia Plaintiffs and the Georgia Subclass to make their purchases

or leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and

omissions, Georgia Plaintiffs and the Georgia Subclass would not have purchased

or leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage


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or fuel efficiency cheat device. Accordingly, Georgia Plaintiffs and the Georgia

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      743. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Georgia Plaintiffs and the Georgia Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      744. As a direct and proximate result of Ford’s breach of contract, Georgia

Plaintiffs and the Georgia Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 18

                          FRAUDULENT CONCEALMENT
                           (BASED ON GEORGIA LAW)

      745. Georgia Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.




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      746. This claim is brought by the Georgia Plaintiffs on behalf of the Georgia

Subclass.

      747. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Georgia Plaintiffs and the Georgia

Subclass information that is highly relevant to their purchasing decision.

      748. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      749. Ford further affirmatively misrepresented to Georgia Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      750. Ford knew these representations were false when made.




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      751. The Coastdown Cheating Vehicles purchased or leased by Georgia

Plaintiffs and the Georgia Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      752. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Georgia Plaintiffs and the

Georgia Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      753. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      754. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Georgia Plaintiffs and the Georgia Subclass did not know of these facts and




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Ford actively concealed these facts from Georgia Plaintiffs and the Georgia

Subclass.

      755. Georgia Plaintiffs and the Georgia Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Georgia Plaintiffs and the Georgia Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Georgia Plaintiffs and the Georgia Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      756. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Georgia Plaintiffs and the Georgia Subclass

members placed in its representations.

      757. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Georgia Plaintiffs and the Georgia Subclass,

highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.



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      758. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Georgia Plaintiffs and the Georgia Subclass. Ford also had a duty to

disclose because it made general affirmative representations about the qualities of

its vehicles with respect to fuel efficiency, which were misleading, deceptive, and

incomplete without the disclosure of the additional facts set forth above regarding

the actual mileage of its vehicles. Having volunteered to provide information to

Georgia Plaintiffs and the Georgia Subclass, Ford had the duty to disclose not just

the partial truth, but the entire truth. These omitted and concealed facts were material

because they directly impact the value of the Coastdown Cheating Vehicles

purchased or leased by Georgia Plaintiffs and the Georgia Subclass. Whether an

automobile is fuel efficient and whether it accurately measures its own gasoline

consumption are material concerns to a consumer. Ford represented to Georgia

Plaintiffs and the Georgia Subclass that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.



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      759. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Georgia Plaintiffs

and the Georgia Subclass.

      760. Ford has still not made full and adequate disclosures and continues to

defraud Georgia Plaintiffs and the Georgia Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      761. Georgia Plaintiffs and the Georgia Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Georgia Plaintiffs’ and the Georgia Subclass’s actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Georgia Plaintiffs, or the Georgia Subclass.

      762. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Georgia Plaintiffs and the Georgia Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.



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      763. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Plaintiff’s and

Georgia Class members’ rights and the representations that Ford made to them were

made in order to enrich Ford. Ford’s conduct warrants an assessment of punitive

damages in an amount sufficient to deter such conduct in the future, which amount

is to be determined according to proof.

      Claims Brought on Behalf of the Idaho Subclass

                                    COUNT 19

       VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                 (IDAHO CODE ANN. § 48-601 et seq.)

      764. Plaintiff Dustin Walden (“Idaho Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      765. This claim is brought by Idaho Plaintiff on behalf of the Idaho Subclass.

      766. The Idaho Consumer Protection Act (“Idaho CPA”) prohibits deceptive

business practices, including but not limited to (1) representing that the Coastdown

Cheating Vehicles have characteristics, uses, and benefits which they do not have;

(2) representing that the Coastdown Cheating Vehicles are of a particular standard,

quality, and grade when they are not; (3) advertising the Coastdown Cheating

Vehicles with the intent not to sell them as advertised and certified; (4) engaging in

acts or practices which are otherwise misleading, false, or deceptive to the consumer;




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and (5) engaging in any unconscionable method, act or practice in the conduct of

trade or commerce. See IDAHO CODE ANN. § 48-603.

      767. Idaho Plaintiff, the Idaho Subclass, and Ford are each “persons” under

IDAHO CODE ANN. § 48-602(1).

      768. Ford’s acts or practices as set forth above occurred in the conduct of

“trade” or “commerce” under IDAHO CODE ANN. § 48-602(2).

      769. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      770. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Idaho Plaintiff and the Idaho Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,




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the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

       771. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Idaho Plaintiff

and the Idaho Subclass.

       772. Ford knew or should have known that its conduct violated the Idaho

CPA.

       773. Ford owed Idaho Plaintiff and the Idaho Subclass a duty to disclose the

performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

             b.    Intentionally concealed the foregoing from Idaho
                   Plaintiff and the Idaho Subclass; and/or
             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Idaho Plaintiff and the Idaho Subclass
                   that contradicted these representations.

       774. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Idaho Plaintiff and the Idaho

Subclass.


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      775. Idaho Plaintiff and the Idaho Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Idaho Plaintiff and the Idaho Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Idaho CPA.

      776. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Idaho CPA. As a direct and proximate result of

Ford’s violations of the Idaho CPA, Idaho Plaintiff and the Idaho Subclass have

suffered injury-in-fact and/or actual damage.

      777. Ford’s violations present a continuing risk to Idaho Plaintiff as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      778. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.




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       779. Pursuant to IDAHO CODE ANN. § 48-608, Idaho Plaintiff seeks monetary

relief against Ford measured as the greater of (a) actual damages in an amount to be

determined at trial and (b) statutory damages in the amount of $1,000 for each

plaintiff.

       780. Idaho Plaintiff also seeks an order enjoining Ford’s unfair, unlawful,

and/or deceptive practices, attorneys’ fees, and any other just and proper relief

available under the Idaho CPA.

       781. Idaho Plaintiff also seeks punitive damages against Ford because its

conduct evidences an extreme deviation from reasonable standards. Ford’s unlawful

conduct constitutes malice, oppression, and fraud warranting punitive damages.

                                    COUNT 20

                             BREACH OF CONTRACT
                             (BASED ON IDAHO LAW)
       782. Idaho Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

       783. This claim is brought by Idaho Plaintiff on behalf of the Idaho Subclass.

       784. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Idaho Plaintiff and the Idaho Subclass to make their purchases or

leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and


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omissions, Idaho Plaintiff and the Idaho Subclass would not have purchased or

leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage

or fuel efficiency cheat device. Accordingly, Idaho Plaintiff and the Idaho Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        785. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Idaho Plaintiff and the Idaho Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        786. As a direct and proximate result of Ford’s breach of contract, Idaho

Plaintiff and the Idaho Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.




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                                     COUNT 21

                         FRAUDULENT CONCEALMENT
                           (BASED ON IDAHO LAW)

      787. Idaho Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      788. This claim is brought by Idaho Plaintiff on behalf of the Idaho Subclass.

      789. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Idaho Plaintiff and the Idaho Subclass information that is

highly relevant to their purchasing decision.

      790. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      791. Ford further affirmatively misrepresented to Idaho Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling




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had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      792. Ford knew these representations were false when made.

      793. The Coastdown Cheating Vehicles purchased or leased by Idaho

Plaintiff and the Idaho Subclass were, in fact, defective, with reduced fuel efficiency

and a fuel efficiency cheat device.

      794. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Idaho Plaintiff and the Idaho

Subclass relied on Ford’s material representations or omissions of fact that the

Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      795. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.




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      796. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Idaho Plaintiff and the Idaho Subclass did not know of these facts and Ford

actively concealed these facts from Idaho Plaintiff and the Idaho Subclass.

      797. Idaho Plaintiff and the Idaho Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Idaho Plaintiff and the Idaho Subclass did not,

and could not, unravel Ford’s deception on their own. Rather, Ford intended to

deceive Idaho Plaintiff and the Idaho Subclass by concealing the true facts about the

Coastdown Cheating Vehicles’ lack of fuel efficiency.

      798. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Idaho Plaintiff and the Idaho Subclass placed in

its representations.

      799. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Idaho Plaintiff and the Idaho Subclass members,



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highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.

      800. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Idaho Plaintiff and the Idaho Subclass members. Ford also had a

duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Idaho Plaintiff and the Idaho Subclass members, Ford had the duty to

disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown

Cheating Vehicles purchased or leased by Idaho Plaintiff and the Idaho Subclass

members. Whether an automobile is fuel efficient and whether it accurately

measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Idaho Plaintiff and the Idaho Subclass members that they were



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purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      801. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Idaho Plaintiff

and the Idaho Subclass.

      802. Ford has still not made full and adequate disclosures and continues to

defraud Idaho Plaintiff and the Idaho Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      803. Idaho Plaintiff and the Idaho Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Idaho Plaintiff’s and the Idaho Subclass members’ actions were justified. Ford was

in exclusive control of the material facts, and such facts were not generally known

to the public, Idaho Plaintiff, or, Idaho Subclass members.




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      804. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Idaho Plaintiff and the Idaho Subclass have

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Idaho Plaintiff and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      805. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Idaho Plaintiff and the Idaho Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      806. Ford’s      acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Idaho Plaintiff’s and

the Idaho Subclass’s rights and the representations that Ford made to them in order

to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an

amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




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      Claims Brought on Behalf of the Illinois Subclass

                                    COUNT 22

             VIOLATION OF THE ILLINOIS CONSUMER FRAUD
               AND DECEPTIVE BUSINESS PRACTICES ACT
               (815 ILCS 505/1, ET SEQ. AND 720 ILCS 295/1A)

      807. Plaintiffs Cassandra Morrison and Ryan Hubert (“Illinois Plaintiffs”)

incorporate by reference all paragraphs as though fully set forth herein.

      808. Illinois Plaintiffs bring this claim on behalf of the Illinois Subclass.

      809. Ford is a “person” as that term is defined in 815 ILCS 505/1(c).

      810. Illinois Plaintiffs and the Illinois Subclass members are “consumers” as

that term is defined in 815 ILCS 505/1(e).

      811. The Illinois Consumer Fraud and Deceptive Business Practices Act

(“Illinois CFA”) prohibits “unfair or deceptive acts or practices, including but not

limited to the use or employment of any deception, fraud, false pretense, false

promise, misrepresentation or the concealment, suppression or omission of any

material fact, with intent that others rely upon the concealment, suppression or

omission of such material fact … in the conduct of trade or commerce … whether

any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

      812. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable



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consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

       813. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Illinois Plaintiffs and the Illinois Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

       814. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Illinois Plaintiffs

and the Illinois Subclass.

       815. Ford knew or should have known that its conduct violated the Illinois

CFA.

       816. Ford owed Illinois Plaintiffs and the Illinois Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:



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             a.      Possessed exclusive knowledge that it manipulated
                     the testing, certification, and onboard vehicle
                     reporting of fuel efficiency;

             b.      Intentionally concealed the foregoing from Illinois
                     Plaintiffs and the Illinois Subclass; and/or
             c.      Made incomplete representations that it
                     manipulated the certification testing and failed to
                     disclose the true fuel economy or presence of a fuel
                     efficiency cheat device in the Coastdown Cheating
                     Vehicles, while purposefully withholding material
                     facts from Illinois Plaintiffs and the Illinois
                     Subclass that contradicted these representations.
      817. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Illinois Plaintiffs and the

Illinois Subclass.

      818. Illinois Plaintiffs and the Illinois Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Illinois Plaintiffs and the Illinois Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Illinois CFA.

      819. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Illinois CFA. As a direct and proximate result of

Ford’s violations of the Illinois CFA, Illinois Plaintiffs and the Illinois Subclass have

suffered injury-in-fact and/or actual damage.


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      820. Ford’s violations present a continuing risk to Illinois Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      821. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      822. Pursuant to 815 ILCS 505/10a(a), Illinois Plaintiffs and the Illinois

Subclass seek monetary relief against Ford in the amount of actual damages, as well

as punitive damages because Ford acted with fraud and/or malice and/or was grossly

negligent.

      823. Illinois Plaintiffs also seeks punitive damages, attorneys’ fees, and any

other just and proper relief available under 815 ILCS § 505/1, et seq.

      824. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Illinois in

accordance with 815 ILCS 505/10a(d).




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                                     COUNT 23

                             BREACH OF CONTRACT
                            (BASED ON ILLINOIS LAW)

      825. Illinois Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      826. This claim is brought by the Illinois Plaintiffs on behalf of Illinois

Subclass.

      827. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Illinois Plaintiffs and the Illinois Subclass to make their purchases

or leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and

omissions, Illinois Plaintiffs and the Illinois Subclass would not have purchased or

leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage

or fuel efficiency cheat device. Accordingly, Illinois Plaintiffs and the Illinois

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      828. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to Illinois Plaintiffs and the Illinois Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        829. As a direct and proximate result of Ford’s breach of contract, Illinois

Plaintiffs and the Illinois Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                      COUNT 24

                          FRAUDULENT CONCEALMENT
                            (BASED ON ILLINOIS LAW)
        830. Illinois Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

        831. This claim is brought by Illinois Plaintiffs on behalf of Illinois Subclass.

        832. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted




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with reckless disregard for the truth and denied Illinois Plaintiffs and the Illinois

Subclass information that is highly relevant to their purchasing decision.

      833. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      834. Ford further affirmatively misrepresented to Illinois Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      835. Ford knew these representations were false when made.

      836. The Coastdown Cheating Vehicles purchased or leased by Illinois

Plaintiffs and the Illinois Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      837. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Illinois Plaintiffs and the



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Illinois Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      838. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      839. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Illinois Plaintiffs and the Illinois Subclass did not know of these facts and Ford

actively concealed these facts from Illinois Plaintiffs and the Illinois Subclass.

      840. Illinois Plaintiffs and the Illinois Subclass members reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Illinois Plaintiffs and the Illinois

Subclass members did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Illinois Plaintiffs and the Illinois Subclass members

by concealing the true facts about the Coastdown Cheating Vehicles’ lack of fuel

efficiency.



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      841. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Illinois Plaintiffs and the Illinois Subclass

members placed in its representations.

      842. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Illinois Plaintiffs and the Illinois Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      843. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Illinois Plaintiffs and the Illinois Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the



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qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Illinois Plaintiffs and the Illinois Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Illinois Plaintiffs and the

Illinois Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Illinois Plaintiffs and the Illinois Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      844. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Illinois Plaintiffs

and the Illinois Subclass members.




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      845. Ford has still not made full and adequate disclosures and continues to

defraud Illinois Plaintiffs and the Illinois Subclass members by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      846. Illinois Plaintiffs and the Illinois Subclass members were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Illinois Plaintiffs’ and the Illinois Subclass members’ actions were justified.

Ford was in exclusive control of the material facts, and such facts were not generally

known to the public, Illinois Plaintiffs, or Illinois Subclass members.

      847. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Illinois Plaintiffs and the Illinois Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      848. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Illinois Plaintiffs’

and the Illinois Subclass’s rights and the representations that Ford made to them

were made in order to enrich Ford. Ford’s conduct warrants an assessment of




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punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

      Claims Brought on Behalf of the Louisiana Subclass
                                    COUNT 25

      VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES
               AND CONSUMER PROTECTION LAW
                   (LA. REV. STAT. § 51:1401 et seq.)

      849. Plaintiffs Evan Allen and Benjamin Bischoff (“Louisiana Plaintiffs”)

reallege and incorporate by reference all paragraphs as though fully set forth herein.

      850. This claim is brought by Louisiana Plaintiffs on behalf of Louisiana

purchasers or lessees who are members of the Class.

      851. Ford, Louisiana Plaintiffs, and the Louisiana Subclass are “persons”

within the meaning of LA. REV. STAT. § 51:1402(8).

      852. Louisiana Plaintiffs and the Louisiana Subclass are “consumers” within

the meaning of LA. REV. STAT. § 51:1402(1).

      853. Ford engaged in “trade” or “commerce” within the meaning of LA. REV.

STAT. § 51:1402(9).

      854. The Louisiana Unfair Trade Practices and Consumer Protection Law

(Louisiana CPL) makes unlawful “deceptive acts or practices in the conduct of any

trade or commerce.” LA. REV. STAT. § 51:1405(A). Ford participated in misleading,

false, or deceptive acts that violated the Louisiana CPL including failing to disclose



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the presence of a cheat device or the actual fuel economy of the Coastdown Cheating

Vehicles.

       855. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression

or omission of any material fact with intent that others rely upon such concealment,

suppression or omission, in connection with the sale of Coastdown Cheating

Vehicles.

       856. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers.

       857. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Louisiana

Plaintiffs and the Louisiana Subclass.

       858. Ford knew or should have known that its conduct violated the Louisiana

CPL.

       859. Ford owed Louisiana Plaintiffs and the Louisiana Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and onboard vehicle
                    reporting of fuel efficiency;




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             b.    Intentionally concealed the foregoing from
                   Louisiana Plaintiffs and the Louisiana Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Louisiana Plaintiffs and the Louisiana
                   Subclass that contradicted these representations.

      860. Louisiana Plaintiffs and the Louisiana Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information.

      861. As a direct and proximate result of Ford’s violations of the Louisiana

CPL, Louisiana Plaintiffs and the Louisiana Subclass have suffered injury-in-fact

and/or actual damage.

      862. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by FCA’s conduct, they are now worth significantly less

than they otherwise would be.

      863. Pursuant to LA. REV. STAT. § 51:1409, Louisiana Plaintiffs and the

Louisiana Subclass seek to recover actual damages in an amount to be determined



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at trial; treble damages for Ford’s knowing violations of the Louisiana CPL; an order

enjoining Ford’s unfair, unlawful, and/or deceptive practices; declaratory relief;

attorneys’ fees; and any other just and proper relief available under LA. REV. STAT.

§ 51:1409.

      864. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Louisiana in

accordance with LA. REV. STAT. § 51:1409.

                                    COUNT 26

                            BREACH OF CONTRACT
                          (BASED ON LOUISIANA LAW)
      865. Louisiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      866. This claim is brought by the Louisiana Plaintiffs on behalf of the

Louisiana Subclass.

      867. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Louisiana Plaintiffs and the Louisiana Subclass members to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Louisiana Plaintiffs and the Louisiana Subclass


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members would not have purchased or leased the Coastdown Cheating Vehicles,

would not have purchased or leased the Coastdown Cheating Vehicles at the prices

they paid, and/or would have purchased or leased less expensive alternative vehicles

that did not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Louisiana Plaintiffs and the Louisiana Subclass members overpaid for the

Coastdown Cheating Vehicles and did not receive the benefit of their bargain.

      868. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Louisiana Plaintiffs and the Louisiana Subclass

members defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      869. As a direct and proximate result of Ford’s breach of contract, Louisiana

Plaintiffs and the Louisiana Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.




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                                   COUNT 27

                          FRAUDULENT CONCEALMENT
                           (BASED ON LOUISIANA LAW)

      870. Louisiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      871. This claim is brought by Louisiana Plaintiffs on behalf of the Louisiana

Subclass.

      872. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Louisiana Plaintiffs and the

Louisiana Subclass members information that is highly relevant to their purchasing

decision.

      873. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      874. Ford further affirmatively misrepresented to Louisiana Plaintiffs in

advertising and other forms of communication, including standard and uniform


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material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      875. Ford knew these representations were false when made.

      876. The Coastdown Cheating Vehicles purchased or leased by Louisiana

Plaintiffs and the Louisiana Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      877. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Louisiana Plaintiffs and the

Louisiana Subclass members relied on Ford’s material representations or omissions

of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      878. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.



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      879. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Louisiana Plaintiffs and the Louisiana Subclass members did not know of

these facts and Ford actively concealed these facts from Louisiana Plaintiffs and the

Louisiana Subclass members.

      880. Louisiana Plaintiffs and the Louisiana Subclass members reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, Louisiana Plaintiffs

and the Louisiana Subclass did not, and could not, unravel Ford’s deception on their

own. Rather, Ford intended to deceive Louisiana Plaintiffs and the Louisiana

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      881. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Louisiana Plaintiffs and the Louisiana Subclass

members placed in its representations.

      882. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because



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the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Louisiana Plaintiffs and the Louisiana Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      883. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Louisiana Plaintiffs or the Louisiana Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Louisiana Plaintiffs and the Louisiana Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Louisiana Plaintiffs and the

Louisiana Subclass members. Whether an automobile is fuel efficient and whether



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it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Louisiana Plaintiffs and the Louisiana Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      884. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Louisiana

Plaintiffs and the Louisiana Subclass members.

      885. Ford has still not made full and adequate disclosures and continues to

defraud Louisiana Plaintiffs and the Louisiana Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      886. Louisiana Plaintiffs and the Louisiana Subclass members were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. Louisiana Plaintiffs’ and the Louisiana Subclass members’ actions were



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justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Louisiana Plaintiffs, or the Louisiana Subclass

members.

      887. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Louisiana Plaintiffs and the Louisiana Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      888. Ford’s      acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Louisiana Plaintiffs’

and the Louisiana Subclass members’ rights and the representations that Ford made

to them were made in order to enrich Ford. Ford’s conduct warrants an assessment

of punitive damages in an amount sufficient to deter such conduct in the future,

which amount is to be determined according to proof.

      Claims Brought on Behalf of the Maryland Subclass
                                     COUNT 28

    VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT
            (MD. CODE ANN., COM. LAW § 13-101 et seq.)

      889. Plaintiff Randy Transue (“Maryland Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      890. This claim is brought by Maryland Plaintiff on behalf of the Maryland

Subclass.


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      891. The Maryland Consumer Protection Act (“Maryland CPA”) provides

that a person may not engage in any unfair or deceptive trade practice in the sale or

lease of any consumer good, including “failure to state a material fact if the failure

deceives or tends to deceive” and “[d]eception, fraud, false pretense, false premise,

misrepresentation, or knowing concealment, suppression, or omission of any

material fact with the intent that a consumer rely on the same,” MD. CODE ANN.,

COM. LAW § 13-301, regardless of whether the consumer is actually deceived or

damaged, MD. CODE ANN., COM. LAW § 13-302.

      892. Ford, Maryland Plaintiff, and the Maryland Subclass members are

“persons” within the meaning of MD. CODE ANN., COM. LAW § 13-101(h).

      893. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.




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       894. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Maryland Plaintiff and the Maryland

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       895. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Maryland

Plaintiff and the Maryland Subclass.

       896. Ford knew or should have known that its conduct violated the Maryland

CPA.

       897. Ford owed Maryland Plaintiff and the Maryland Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and onboard vehicle
                    reporting of fuel efficiency;

             b.     Intentionally concealed the foregoing from
                    Maryland Plaintiff and the Maryland Subclass;
                    and/or

             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy or presence of a fuel
                    efficiency cheat device in the Coastdown Cheating


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                    Vehicles, while purposefully withholding material
                    facts from Maryland Plaintiff and the Maryland
                    Subclass that contradicted these representations.

      898. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Maryland Plaintiff and the

Maryland Subclass.

      899. Maryland Plaintiff and the Maryland Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Maryland Plaintiff and the Maryland Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Maryland CPA.

      900. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Maryland CPA. As a direct and proximate result

of Ford’s violations of the Maryland CPA, Maryland Plaintiff and the Maryland

Subclass have suffered injury-in-fact and/or actual damage.

      901. Ford’s violations present a continuing risk to Maryland Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      902. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in



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a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      903. Pursuant to MD. CODE ANN., COM. LAW § 13-408, Maryland Plaintiff

seeks actual damages, attorneys’ fees, and any other just and proper relief available

under the Maryland CPA.

                                    COUNT 29

                            BREACH OF CONTRACT
                          (BASED ON MARYLAND LAW)

      904. Maryland Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      905. This claim is brought by Maryland Plaintiff on behalf of the Maryland

Subclass.

      906. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Maryland Plaintiff and the Maryland Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Maryland Plaintiff and the Maryland Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not


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have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Maryland Plaintiff and the Maryland Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      907. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Maryland Plaintiff and the Maryland Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      908. As a direct and proximate result of Ford’s breach of contract, Maryland

Plaintiff and the Maryland Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.




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                                     COUNT 30

                          FRAUDULENT CONCEALMENT
                          (BASED ON MARYLAND LAW)

      909. Maryland Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      910. This claim is brought by Maryland Plaintiff on behalf of the Maryland

Subclass.

      911. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Maryland Plaintiff and the Maryland Subclass information

that is highly relevant to their purchasing decision.

      912. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      913. Ford further affirmatively misrepresented to Maryland Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling


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had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      914. Ford knew these representations were false when made.

      915. The Coastdown Cheating Vehicles purchased or leased by Maryland

Plaintiff and the Maryland Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      916. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Maryland Plaintiff and the

Maryland Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      917. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.




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      918. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Maryland Plaintiffs and the Maryland Subclass did not know of these facts and

Ford actively concealed these facts from Maryland Plaintiff and the Maryland

Subclass.

      919. Maryland Plaintiff and the Maryland Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Maryland Plaintiff and the Maryland

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Maryland Plaintiff and the Maryland Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      920. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Maryland Plaintiff and the Maryland Subclass

placed in its representations.

      921. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford



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well knew, its customers, including Maryland Plaintiff and the Maryland Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      922. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Maryland Plaintiff and the Maryland Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Maryland Plaintiff and the Maryland Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Maryland Plaintiff and the

Maryland Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a



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consumer. Ford represented to Maryland Plaintiff and the Maryland Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      923. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Maryland

Plaintiff and the Maryland Subclass.

      924. Ford has still not made full and adequate disclosures and continues to

defraud Maryland Plaintiff and the Maryland Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      925. Maryland Plaintiff and the Maryland Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Maryland Plaintiff’s and the Maryland Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Maryland Plaintiff, or, Maryland Subclass members.



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      926. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device Maryland Plaintiff and the Maryland Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Maryland Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      927. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Maryland Plaintiff and the Maryland Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      928. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Maryland Plaintiff’s

and the Maryland Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




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      Claims Brought on Behalf of the Michigan Subclass

                                      COUNT 31

     VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                (MICH. COMP. LAWS § 445.903 et seq.)
      929. Plaintiffs Mark Hill, Brian Leja, Nicholas Leonardi, and Jeffrey

Kaloustian (“Michigan Plaintiffs”) hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      930. This claim is brought by Michigan Plaintiffs on behalf of the Michigan

Subclass.

      931. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

“[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of

trade or commerce,” including “[f]ailing to reveal a material fact, the omission of

which tends to mislead or deceive the consumer, and which fact could not reasonably

be known by the consumer”; “[m]aking a representation of fact or statement of fact

material to the transaction such that a person reasonably believes the represented or

suggested state of affairs to be other than it actually is”; or “[f]ailing to reveal facts

that are material to the transaction in light of representations of fact made in a

positive manner.” MICH. COMP. LAWS § 445.903(1).

      932. Michigan Plaintiffs and the Michigan Subclass members are

“person[s]” within the meaning of the MICH. COMP. LAWS § 445.902(1)(d).




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      933. Ford is a “person” engaged in “trade or commerce” within the meaning

of the MICH. COMP. LAWS § 445.902(1)(d) and (g).

      934. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      935. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Michigan Plaintiffs and the Michigan

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      936. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Michigan

Plaintiffs and the Michigan Subclass.



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       937. Ford knew or should have known that its conduct violated the Michigan

CPA.

       938. Ford owed Michigan Plaintiffs and the Michigan Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

             b.    Intentionally concealed the foregoing from
                   Michigan Plaintiffs and the Michigan Subclass;
                   and/or
             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Michigan Plaintiffs and the Michigan
                   Subclass that contradicted these representations.

       939. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Michigan Plaintiffs and the

Michigan Subclass.

       940. Michigan Plaintiffs and the Michigan Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Michigan Plaintiffs and the Michigan Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid




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less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Michigan CPA.

      941. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Michigan CPA. As a direct and proximate result

of Ford’s violations of the Michigan CPA, Michigan Plaintiffs and the Michigan

Subclass have suffered injury-in-fact and/or actual damage.

      942. Ford’s violations present a continuing risk to Michigan Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      943. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      944. Michigan Plaintiffs seek injunctive relief to enjoin Ford from

continuing their unfair and deceptive acts; monetary relief against Ford measured as

the greater of (a) actual damages in an amount to be determined at trial and

(b) statutory damages in the amount of $250 for each plaintiff; reasonable attorneys’




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fees; and any other just and proper relief available under MICH. COMP. LAWS

§ 445.911.

      945. Michigan Plaintiffs also seek punitive damages because Ford carried

out despicable conduct with willful and conscious disregard of the rights of others.

Ford’s conduct constitutes malice, oppression, and fraud warranting punitive

damages.

                                   COUNT 32

                            BREACH OF CONTRACT
                          (BASED ON MICHIGAN LAW)
      946. Michigan Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      947. This claim is brought by Michigan Plaintiffs on behalf of the Michigan

Subclass.

      948. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Michigan Plaintiffs and the Michigan Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Michigan Plaintiffs and the Michigan Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,


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and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Michigan Plaintiffs and the Michigan Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      949. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Michigan Plaintiffs and the Michigan Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      950. As a direct and proximate result of Ford’s breach of contract, Michigan

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                    COUNT 33

                          FRAUDULENT CONCEALMENT
                           (BASED ON MICHIGAN LAW)

      951. Michigan Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.


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      952. This claim is brought by Michigan Plaintiffs on behalf of the Michigan

Subclass.

      953. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Michigan Plaintiffs and the Michigan Subclass information

that is highly relevant to their purchasing decision.

      954. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      955. Ford further affirmatively misrepresented to Michigan Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      956. Ford knew these representations were false when made.




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      957. The Coastdown Cheating Vehicles purchased or leased by Michigan

Plaintiffs and the Michigan Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      958. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Michigan Plaintiffs and the

Michigan Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      959. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      960. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Michigan Plaintiffs and the Michigan Subclass did not know of these facts and




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Ford actively concealed these facts from Michigan Plaintiffs and the Michigan

Subclass.

      961. Michigan Plaintiffs and the Michigan Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Michigan Plaintiffs and the Michigan

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Michigan Plaintiffs and the Michigan Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      962. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Michigan Plaintiffs and the Michigan Subclass

placed in its representations.

      963. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Michigan Plaintiffs and the Michigan Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.



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      964. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Michigan Plaintiffs and the Michigan Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Michigan Plaintiffs and the Michigan Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Michigan Plaintiffs and the

Michigan Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Michigan Plaintiffs and the Michigan Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact




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the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      965. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Michigan

Plaintiffs and the Michigan Subclass.

      966. Ford has still not made full and adequate disclosures and continues to

defraud Michigan Plaintiffs and the Michigan Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      967. Michigan Plaintiffs and the Michigan Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Michigan Plaintiffs’ and the Michigan Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Michigan Plaintiffs, or Michigan Subclass members.

      968. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Michigan Plaintiffs and the Michigan Subclass



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have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Michigan Plaintiffs and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      969. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Michigan Plaintiffs and the Michigan Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      970. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Michigan Plaintiffs’

and the Michigan Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




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      Claims Brought on Behalf of the Minnesota Subclass

                                    COUNT 34

                    VIOLATION OF THE MINNESOTA
                 PREVENTION OF CONSUMER FRAUD ACT
                      (MINN. STAT. § 325F.68 et seq.)

      971. Plaintiff Mark Arendt (“Minnesota Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      972. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

      973. The Coastdown Cheating Vehicles constitute “merchandise” within the

meaning of MINN. STAT. § 325F.68(2).

      974. The Minnesota Prevention of Consumer Fraud Act (Minnesota CFA)

prohibits “[t]he act, use, or employment by any person of any fraud, false pretense,

false promise, misrepresentation, misleading statement or deceptive practice, with

the intent that others rely thereon in connection with the sale of any merchandise,

whether or not any person has in fact been misled, deceived, or damaged thereby.”

MINN. STAT. § 325F.69(1).

      975. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce.

      976. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a



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mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      977. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Minnesota Plaintiff and the Minnesota

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      978. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Minnesota

Plaintiff and the Minnesota Subclass.

      979. Ford knew or should have known that its conduct violated the

Minnesota CFA.




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      980. Ford owed Minnesota Plaintiff and the Minnesota Subclass members a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

            b.     Intentionally concealed the foregoing from
                   Minnesota Plaintiff and the Minnesota Subclass;
                   and/or
            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Minnesota Plaintiff and the Minnesota
                   Subclass that contradicted these representations.

      981. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Minnesota Plaintiff and the

Minnesota Subclass.

      982. Minnesota Plaintiff and the Minnesota Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Minnesota Plaintiff and the Minnesota Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Minnesota CFA.




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      983. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Minnesota CFA. As a direct and proximate result

of Ford’s violations of the Minnesota CFA, Minnesota Plaintiff and the Minnesota

Subclass have suffered injury-in-fact and/or actual damage.

      984. Ford’s violations present a continuing risk to Minnesota Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      985. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      986. Pursuant to MINN. STAT. § 8.31(3a), Minnesota Plaintiff seeks actual

damages, attorneys’ fees, and any other just and proper relief available under the

Minnesota CFA.

      987. Minnesota Plaintiff also seeks punitive damages under MINN. STAT.

§ 549.20(1)(a) given the clear and convincing evidence that Ford’s acts show

deliberate disregard for the rights of others.




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                                     COUNT 35

                       VIOLATION OF THE MINNESOTA
                     DECEPTIVE TRADE PRACTICES ACT
                      (MINN. STAT. § 325D.43-48 ET SEQ.)
      988. Minnesota Plaintiff hereby incorporates by reference the allegations

contained in the preceding paragraphs of this complaint.

      989. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

      990. The Minnesota Deceptive Trade Practices Act (Minnesota DTPA)

prohibits deceptive trade practices, which include “[t]he act, use, or employment by

any person of any fraud, false pretense, false promise, misrepresentation, misleading

statement or deceptive practice, with the intent that others rely thereon in connection

with the sale of any merchandise, whether or not any person has in fact been misled,

deceived, or damaged thereby.” MINN. STAT. § 325F.69(1).

      991. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce.

      992. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,



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deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      993. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Minnesota Plaintiff and the Minnesota

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      994. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Minnesota

Plaintiff and the Minnesota Subclass.

      995. Ford knew or should have known that its conduct violated the

Minnesota DTPA.

      996. Ford owed Minnesota Plaintiff and the Minnesota Subclass members a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;



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            b.     Intentionally concealed the foregoing from
                   Minnesota Plaintiff and the Minnesota Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Minnesota Plaintiff and the Minnesota
                   Subclass that contradicted these representations.

      997. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Minnesota Plaintiff and the

Minnesota Subclass.

      998. Minnesota Plaintiff and the Minnesota Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Minnesota Plaintiff and the Minnesota Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Minnesota DTPA.

      999. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Minnesota DTPA. As a direct and proximate result

of Ford’s violations of the Minnesota DTPA, Minnesota Plaintiff and the Minnesota

Subclass have suffered injury-in-fact and/or actual damage.




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      1000. Ford’s violations present a continuing risk to Minnesota Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1001. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1002. Pursuant to MINN. STAT. § 8.31(3a), Minnesota Plaintiff seeks actual

damages, attorneys’ fees, and any other just and proper relief available under the

Minnesota DTPA.

      1003. Minnesota Plaintiff also seeks punitive damages under MINN. STAT.

§ 549.20(1)(a) given the clear and convincing evidence that Ford’s acts show

deliberate disregard for the rights of others.

                                     COUNT 36

                             BREACH OF CONTRACT
                          (BASED ON MINNESOTA LAW)

      1004. Minnesota Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.




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      1005. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

      1006. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Minnesota Plaintiff and the Minnesota Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Minnesota Plaintiff and the Minnesota Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Minnesota Plaintiff and the Minnesota Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1007. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Minnesota Plaintiff and the Minnesota Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer



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would expect given the premium paid for these vehicles and the representation made

by Ford.

      1008. As a direct and proximate result of Ford’s breach of contract, Minnesota

Plaintiff and the Minnesota Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                     COUNT 37

                          FRAUDULENT CONCEALMENT
                          (BASED ON MINNESOTA LAW)
      1009. Minnesota Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1010. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

      1011. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Minnesota Plaintiff and the Minnesota Subclass information

that is highly relevant to their purchasing decision.

      1012. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted


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to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1013. Ford further affirmatively misrepresented to Minnesota Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1014. Ford knew these representations were false when made.

      1015. The Coastdown Cheating Vehicles purchased or leased by Minnesota

Plaintiff and the Minnesota Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1016. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Minnesota Plaintiff and the

Minnesota Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.




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      1017. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1018. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Minnesota Plaintiffs and the Minnesota Subclass did not know of these facts

and Ford actively concealed these facts from Minnesota Plaintiff and the Minnesota

Subclass.

      1019. Minnesota Plaintiff and the Minnesota Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Minnesota Plaintiff and the Minnesota

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Minnesota Plaintiff and the Minnesota Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1020. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions



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regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Minnesota Plaintiff and the Minnesota Subclass

placed in its representations.

      1021. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Minnesota Plaintiff and the Minnesota Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1022. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Minnesota Plaintiff and the Minnesota Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide



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information to Minnesota Plaintiff and the Minnesota Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Minnesota Plaintiff and the

Minnesota Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Minnesota Plaintiff and the Minnesota Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1023. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Minnesota

Plaintiff and the Minnesota Subclass.

      1024. Ford has still not made full and adequate disclosures and continues to

defraud Minnesota Plaintiff and the Minnesota Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1025. Minnesota Plaintiff and the Minnesota Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did



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if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Minnesota Plaintiff’s and the Minnesota Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Minnesota Plaintiff, or, Minnesota Subclass

members.

      1026. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Minnesota Plaintiff and the Minnesota Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Minnesota Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1027. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Minnesota Plaintiff and the Minnesota Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1028. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Minnesota Plaintiff’s



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and the Minnesota Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Missouri Subclass

                                     COUNT 38

                        VIOLATION OF THE MISSOURI
                      MERCHANDISING PRACTICES ACT
                      (MO. REV. STAT. § 407.010, ET SEQ.)
      1029. Plaintiffs Josh Brumbaugh and Darren Honeycutt (“Missouri

Plaintiffs”) incorporate by reference all paragraphs as though fully set forth herein.

      1030. This claim is brought by the Missouri Plaintiffs on behalf of the

Missouri Subclass.

      1031. Ford, Missouri Plaintiffs and the Missouri Subclass are “persons”

within the meaning of MO. REV. STAT. § 407.010(5).

      1032. Ford engaged in “trade” or “commerce” in the State of Missouri within

the meaning of MO. REV. STAT. § 407.010(7).

      1033. The Missouri Merchandising Practices Act (“Missouri MPA”) makes

unlawful the “act, use or employment by any person of any deception, fraud, false

pretense, misrepresentation, unfair practice, or the concealment, suppression, or




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omission of any material fact in connection with the sale or advertisement of any

merchandise.” MO. REV. STAT. § 407.020.

      1034. In the course of Ford’s business, it willfully failed to disclose and

actively concealed the true mileage of the Coastdown Cheating Vehicles, which is

less than a reasonable consumer would expect in light of Ford’s advertising

campaign, and that the Coastdown Cheating Vehicles contained a mileage cheat

device to continually misrepresent the Coastdown Cheating Vehicles’ mileage to the

consumer. Accordingly, Ford used or employed deception, fraud, false pretense,

false promise, misrepresentation, unfair practice or the concealment, suppression, or

omission of any material fact in connection with the sale or advertisement of any

merchandise in trade or commerce, in violation of the Missouri MPA. Ford’s

conduct offends public policy; is unethical, oppressive, or unscrupulous; and

presents a risk of, or causes, substantial injury to consumers.

      1035. In the course of business, Ford willfully failed to disclose and actively

concealed the conduct discussed herein and otherwise engaged in activities with a

tendency or capacity to deceive. Ford also engaged in unlawful trade practices by

employing deception, deceptive acts or practices, fraud, misrepresentations, or

concealment, suppression, the use of a mileage cheat device, and/or omission of any

material fact with intent that others rely upon such concealment, suppression, or

omission, in connection with the sale of Coastdown Cheating Vehicles.



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      1036. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Missouri Plaintiffs and the Missouri

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1037. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Missouri

Plaintiffs and the Missouri Subclass.

      1038. Ford knew or should have known that their conduct violated the

Missouri MPA.

      1039. Ford owed Missouri Plaintiffs and the Missouri Subclass members a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

            b.     Intentionally concealed the foregoing from
                   Missouri Plaintiffs and the Missouri Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating


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                     Vehicles, while purposefully withholding material
                     facts from Missouri Plaintiffs and the Missouri
                     Subclass that contradicted these representations.

         1040. Because Ford fraudulently concealed the lower mileage of the

Coastdown Cheating Vehicles, the value of the Coastdown Cheating Vehicles has

greatly diminished. In light of the stigma attached to the Coastdown Cheating

Vehicles by Ford’s conduct, they are now worth significantly less than they

otherwise would be.

         1041. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Plaintiffs and the Missouri

Class.

         1042. Missouri Plaintiffs and the Missouri Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and their concealment of and failure to

disclose material information. Class members who purchased the Coastdown

Cheating Vehicles either would have paid less for their vehicles or would not have

purchased or leased them at all but for Ford’s violations of the Missouri MPA.

         1043. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Missouri MPA. All owners of Coastdown

Cheating Vehicles suffered ascertainable loss in the form of the diminished value of

their vehicle as a result of Ford’s deceptive and unfair acts and practices made in the

course of Ford’s business.



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      1044. Ford’s violations present a continuing risk to Missouri Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1045. As a direct and proximate result of Ford’s violations of the Missouri

MPA, Missouri Plaintiffs and the Missouri Subclass have suffered injury-in-fact

and/or actual damage.

      1046. Ford is liable to Missouri Plaintiffs and the Missouri Subclass for

damages in amounts to be proven at trial, including attorneys’ fees, costs, and

punitive damages, as well as injunctive relief enjoining FCA’s unfair and deceptive

practices, and any other just and proper relief under Mo. Rev. Stat. § 407.025.

      1047. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Missouri in

accordance with Mo. Ann. Stat. § 407.010, et seq.

                                    COUNT 39

                                BREACH OF CONTRACT
                              (BASED ON MISSOURI LAW)

      1048. Missouri Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      1049. This claim is brought by Missouri Plaintiffs on behalf of the Missouri

Subclass.


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      1050. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Missouri Plaintiffs and the Missouri Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Missouri Plaintiffs and the Missouri Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Missouri Plaintiffs and the Missouri Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      1051. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Missouri Plaintiffs and the Missouri Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.



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      1052. As a direct and proximate result of Ford’s breach of contract, Missouri

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 40

                          FRAUDULENT CONCEALMENT
                           (BASED ON MISSOURI LAW)
      1053. Missouri Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      1054. This claim is brought by Missouri Plaintiffs on behalf of the Missouri

Subclass.

      1055. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Missouri Plaintiffs and the Missouri Subclass information

that is highly relevant to their purchasing decision.

      1056. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to




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provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1057. Ford further affirmatively misrepresented to Missouri Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1058. Ford knew these representations were false when made.

      1059. The Coastdown Cheating Vehicles purchased or leased by Missouri

Plaintiffs and the Missouri Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1060. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Missouri Plaintiffs and the

Missouri Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1061. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details



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about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1062. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Missouri Plaintiffs and the Missouri Subclass did not know of these facts and

Ford actively concealed these facts from Missouri Plaintiffs and the Missouri

Subclass.

      1063. Missouri Plaintiffs and the Missouri Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Missouri Plaintiffs and the Missouri

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Missouri Plaintiffs and the Missouri Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1064. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized




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profits and sales above the trust that Missouri Plaintiffs and the Missouri Subclass

placed in its representations.

      1065. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Missouri Plaintiffs and the Missouri Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1066. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Missouri Plaintiffs and the Missouri Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Missouri Plaintiffs and the Missouri Subclass members, Ford had the



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duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Missouri Plaintiffs and the

Missouri Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Missouri Plaintiffs and the Missouri Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1067. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Missouri

Plaintiffs and the Missouri Subclass.

      1068. Ford has still not made full and adequate disclosures and continues to

defraud Missouri Plaintiffs and the Missouri Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1069. Missouri Plaintiffs and the Missouri Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not



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have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Missouri Plaintiffs’ and the Missouri Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Missouri Plaintiffs, or, Missouri Subclass members.

      1070. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Missouri Plaintiffs and the Missouri Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Missouri Plaintiffs and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1071. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Missouri Plaintiffs and the Missouri Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1072. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Missouri Plaintiffs’

and the Missouri Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages



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in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Montana Subclass
                                    COUNT 41

       VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES
             AND CONSUMER PROTECTION ACT OF 1973
                (MONT. CODE ANN. § 30-14-101 et seq.)

      1073. Plaintiff John Sautter (“Montana Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      1074. This claim is brought by Montana Plaintiff on behalf of the Montana

Subclass.

      1075. The Montana Unfair Trade Practices and Consumer Protection Act

(“Montana CPA”) makes unlawful any “unfair methods of competition and unfair

or deceptive acts or practices in the conduct of any trade or commerce.” MONT. CODE

ANN. § 30-14-103.

      1076. Ford, Montana Plaintiff, and Montana Subclass members are “persons”

within the meaning of MONT. CODE ANN. § 30-14-102(6).

      1077. Montana Plaintiff and Montana Subclass members are “consumer[s]”

under MONT. CODE ANN. § 30-14-102(1).

      1078. The sale or lease of each Coastdown Cheating Vehicle at issue occurred

within “trade and commerce” within the meaning of MONT. CODE ANN. § 30-14-



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102(8), and Ford committed deceptive and unfair acts in the conduct of “trade and

commerce” as defined in that statutory section.

      1079. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1080. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Montana Plaintiff and the Montana

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1081. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Montana Plaintiff

and the Montana Subclass.



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       1082. Ford knew or should have known that its conduct violated the Montana

CPA.

       1083. Ford owed Montana Plaintiff and the Montana Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and onboard vehicle
                    reporting of fuel efficiency;

             b.     Intentionally concealed the foregoing from
                    Montana Plaintiff and the Montana Subclass; and/or

             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy or presence of a fuel
                    efficiency cheat device in the Coastdown Cheating
                    Vehicles, while purposefully withholding material
                    facts from Montana Plaintiff and the Montana
                    Subclass that contradicted these representations.

       1084. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Montana Plaintiff and the

Montana Subclass.

       1085. Montana Plaintiff and the Montana Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Montana Plaintiff and the Montana Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their




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vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Montana CPA.

      1086. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Montana CPA. As a direct and proximate result of

Ford’s violations of the Montana CPA, Montana Plaintiff and the Montana Subclass

have suffered injury-in-fact and/or actual damage.

      1087. Ford’s violations present a continuing risk to Montana Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1088. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1089. Plaintiffs additionally seek an order enjoining Ford’s unfair, unlawful,

and/or deceptive practices, and any other relief the Court considers necessary or

proper, under MONT. CODE ANN. § 30-14-133.




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                                    COUNT 42

                            BREACH OF CONTRACT
                          (BASED ON MONTANA LAW)

      1090. Montana Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1091. This claim is brought by Montana Plaintiff on behalf of the Montana

Subclass.

      1092. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Montana Plaintiff and the Montana Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Montana Plaintiff and the Montana Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Montana Plaintiff and the Montana Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      1093. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to Montana Plaintiff and the Montana Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1094. As a direct and proximate result of Ford’s breach of contract, Montana

Plaintiff and the Montana Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                     COUNT 43

                          FRAUDULENT CONCEALMENT
                           (BASED ON MONTANA LAW)
      1095. Montana Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1096. This claim is brought by Montana Plaintiff on behalf of the Montana

Subclass.

      1097. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


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for the truth and denied Montana Plaintiff and the Montana Subclass information

that is highly relevant to their purchasing decision.

      1098. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1099. Ford further affirmatively misrepresented to Montana Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1100. Ford knew these representations were false when made.

      1101. The Coastdown Cheating Vehicles purchased or leased by Montana

Plaintiff and the Montana Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1102. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Montana Plaintiff and the



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Montana Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1103. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1104. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Montana Plaintiffs and the Montana Subclass did not know of these facts and

Ford actively concealed these facts from Montana Plaintiff and the Montana

Subclass.

      1105. Montana Plaintiff and the Montana Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Montana Plaintiff and the Montana Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Montana Plaintiff and the Montana Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.



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      1106. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Montana Plaintiff and the Montana Subclass

placed in its representations.

      1107. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Montana Plaintiff and the Montana Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1108. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Montana Plaintiff and the Montana Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the



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qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Montana Plaintiff and the Montana Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Montana Plaintiff and the

Montana Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Montana Plaintiff and the Montana Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1109. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Montana Plaintiff

and the Montana Subclass.




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      1110. Ford has still not made full and adequate disclosures and continues to

defraud Montana Plaintiff and the Montana Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1111. Montana Plaintiff and the Montana Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Montana Plaintiff’s and the Montana Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Montana Plaintiff, or, Montana Subclass members.

      1112. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Montana Plaintiff and the Montana Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Montana Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1113. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Montana Plaintiff and the Montana Subclass for damages in an amount to



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be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1114. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Montana Plaintiff’s

and the Subclass’s rights and the representations that Ford made to them in order to

enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an

amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Nebraska Subclass

                                    COUNT 44

     VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                  (NEB. REV. STAT. § 59-1601 et seq.)

      1115. Plaintiff Scott Whitehill (“Nebraska Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      1116. This claim is brought by Nebraska Plaintiff on behalf of the Nebraska

Subclass.

      1117. The Nebraska Consumer Protection Act (“Nebraska CPA”) prohibits

“unfair or deceptive acts or practices in the conduct of any trade or commerce.” NEB.

REV. STAT. § 59-1602.

      1118. Ford, Nebraska Plaintiff, and Nebraska Subclass members are

“person[s]” under NEB. REV. STAT. § 59-1601(1).


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      1119. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under NEB. REV. STAT. § 59-1601(2).

      1120. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1121. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Nebraska Plaintiff and the Nebraska

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1122. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Nebraska

Plaintiff and the Nebraska Subclass.



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       1123. Ford knew or should have known that its conduct violated the Nebraska

CPA.

       1124. Ford owed Nebraska Plaintiff and the Nebraska Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

             b.    Intentionally concealed the foregoing from
                   Nebraska Plaintiff and the Nebraska Subclass;
                   and/or
             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Nebraska Plaintiff and the Nebraska
                   Subclass that contradicted these representations.

       1125. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Nebraska Plaintiff and the

Nebraska Subclass.

       1126. Nebraska Plaintiff and the Nebraska Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Nebraska Plaintiff and the Nebraska Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid




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less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Nebraska CPA.

      1127. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Nebraska CPA. As a direct and proximate result

of Ford’s violations of the Nebraska CPA, Nebraska Plaintiff and the Nebraska

Subclass have suffered injury-in-fact and/or actual damage.

      1128. Ford’s violations present a continuing risk to Nebraska Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1129. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1130. Because Ford’s conduct caused injury to Nebraska Plaintiff’s property

through violations of the Nebraska CPA, Nebraska Plaintiff seeks recovery of actual

damages as well as enhanced damages up to $1,000, an order enjoining Ford’s unfair

or deceptive acts and practices, costs of Court, reasonable attorneys’ fees, and any

other just and proper relief available under NEB. REV. STAT. § 59-1609.



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                                    COUNT 45

                            BREACH OF CONTRACT
                          (BASED ON NEBRASKA LAW)

      1131. Nebraska Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1132. This claim is brought by the Nebraska Plaintiff on behalf of Nebraska

purchasers who are members of the Class.

      1133. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Nebraska Plaintiff and the Nebraska Subclass members to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Nebraska Plaintiff and the Nebraska Subclass

members would not have purchased or leased the Coastdown Cheating Vehicles,

would not have purchased or leased the Coastdown Cheating Vehicles at the prices

they paid, and/or would have purchased or leased less expensive alternative vehicles

that did not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Nebraska Plaintiff and the Nebraska Subclass members overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1134. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to Nebraska Plaintiff and the Nebraska Subclass Class

members defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      1135. As a direct and proximate result of Ford’s breach of contract Nebraska

Plaintiff and the Nebraska Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 46

                       FRAUDULENT CONCEALMENT
                        (BASED ON NEBRASKA LAW)
      1136. Nebraska Plaintiff realleges and incorporates by reference all

paragraphs as though fully set forth herein.

      1137. This claim is brought by Nebraska Plaintiff on behalf of the Nebraska

Subclass.

      1138. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted


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with reckless disregard for the truth and denied Nebraska Plaintiff and the Nebraska

Subclass members information that is highly relevant to their purchasing decision.

      1139. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1140. Ford further affirmatively misrepresented to Nebraska Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1141. Ford knew these representations were false when made.

      1142. The Coastdown Cheating Vehicles purchased or leased by Nebraska

Plaintiff and the Nebraska Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1143. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Nebraska Plaintiff and the



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Nebraska Subclass members relied on Ford’s material representations or omissions

of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      1144. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1145. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Nebraska Plaintiff and the Nebraska Subclass members did not know of these

facts and Ford actively concealed these facts from Nebraska Plaintiff and the

Nebraska Subclass members.

      1146. Nebraska Plaintiff and the Nebraska Subclass members reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, Nebraska Plaintiff and

the Nebraska Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Nebraska Plaintiff and the Nebraska Subclass by




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concealing the true facts about the Coastdown Cheating Vehicles’ lack of fuel

efficiency.

      1147. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Nebraska Plaintiff and the Nebraska Subclass

members placed in its representations.

      1148. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Nebraska Plaintiff and the Nebraska Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1149. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably



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discoverable by Nebraska Plaintiff or the Nebraska Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Nebraska Plaintiff and the Nebraska Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Nebraska Plaintiff and the

Nebraska Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Nebraska Plaintiff and the Nebraska Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1150. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Nebraska Plaintiff

and the Nebraska Subclass members.



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      1151. Ford has still not made full and adequate disclosures and continues to

defraud Nebraska Plaintiff and the Nebraska Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      1152. Nebraska Plaintiff and the Nebraska Subclass members were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. Nebraska Plaintiff’s and the Nebraska Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Nebraska Plaintiff, or the Nebraska Subclass

members.

      1153. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Nebraska Plaintiff and the Nebraska Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1154. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Nebraska Plaintiff’s

and the Nebraska Subclass members’ rights and the representations that Ford made



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to them were made in order to enrich Ford. Ford’s conduct warrants an assessment

of punitive damages in an amount sufficient to deter such conduct in the future,

which amount is to be determined according to proof.

      Claims Brought on Behalf of the Nevada Subclass
                                     COUNT 47

                        VIOLATION OF THE NEVADA
                     DECEPTIVE TRADE PRACTICES ACT
                      (NEV. REV. STAT. § 598.0903 et seq.)
      1155. Plaintiff Matthew Combs (“Nevada Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      1156. This claim is brought by Nevada Plaintiff on behalf of the Nevada

Subclass.

      1157. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”)

prohibits deceptive trade practices. NEV. REV. STAT. § 598.0915 provides that a

person engages in a “deceptive trade practice” if, in the course of business or

occupation, the person “[k]nowingly makes a false representation as to the

characteristics, ingredients, uses, benefits, alterations or quantities of goods or

services for sale or lease or a false representation as to the sponsorship, approval,

status, affiliation or connection of a person therewith”; “[r]epresents that goods or

services for sale or lease are of a particular standard, quality or grade, or that such

goods are of a particular style or model, if he or she knows or should know that they



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are of another standard, quality, grade, style or model”; “[a]dvertises goods or

services with intent not to sell or lease them as advertised and certified”; or

“[k]nowingly makes any other false representation in a transaction.” NEV. REV.

STAT. §§ 598.0915–598.0925.

      1158. Ford engaged in deceptive trade practices that violated the Nevada

DTPA when Ford knowingly failed to disclose that the Coastdown Cheating

Vehicles did not have the advertised and certified fuel economy and also contained

a mileage cheat device to continually misrepresent the mileage to the consumer; and

that the fuel economy was far worse than a reasonable consumer would expect given

the premium paid for these vehicles over a comparable vehicle.

      1159. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.

      1160. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,




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suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1161. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Nevada Plaintiff and the Nevada Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1162. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Nevada Plaintiff

and the Nevada Subclass.

      1163. Ford knew or should have known that its conduct violated the Nevada

DTPA.

      1164. Ford owed Nevada Plaintiff and the Nevada Subclass members a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;
            b.     Intentionally concealed the foregoing from Nevada
                   Plaintiffs and the Nevada Subclass; and/or




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             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy or presence of a fuel
                    efficiency cheat device in the Coastdown Cheating
                    Vehicles, while purposefully withholding material
                    facts from Nevada Plaintiff and the Nevada
                    Subclass that contradicted these representations.
      1165. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Nevada Plaintiff and the

Nevada Subclass.

      1166. Nevada Plaintiff and the Nevada Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Nevada Plaintiff and the Nevada Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Nevada DTPA.

      1167. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Nevada DTPA. As a direct and proximate result

of Ford’s violations of the Nevada DTPA, Nevada Plaintiff and the Nevada Subclass

have suffered injury-in-fact and/or actual damage.

      1168. Ford’s violations present a continuing risk to Nevada Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.



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      1169. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1170. Accordingly, Plaintiffs seek their actual damages, punitive damages, an

order enjoining Ford’s deceptive acts or practices, costs of Court, attorney’s fees,

and all other appropriate and available remedies under the Nevada DTPA. NEV. REV.

STAT. § 41.600.

                                    COUNT 48

                             BREACH OF CONTRACT
                            (BASED ON NEVADA LAW)
      1171. Nevada Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1172. This claim is brought by Nevada Plaintiff on behalf of the Nevada

Subclass.

      1173. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Nevada Plaintiff and the Nevada Subclass to make their purchases


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or leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and

omissions, Nevada Plaintiff and the Nevada Subclass would not have purchased or

leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage

or fuel efficiency cheat device. Accordingly, Nevada Plaintiff and the Nevada

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

        1174. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Nevada Plaintiff and the Nevada Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1175. As a direct and proximate result of Ford’s breach of contract, Nevada

Plaintiff and the Nevada Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.



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                                     COUNT 49

                          FRAUDULENT CONCEALMENT
                            (BASED ON NEVADA LAW)

      1176. Nevada Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1177. This claim is brought by Nevada Plaintiff on behalf of the Nevada

Subclass.

      1178. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Nevada Plaintiff and the Nevada Subclass information that

is highly relevant to their purchasing decision.

      1179. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1180. Ford further affirmatively misrepresented to Nevada Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling


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had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1181. Ford knew these representations were false when made.

      1182. The Coastdown Cheating Vehicles purchased or leased by Nevada

Plaintiff and the Nevada Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1183. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Nevada Plaintiff and the

Nevada Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1184. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.




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      1185. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Nevada Plaintiffs and the Nevada Subclass did not know of these facts and

Ford actively concealed these facts from Nevada Plaintiff and the Nevada Subclass.

      1186. Nevada Plaintiff and the Nevada Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Nevada Plaintiff and the Nevada Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Nevada Plaintiff and the Nevada Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1187. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Nevada Plaintiff and the Nevada Subclass

placed in its representations.

      1188. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Nevada Plaintiff and the Nevada Subclass



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members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1189. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Nevada Plaintiff and the Nevada Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Nevada Plaintiff and the Nevada Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Nevada Plaintiff and the

Nevada Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Nevada Plaintiff and the Nevada Subclass members



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that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      1190. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Nevada Plaintiff

and the Nevada Subclass.

      1191. Ford has still not made full and adequate disclosures and continues to

defraud Nevada Plaintiff and the Nevada Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1192. Nevada Plaintiff and the Nevada Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Nevada Plaintiff’s and the Nevada Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Nevada Plaintiff, or, Nevada Subclass members.




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      1193. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Nevada Plaintiff and the Nevada Subclass have

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Nevada Plaintiff and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      1194. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Nevada Plaintiff and the Nevada Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1195. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Nevada Plaintiff’s

and the Nevada Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




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      Claims Brought on Behalf of the New Jersey Subclass

                                   COUNT 50

       VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                 (N.J. STAT. ANN. § 56:8-1 ET SEQ.)
      1196. Plaintiffs Dean Kriner, Keith Fencl, and Tracey Travis (“New Jersey

Plaintiffs”) hereby incorporate by reference the allegations contained in the

preceding paragraphs of this complaint.

      1197. This claim is brought by New Jersey Plaintiffs on behalf of the New

Jersey Subclass.

      1198. The New Jersey Consumer Fraud Act (New Jersey CFA) makes

unlawful “[t]he act, use or employment by any person of any unconscionable

commercial    practice,   deception,   fraud,    false    pretense,    false   promise,

misrepresentation, or the knowing concealment, suppression or omission of any

material fact with the intent that others rely upon such concealment, suppression or

omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or

not any person has in fact been misled, deceived or damaged thereby.” N.J. STAT.

ANN. § 56:8-2.

      1199. Ford, Plaintiffs, and New Jersey Class members are “persons” within

the meaning of N.J. STAT. ANN. § 56:8-1(d).




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      1200. Ford engaged in “sales” of “merchandise” within the meaning of N.J.

STAT. ANN. § 56:8-1(c), (e). Ford’s actions as set forth herein occurred in the conduct

of trade or commerce.

      1201. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1202. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including New Jersey Plaintiffs and the New Jersey

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.




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      1203. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead New Jersey

Plaintiffs and the New Jersey Subclass.

      1204. Ford knew or should have known that its conduct violated the New

Jersey CFA.

      1205. Ford owed New Jersey Plaintiffs and the New Jersey Subclass members

a duty to disclose the performance, fuel mileage, and true environmental impact of

the Coastdown Cheating Vehicles, because Ford:

              a.   Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

              b.   Intentionally concealed the foregoing from New
                   Jersey Plaintiffs and the New Jersey Subclass;
                   and/or

              c.   Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from New Jersey Plaintiffs and the New Jersey
                   Subclass that contradicted these representations.

      1206. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to New Jersey Plaintiffs and the

New Jersey Subclass.

      1207. New Jersey Plaintiffs and the New Jersey Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

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failure to disclose material information. New Jersey Plaintiffs and the New Jersey

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the New Jersey CFA.

      1208. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the New Jersey CFA. As a direct and proximate result

of Ford’s violations of the New Jersey CFA, New Jersey Plaintiffs and the New

Jersey Subclass have suffered injury-in-fact and/or actual damage.

      1209. Ford’s violations present a continuing risk to New Jersey Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1210. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1211. New Jersey Plaintiffs are entitled to recover legal and/or equitable

relief, including an order enjoining Ford’s unlawful conduct, treble damages, costs,




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and reasonable attorneys’ fees pursuant to N.J. STAT. ANN. § 56:8-19, and any other

just and appropriate relief.

      1212. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of New Jersey in

accordance with N.J.S.A. § 56:8-20.

                                   COUNT 51

                             BREACH OF CONTRACT
                          (BASED ON NEW JERSEY LAW)
      1213. New Jersey Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      1214. This claim is brought by New Jersey Plaintiffs on behalf of the New

Jersey Subclass.

      1215. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused New Jersey Plaintiffs and the New Jersey Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, New Jersey Plaintiffs and the New Jersey

Subclass would not have purchased or leased the Coastdown Cheating Vehicles,

would not have purchased or leased the Coastdown Cheating Vehicles at the prices


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they paid, and/or would have purchased or leased less expensive alternative vehicles

that did not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

New Jersey Plaintiffs and the New Jersey Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1216. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to New Jersey Plaintiffs and the New Jersey Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1217. As a direct and proximate result of Ford’s breach of contract, New

Jersey Plaintiffs and the Class have been damaged in an amount to be proven at trial,

which shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                    COUNT 52

                         FRAUDULENT CONCEALMENT
                         (BASED ON NEW JERSEY LAW)

      1218. New Jersey Plaintiffs incorporate by reference all preceding allegations

as though fully set forth herein.


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      1219. New Jersey Plaintiffs bring this claim on behalf of the New Jersey

Subclass.

      1220. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because New Jersey Plaintiffs and the

New Jersey Subclass members relied on Ford’s material representations or

omissions of fact that the Coastdown Cheating Vehicles they were purchasing were

fuel efficient and free from defects.

      1221. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1222. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.



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      1223. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; New Jersey Plaintiffs and the New Jersey Subclass members did not know of

these facts and Ford actively concealed these facts from New Jersey Plaintiffs and

the New Jersey Subclass members.

      1224. New Jersey Plaintiffs and the New Jersey Subclass members

reasonably relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, New Jersey Plaintiffs

and the New Jersey Subclass did not, and could not, unravel Ford’s deception on

their own. Rather, Ford intended to deceive New Jersey Plaintiffs and the New Jersey

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      1225. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that New Jersey Plaintiffs and the New Jersey

Subclass members placed in its representations.

      1226. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because



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the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including New Jersey Plaintiffs and the New Jersey

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1227. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by New Jersey Plaintiffs or the New Jersey Subclass members. Ford

also had a duty to disclose because it made general affirmative representations about

the qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to New Jersey Plaintiffs and the New Jersey Subclass members, Ford

had the duty to disclose not just the partial truth, but the entire truth. These omitted

and concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by New Jersey Plaintiffs and the

New Jersey Subclass members. Whether an automobile is fuel efficient and whether



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it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to New Jersey Plaintiffs and the New Jersey Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1228. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of New Jersey

Plaintiffs and the New Jersey Subclass members.

      1229. Ford has still not made full and adequate disclosures and continues to

defraud New Jersey Plaintiffs and the New Jersey Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      1230. New Jersey Plaintiffs and the New Jersey Subclass members were

unaware of the omitted material facts referenced herein, and they would not have

acted as they did if they had known of the concealed and/or suppressed facts, in that

they would not have purchased purportedly fuel efficient vehicles manufactured by

Ford, and/or would have taken other affirmative steps in light of the information

concealed from them. New Jersey Plaintiffs’ and the New Jersey Subclass members’



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actions were justified. Ford was in exclusive control of the material facts, and such

facts were not generally known to the public, New Jersey Plaintiffs, or the New

Jersey Subclass members.

      1231. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to New Jersey Plaintiffs and the New Jersey Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      1232. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of New Jersey

Plaintiffs’ and the New Jersey Subclass members’ rights and the representations that

Ford made to them were made in order to enrich Ford. Ford’s conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in the

future, which amount is to be determined according to proof.

      Claims Brought on Behalf of the New York Subclass

                                    COUNT 53

       VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                    (N.Y. GEN. BUS. LAW § 349)
      1233. Plaintiff Cody Smith (“New York Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.




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      1234. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

      1235. The New York General Business Law (New York GBL) makes

unlawful “[d]eceptive acts or practices in the conduct of any business, trade or

commerce.” N.Y. GEN. BUS. LAW § 349.

      1236. New York Plaintiff and the New York Subclass members are “persons”

within the meaning of N.Y. GEN. BUS. LAW § 349(h).

      1237. Ford is a “person,” “firm,” “corporation,” or “association” within the

meaning of N.Y. GEN. BUS. LAW § 349.

      1238. In the course of Ford’s business, Ford willfully failed to disclose that

the Coastdown Cheating Vehicles do not have the advertised fuel economy, contain

a mileage cheat device, and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford’s deceptive acts and practices, which were intended to mislead

consumers who purchased or leased a Coastdown Cheating Vehicle, was conduct

directed at consumers. Accordingly, Ford engaged in unfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices as defined

in N.Y. Gen. Bus. Law § 349, including engaging in conduct likely to deceive.

      1239. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.



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      1240. Because Ford’s deception takes place in the context of public health, its

deception affects the public interest. Further, Ford’s unlawful conduct constitutes

unfair acts or practices that have the capacity to deceive consumers, and that have a

broad impact on consumers at large.

      1241. Ford’s conduct proximately caused injuries to New York Plaintiff and

the New York Subclass.

      1242. Because Ford’s willful and knowing conduct caused injury to Plaintiffs,

Plaintiffs seek recovery of actual damages or $50, whichever is greater; discretionary

treble damages up to $1,000; punitive damages; reasonable attorneys’ fees and costs;

an order enjoining Ford’s deceptive conduct; and any other just and proper relief

available under N.Y. GEN. BUS. LAW § 349.

                                    COUNT 54

       VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                    (N.Y. GEN. BUS. LAW § 350)

      1243. New York Plaintiff hereby incorporates by reference the allegations

contained in the preceding paragraphs of this complaint.

      1244. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

      1245. The New York’s General Business Law § 350 makes unlawful “[f]alse

advertising in the conduct of any business, trade or commerce[.]” False advertising

includes “advertising, including labeling, of a commodity … if such advertising is


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misleading in a material respect,” taking into account “the extent to which the

advertising fails to reveal facts material in the light of … representations [made] with

respect to the commodity….” N.Y. Gen. Bus. Law § 350-a.

      1246. Ford caused to be made or disseminated through New York, through

advertising, marketing, and other publications, statements that were untrue or

misleading, and which were known, or which by the exercise of reasonable care

should have been known to Ford, to be untrue and misleading to consumers,

including New York Plaintiff and New York Subclass members.

      1247. Ford has violated N.Y. Gen. Bus. Law § 350 because the omissions

regarding the fuel economy certifications in Coastdown Cheating Vehicles as

described above, were material and likely to deceive a reasonable consumer.

      1248. New York Plaintiff and New York Subclass members have suffered

injury, including the loss of money or property, as a result of Ford’s false advertising.

In purchasing or leasing their Coastdown Cheating Vehicles, New York Plaintiff and

New York Subclass members relied on the representations and/or omissions of Ford

with respect to the fuel economy certifications of the Coastdown Cheating Vehicles.

Ford’s representations turned out to be untrue because the Coastdown Cheating

Vehicles’ fuel economy certifications are untrue in that the Coastdown Cheating

Vehicles are also equipped with a cheat device, a computer that misrepresents the

mileage displayed on the trip meter. Had New York Plaintiff and the New York



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Subclass members known this, they would not have purchased or leased their

Coastdown Cheating Vehicles and/or paid as much for them.

         1249. Accordingly, New York Plaintiff and the New York Subclass overpaid

for their Coastdown Cheating Vehicles and did not receive the benefit of the bargain

for their Coastdown Cheating Vehicles, which have also suffered diminution in

value.

         1250. Because Ford fraudulently concealed that the fuel economy

certifications are untrue in that the Coastdown Cheating Vehicles are also equipped

with a cheat device, resulting in a raft of negative publicity once the true fuel

economy finally began to be disclosed, the value of the Coastdown Cheating

Vehicles has greatly diminished. In light of the stigma attached to those vehicles by

Ford’s conduct, they are now worth less than they otherwise would be.

         1251. New York Plaintiff, individually and on behalf of New York Subclass

members, request that this Court enter such orders or judgments as may be necessary

to enjoin Ford from continuing its unfair, unlawful and/or deceptive practices. New

York Plaintiff and the New York Subclass members are also entitled to recover their

actual damages or $500, whichever is greater. Because Ford acted willfully or

knowingly, New York Plaintiff and the New York Subclass members are entitled to

recover three times actual damages, up to $10,000.




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                                    COUNT 55

                            BREACH OF CONTRACT
                          (BASED ON NEW YORK LAW)

      1252. New York Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1253. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

      1254. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused New York Plaintiff and the New York Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, New York Plaintiff and the New York Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly, New

York Plaintiff and the New York Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      1255. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to New York Plaintiff and the New York Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1256. As a direct and proximate result of Ford’s breach of contract, New York

Plaintiff and the New York Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                     COUNT 56

                          FRAUDULENT CONCEALMENT
                           (BASED ON NEW YORK LAW)
      1257. New York Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1258. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

      1259. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


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for the truth and denied New York Plaintiff and the New York Subclass information

that is highly relevant to their purchasing decision.

      1260. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1261. Ford further affirmatively misrepresented to New York Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1262. Ford knew these representations were false when made.

      1263. The Coastdown Cheating Vehicles purchased or leased by New York

Plaintiff and the New York Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1264. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because New York Plaintiff and the



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New York Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      1265. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1266. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; New York Plaintiffs and the New York Subclass did not know of these facts

and Ford actively concealed these facts from New York Plaintiff and the New York

Subclass.

      1267. New York Plaintiff and the New York Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, New York Plaintiff and the New York

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive New York Plaintiff and the New York Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.



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      1268. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that New York Plaintiff and the New York Subclass

placed in its representations.

      1269. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including New York Plaintiff and the New York Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1270. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by New York Plaintiff and the New York Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the



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qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to New York Plaintiff and the New York Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by New York Plaintiff and the

New York Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to New York Plaintiff and the New York Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1271. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of New York

Plaintiff and the New York Subclass.




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      1272. Ford has still not made full and adequate disclosures and continues to

defraud New York Plaintiff and the New York Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1273. New York Plaintiff and the New York Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. New York Plaintiff’s and the New York Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, New York Plaintiff, or, New York Subclass members.

      1274. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, New York Plaintiff and the New York Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, New York Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1275. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to New York Plaintiff and the New York Subclass for damages in an amount



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to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1276. Ford’s      acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of New York Plaintiff’s

and the New York Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the North Carolina Subclass

                                     COUNT 57

              VIOLATION OF THE NORTH CAROLINA UNFAIR
               AND DECEPTIVE ACTS AND PRACTICES ACT
                     (N.C. GEN. STAT. § 75-1.1 et seq.)

      1277. Plaintiff    Matthew    Smith    (“North    Carolina   Plaintiff)   hereby

incorporates by reference the allegations contained in the preceding paragraphs of

this complaint.

      1278. This claim is brought by North Carolina Plaintiff on behalf of North

Carolina Subclass.

      1279. North Carolina’s Unfair and Deceptive Acts and Practices Act (the

North Carolina Act) broadly prohibits a person from engaging in “[u]nfair methods

of competition in or affecting commerce, and unfair or deceptive acts or practices in



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or affecting commerce[.]” N.C. GEN. STAT. § 75-1.1(a). The North Carolina Act

provides a private right of action for any person injured “by reason of any act or

thing done by any other person, firm or corporation in violation of” the North

Carolina Act. N.C. GEN. STAT. § 75-16.

      1280. Ford’s acts and practices complained of herein were performed in the

course of Ford’s trade or business and thus occurred in or affected “commerce”

within the meaning of N.C. GEN. STAT. § 75-1.1(b).

      1281. Ford engaged in deceptive trade practices that violated the North

Carolina ACT when Ford knowingly failed to disclose that the Coastdown Cheating

Vehicles did not have the advertised and certified fuel economy and also contained

a mileage cheat device to continually misrepresent the mileage to the consumer; and

that the fuel economy was far worse than a reasonable consumer would expect given

the premium paid for these vehicles over a comparable vehicle.

      1282. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.

      1283. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,



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deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1284. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including North Carolina Plaintiff and the North

Carolina Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      1285. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead North Carolina

Plaintiff and the North Carolina Subclass.

      1286. Ford knew or should have known that its conduct violated the North

Carolina ACT.

      1287. Ford owed North Carolina Plaintiff and the North Carolina Subclass

members a duty to disclose the performance, fuel mileage, and true environmental

impact of the Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;



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             b.    Intentionally concealed the foregoing from North
                   Carolina Plaintiff and the North Carolina Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from North Carolina Plaintiff and the North
                   Carolina Subclass that contradicted these
                   representations.

      1288. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to North Carolina Plaintiff and

the North Carolina Subclass.

      1289. North Carolina Plaintiff and the North Carolina Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. North Carolina Plaintiff and the North

Carolina Subclass members who purchased the Coastdown Cheating Vehicles either

would have paid less for their vehicles or would not have purchased or leased them

at all but for Ford’s violations of the North Carolina ACT.

      1290. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the North Carolina ACT. As a direct and proximate

result of Ford’s violations of the North Carolina ACT, North Carolina Plaintiff and

the North Carolina Subclass have suffered injury-in-fact and/or actual damage.




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      1291. Ford’s violations present a continuing risk to North Carolina Plaintiff

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      1292. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1293. Ford acted with willful and conscious disregard of the rights and safety

of others, subjecting North Carolina Plaintiff and the North Carolina Subclass to

cruel and unjust hardship as a result, such than an award of punitive damages is

appropriate.

      1294. North Carolina Plaintiff, individually and on behalf of the North

Carolina Subclass, seeks an order for treble his actual damages, an order enjoining

Ford’s unlawful acts, costs of Court, attorney’s fees, and any other just and proper

relief available under the North Carolina Act, N.C. GEN. STAT. § 75-16.




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                                    COUNT 58

                          BREACH OF CONTRACT
                     (BASED ON NORTH CAROLINA LAW)

      1295. North Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1296. This claim is brought by North Carolina Plaintiff on behalf of the North

Carolina Subclass.

      1297. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused North Carolina Plaintiff and the North Carolina Subclass to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, North Carolina Plaintiff and the North Carolina

Subclass would not have purchased or leased the Coastdown Cheating Vehicles,

would not have purchased or leased the Coastdown Cheating Vehicles at the prices

they paid, and/or would have purchased or leased less expensive alternative vehicles

that did not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

North Carolina Plaintiff and the North Carolina Subclass overpaid for the

Coastdown Cheating Vehicles and did not receive the benefit of their bargain.

      1298. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to North Carolina Plaintiff and the North Carolina

Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      1299. As a direct and proximate result of Ford’s breach of contract, North

Carolina Plaintiff and the North Carolina Subclass have been damaged in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

                                     COUNT 59

                        FRAUDULENT CONCEALMENT
                     (BASED ON NORTH CAROLINA LAW)
      1300. North Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1301. This claim is brought by North Carolina Plaintiff on behalf of the North

Carolina Subclass.

      1302. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


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for the truth and denied North Carolina Plaintiff and the North Carolina Subclass

information that is highly relevant to their purchasing decision.

      1303. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1304. Ford further affirmatively misrepresented to North Carolina Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1305. Ford knew these representations were false when made.

      1306. The Coastdown Cheating Vehicles purchased or leased by North

Carolina Plaintiff and the North Carolina Subclass were, in fact, defective, with

reduced fuel efficiency and a fuel efficiency cheat device.

      1307. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because North Carolina Plaintiff and



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the North Carolina Subclass relied on Ford’s material representations or omissions

of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      1308. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1309. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; North Carolina Plaintiffs and the North Carolina Subclass did not know of

these facts and Ford actively concealed these facts from North Carolina Plaintiff and

the North Carolina Subclass.

      1310. North Carolina Plaintiff and the North Carolina Subclass reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, North Carolina

Plaintiff and the North Carolina Subclass did not, and could not, unravel Ford’s

deception on their own. Rather, Ford intended to deceive North Carolina Plaintiff




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and the North Carolina Subclass by concealing the true facts about the Coastdown

Cheating Vehicles’ lack of fuel efficiency.

      1311. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that North Carolina Plaintiff and the North Carolina

Subclass placed in its representations.

      1312. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including North Carolina Plaintiff and the North Carolina

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1313. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably



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discoverable by North Carolina Plaintiff and the North Carolina Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to North Carolina Plaintiff and the North Carolina Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by North Carolina

Plaintiff and the North Carolina Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to North Carolina Plaintiff and

the North Carolina Subclass members that they were purchasing or leasing fuel

efficient vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1314. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of North Carolina

Plaintiff and the North Carolina Subclass.



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      1315. Ford has still not made full and adequate disclosures and continues to

defraud North Carolina Plaintiff and the North Carolina Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      1316. North Carolina Plaintiff and the North Carolina Subclass were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. North Carolina Plaintiff’s and the North Carolina Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such

facts were not generally known to the public, North Carolina Plaintiff, or, North

Carolina Subclass members.

      1317. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, North Carolina Plaintiff and the North Carolina

Subclass have sustained damage because they overpaid for their vehicles and own

vehicles that diminished in value as a result of Ford’s concealment, and suffered and

continue to suffer increased fuel costs over what was represented by Ford. Had they

been aware of the true facts, North Carolina Plaintiff and Class members would not

have purchased or leased the Coastdown Cheating Vehicles or would have paid less.



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Because of the concealment and/or suppression of the facts, and the inclusion of a

mileage cheat device, North Carolina Plaintiff and the North Carolina Subclass

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, North Carolina Plaintiff and the North Carolina Subclass members

would not have purchased or leased the Coastdown Cheating Vehicles or would have

paid less.

      1318. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to North Carolina Plaintiff and the North Carolina Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      1319. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of North Carolina

Plaintiff’s and the North Carolina Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.




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      Claims Brought on Behalf of the Ohio Subclass

                                    COUNT 60

     VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
             (OHIO REV. CODE ANN. § 1345.01 ET SEQ.)
      1320. Plaintiff David Polley (“Ohio Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      1321. This claim is brought by Ohio Plaintiff on behalf of the Ohio Subclass.

      1322. Ohio Consumer Sales Practices Act (“Ohio CSPA”), OHIO REV. CODE

ANN. § 1345.02, broadly prohibits unfair or deceptive acts or practices in connection

with a consumer transaction. Specifically, and without limitation of the broad

prohibition, the Act prohibits (1) representing that Coastdown Cheating Vehicles

have characteristics, uses, benefits, and qualities which they do not have,

(2) representing that Coastdown Cheating Vehicles are of a particular standard,

quality, and grade when they are not, (3) advertising Coastdown Cheating Vehicles

with the intent not to sell them as advertised and certified, and (4) engaging in acts

or practices which are otherwise unfair, misleading, false, or deceptive to the

consumer. OHIO REV. CODE ANN. § 1345.02. Ford participated in misleading, false,

or deceptive acts that violated the Ohio CSPA.

      1323. Ford is a “supplier” as that term is defined in OHIO REV. CODE ANN.

§ 1345.01(C).




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      1324. Ohio Plaintiff and the Ohio Subclass members are “consumers” as that

term is defined in OHIO REV. CODE ANN. § 1345.01(D), and their purchase or lease

of one or more Coastdown Cheating Vehicles is a “consumer transaction” within the

meaning of OHIO REV. CODE ANN. § 1345.01(A).

      1325. Ford engaged in deceptive trade practices that violated the Ohio CSPA

when Ford knowingly failed to disclose that the Coastdown Cheating Vehicles did

not have the advertised and certified fuel economy and also contained a mileage

cheat device to continually misrepresent the mileage to the consumer; and that the

fuel economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1326. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.

      1327. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,




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suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1328. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Ohio Plaintiff and the Ohio Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1329. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Ohio Plaintiff

and the Ohio Subclass.

      1330. Ford knew or should have known that its conduct violated the Ohio

CSPA.

      1331. Ford owed Ohio Plaintiff and the Ohio Subclass members a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;
            b.     Intentionally concealed the foregoing from Ohio
                   Plaintiff and the Ohio Subclass; and/or




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             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Ohio Plaintiff and the Ohio Subclass that
                   contradicted these representations.
      1332. The Ohio Attorney General has made available for public inspection

prior state court decisions which have held that the acts and omissions of Ford in

this Complaint, including but not limited to the failure to honor both implied

warranties and express warranties, the making and distribution of false, deceptive,

and/or misleading representations, and the concealment and/or non-disclosure of a

dangerous defect, constitute deceptive sales practices in violation of the OCSPA.

These cases include, but are not limited to, the following:

             a.    Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

             b.    State ex rel. Betty D. Montgomery v. Volkswagen Motor Co.
                   (OPIF #10002123);
             c.    State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc.
                   (OPIF #10002025);

             d.    Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App.
                   LEXIS 1573 (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

             e.    Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App.
                   LEXIS 525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);
             f.    State ex rel. Jim Petro v. Craftmatic Org., Inc. (OPIF
                   #10002347);

             g.    Mark J. Craw Volkswagen, et al. v. Joseph Airport Toyota, Inc.
                   (OPIF #10001586);


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            h.     State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF
                   #10000304);
            i.     Brinkman v. Mazda Motor of Am., Inc. (OPIF #10001427);

            j.     Khouri v. Don Lewis (OPIF #100001995);

            k.     Mosley v. Performance Mitsubishi aka Automanage (OPIF
                   #10001326);

            l.     Walls v. Harry Williams dba Butch’s Auto Sales (OPIF
                   #10001524); and

            m.     Brown v. Spears (OPIF #10000403).

      1333. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Ohio Plaintiff and the Ohio

Subclass.

      1334. Ohio Plaintiff and the Ohio Subclass suffered ascertainable loss caused

by Ford’s misrepresentations and its concealment of and failure to disclose material

information. Ohio Plaintiff and the Ohio Subclass members who purchased the

Coastdown Cheating Vehicles either would have paid less for their vehicles or would

not have purchased or leased them at all but for Ford’s violations of the Ohio CSPA.

      1335. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Ohio CSPA. As a direct and proximate result of

Ford’s violations of the Ohio CSPA, Ohio Plaintiff and the Ohio Subclass have

suffered injury-in-fact and/or actual damage.




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      1336. Ford’s violations present a continuing risk to Ohio Plaintiff as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      1337. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1338. As a result of the foregoing wrongful conduct, Plaintiffs have been

damaged in an amount to be proven at trial and seek all just and proper remedies,

including but not limited to actual and statutory damages, an order enjoining Ford’s

deceptive and unfair conduct, treble damages, court costs, and reasonable attorneys’

fees, pursuant to OHIO REV. CODE ANN. § 1345.09 et seq.

                                    COUNT 61

                             BREACH OF CONTRACT
                             (BASED ON OHIO LAW)

      1339. Ohio Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      1340. This claim is brought by the Ohio Plaintiff on behalf of Ohio Subclass.




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      1341. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Ohio Plaintiff and the Ohio Subclass members to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Ohio Plaintiff and the Ohio Subclass members

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly, Ohio

Plaintiff and the Ohio Subclass members overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      1342. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Ohio Plaintiff and the Ohio Subclass members

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.



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      1343. As a direct and proximate result of Ford’s breach of contract, Ohio

Plaintiff and the Ohio Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                     COUNT 62

                       FRAUDULENT CONCEALMENT
                          (BASED ON OHIO LAW)
      1344. Ohio Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      1345. This claim is brought by the Ohio Plaintiff on behalf of Ohio purchasers

who are members of the Class.

      1346. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Ohio Plaintiff and the Ohio Subclass

members information that is highly relevant to their purchasing decision.

      1347. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to




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provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1348. Ford further affirmatively misrepresented to Ohio Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1349. Ford knew these representations were false when made.

      1350. The Coastdown Cheating Vehicles purchased or leased by Ohio

Plaintiff and the Ohio Subclass members were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1351. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Ohio Plaintiff and the Ohio

Subclass members relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1352. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details



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about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1353. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Ohio Plaintiff and the Ohio Subclass members did not know of these facts and

Ford actively concealed these facts from Ohio Plaintiff and the Ohio Subclass

members.

      1354. Ohio Plaintiff and the Ohio Subclass members reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Ohio Plaintiff and the Ohio Subclass

members did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Ohio Plaintiff and the Ohio Subclass members by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1355. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized




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profits and sales above the trust that Ohio Plaintiff and the Ohio Subclass members

placed in its representations.

      1356. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Ohio Plaintiff and the Ohio Subclass members,

highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.

      1357. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Ohio Plaintiff and the Ohio Subclass members. Ford also had a duty

to disclose because it made general affirmative representations about the qualities of

its vehicles with respect to fuel efficiency, which were misleading, deceptive, and

incomplete without the disclosure of the additional facts set forth above regarding

the actual mileage of its vehicles. Having volunteered to provide information to

Ohio Plaintiff and the Ohio Subclass members, Ford had the duty to disclose not just



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the partial truth, but the entire truth. These omitted and concealed facts were material

because they directly impact the value of the Coastdown Cheating Vehicles

purchased or leased by Ohio Plaintiff and the Ohio Subclass members. Whether an

automobile is fuel efficient and whether it accurately measures its own gasoline

consumption are material concerns to a consumer. Ford represented to Ohio Plaintiff

and the Ohio Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1358. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Ohio Plaintiff

and the Ohio Subclass members.

      1359. Ford has still not made full and adequate disclosures and continues to

defraud Ohio Plaintiff and the Ohio Subclass members by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1360. Ohio Plaintiff and the Ohio Subclass members were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or



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would have taken other affirmative steps in light of the information concealed from

them. Ohio Plaintiff’s and the Ohio Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Ohio Plaintiff, or Ohio Subclass members.

      1361. Accordingly, Ford is liable to Ohio Plaintiff and the Ohio Subclass

members for damages in an amount to be proven at trial.

      1362. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Ohio Plaintiff and the Ohio Subclass for damages in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1363. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Ohio Plaintiff’s and

Ohio Subclass members’ rights and the representations that Ford made to them were

made in order to enrich Ford. Ford’s conduct warrants an assessment of punitive

damages in an amount sufficient to deter such conduct in the future, which amount

is to be determined according to proof.




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      Claims Brought on Behalf of the Oklahoma Subclass

                                    COUNT 63

    VIOLATION OF THE OKLAHOMA CONSUMER PROTECTION ACT
                 (OKLA. STAT. TIT. 15, § 751 et seq.)
      1364. Plaintiff Ahmed Abdi (“Oklahoma Plaintiff”) hereby incorporatesS by

reference the allegations contained in the preceding paragraphs of this complaint.

      1365. This claim is brought by Oklahoma Plaintiff on behalf of the Oklahoma

Subclass.

      1366. The Oklahoma Consumer Protection Act (“Oklahoma CPA”) declares

unlawful, inter alia, the following acts or practices when committed in the course of

business: making a “misrepresentation, omission or other practice that has deceived

or could reasonably be expected to deceive or mislead a person to the detriment of

that person” and “any practice which offends established public policy or if the

practice is immoral, unethical, oppressive, unscrupulous or substantially injurious to

consumers.” OKLA. STAT. TIT. 15, §§ 752–753.

      1367. Oklahoma Plaintiff and the Oklahoma Subclass members are “persons”

under OKLA. STAT. TIT. 15, § 752.

      1368. Ford is a “person,” “corporation,” or “association” within the meaning

of OKLA. STAT. TIT. 15, § 15-751(1).




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      1369. The sale or lease of a Coastdown Cheating Vehicle to Plaintiff was a

“consumer transaction” within the meaning of OKLA. STAT. TIT. 15, § 752 and Ford’s

actions as set forth herein occurred in the conduct of trade or commerce.

      1370. Ford’s acts were made knowingly, intentionally, and with malice. Ford

demonstrated a complete lack of care and acted in reckless disregard of the rights of

Oklahoma Plaintiff and the Oklahoma Subclass. Oklahoma Plaintiff and the

Oklahoma Subclass and the other Class members are therefore entitled to an award

of punitive damages to the extent permitted under applicable law.

      1371. Ford’s conduct as alleged herein was unconscionable because (1) Ford,

knowingly or had reason to know, took advantage of consumers reasonably unable

to protect their interests because of their ignorance of Ford’s fraudulent omissions

and representations; (2) at the time the consumer transaction was entered into, Ford

knew or had reason to know that the price the consumers were charged grossly

exceeded the price at which they would have paid if they had known of Ford’s

scheme, and (3) Ford knew or had reason to know that the transaction it induced the

consumers to enter into was excessively one-sided in favor of Ford.

      1372. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Oklahoma Plaintiff and the

Oklahoma Subclass.




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      1373. Oklahoma Plaintiff and the Oklahoma Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Oklahoma Plaintiff and the Oklahoma Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Oklahoma CPA.

      1374. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Oklahoma CPA. As a direct and proximate result

of Ford’s violations of the Oklahoma CPA, Oklahoma Plaintiff and the Oklahoma

Subclass have suffered injury-in-fact and/or actual damage.

      1375. Ford’s violations present a continuing risk to Oklahoma Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1376. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.




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      1377. Because Ford’s unconscionable conduct caused injury to Oklahoma

Plaintiff, Oklahoma Plaintiff seeks recovery of actual damages, discretionary

penalties up to $2,000 per violation, and reasonable attorneys’ fees, under OKLA.

STAT. TIT. 15, § 761.1. Plaintiffs further seek an order enjoining Ford’s unfair and/or

deceptive acts or practices, and any other just and proper relief available under the

Oklahoma CPA.

                                     COUNT 64

                             BREACH OF CONTRACT
                          (BASED ON OKLAHOMA LAW)
      1378. Oklahoma Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1379. This claim is brought by Oklahoma Plaintiff on behalf of the Oklahoma

Subclass.

      1380. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Oklahoma Plaintiff and the Oklahoma Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Oklahoma Plaintiff and the Oklahoma Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,


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and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Oklahoma Plaintiff and the Oklahoma Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1381. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Oklahoma Plaintiff and the Oklahoma Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1382. As a direct and proximate result of Ford’s breach of contract, Oklahoma

Plaintiff and the Oklahoma Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 65

                          FRAUDULENT CONCEALMENT
                          (BASED ON OKLAHOMA LAW)

      1383. Oklahoma Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.


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      1384. This claim is brought by Oklahoma Plaintiff on behalf of the Oklahoma

Subclass.

      1385. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Oklahoma Plaintiff and the Oklahoma Subclass information

that is highly relevant to their purchasing decision.

      1386. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1387. Ford further affirmatively misrepresented to Oklahoma Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1388. Ford knew these representations were false when made.




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      1389. The Coastdown Cheating Vehicles purchased or leased by Oklahoma

Plaintiff and the Oklahoma Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1390. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Oklahoma Plaintiff and the

Oklahoma Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      1391. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1392. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Oklahoma Plaintiffs and the Oklahoma Subclass did not know of these facts




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and Ford actively concealed these facts from Oklahoma Plaintiff and the Oklahoma

Subclass.

      1393. Oklahoma Plaintiff and the Oklahoma Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Oklahoma Plaintiff and the Oklahoma

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Oklahoma Plaintiff and the Oklahoma Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1394. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Oklahoma Plaintiff and the Oklahoma Subclass

placed in its representations.

      1395. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Oklahoma Plaintiff and the Oklahoma Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.



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      1396. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Oklahoma Plaintiff and the Oklahoma Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Oklahoma Plaintiff and the Oklahoma Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Oklahoma Plaintiff and the

Oklahoma Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Oklahoma Plaintiff and the Oklahoma Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact




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the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1397. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Oklahoma

Plaintiff and the Oklahoma Subclass.

      1398. Ford has still not made full and adequate disclosures and continues to

defraud Oklahoma Plaintiff and the Oklahoma Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1399. Oklahoma Plaintiff and the Oklahoma Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Oklahoma Plaintiff’s and the Oklahoma Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Oklahoma Plaintiff, or, Oklahoma Subclass members.

      1400. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Oklahoma Plaintiff and the Oklahoma Subclass



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have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Oklahoma Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1401. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Oklahoma Plaintiff and the Oklahoma Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1402. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Oklahoma Plaintiff’s

and the Oklahoma Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




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      Claims Brought on Behalf of the Oregon Subclass

                                     COUNT 66

                         VIOLATION OF THE OREGON
                      UNLAWFUL TRADE PRACTICES ACT
                        (OR. REV. STAT. § 646.605 et seq.)

      1403. Plaintiff Dustin Dawson (“Oregon Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      1404. This claim is brought by Oregon Plaintiff on behalf of the Oregon

Subclass.

      1405. The Oregon Unlawful Trade Practices Act (“Oregon UTPA”) prohibits

a person from, in the course of the person’s business, doing any of the following:

representing that goods have characteristics uses, benefits, or qualities that they do

not have; representing that goods are of a particular standard or quality if they are of

another; advertising goods or services with intent not to provide them as advertised

and certified; and engaging in any other unfair or deceptive conduct in trade or

commerce. OR. REV. STAT. § 646.608(1).

      1406. Ford is a person within the meaning of OR. REV. STAT. § 646.605(4).

      1407. Each Coastdown Cheating Vehicle is a “good” obtained primarily for

personal family or household purposes within the meaning of OR. REV. STAT.

§ 646.605(6).




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      1408. Ford engaged in unlawful trade practices that violated the Oregon

UTPA when Ford knowingly failed to disclose that the Coastdown Cheating

Vehicles did not have the advertised and certified fuel economy and also contained

a mileage cheat device to continually misrepresent the mileage to the consumer; and

that the fuel economy was far worse than a reasonable consumer would expect given

the premium paid for these vehicles over a comparable vehicle.

      1409. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1410. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Oregon Plaintiff and the Oregon Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,




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the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1411. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Oregon Plaintiff

and the Oregon Subclass.

      1412. Ford knew or should have known that its conduct violated the Oregon

UTPA.

      1413. Ford owed Oregon Plaintiff and the Oregon Subclass members a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

            b.     Intentionally concealed the foregoing from Oregon
                   Plaintiff and the Oregon Subclass; and/or
            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Oregon Plaintiff and the Oregon
                   Subclass that contradicted these representations.

      1414. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Oregon Plaintiff and the

Oregon Subclass.


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      1415. Oregon Plaintiff and the Oregon Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Oregon Plaintiff and the Oregon Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Oregon UTPA.

      1416. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Oregon UTPA. As a direct and proximate result

of Ford’s violations of the Oregon UTPA, Oregon Plaintiff and the Oregon Subclass

have suffered injury-in-fact and/or actual damage.

      1417. Ford’s violations present a continuing risk to Oregon Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1418. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.




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      1419. Oregon Plaintiff and the Oregon Subclass are entitled to recover the

greater of actual damages or $200 pursuant to OR. REV. STAT. § 646.638(1). Oregon

Plaintiff and the Oregon Subclass are also entitled to punitive damages because Ford

engaged in conduct amounting to a particularly aggravated, deliberate disregard of

the rights of others.

      1420. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Oregon in

accordance with OR. REV. STAT. § 646.638(2).

                                   COUNT 67

                            BREACH OF CONTRACT
                           (BASED ON OREGON LAW)

      1421. Oregon Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1422. This claim is brought by Oregon Plaintiff on behalf of the Oregon

Subclass.

      1423. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Oregon Plaintiff and the Oregon Subclass to make their purchases

or leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and


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omissions, Oregon Plaintiff and the Oregon Subclass would not have purchased or

leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage

or fuel efficiency cheat device. Accordingly, Oregon Plaintiff and the Oregon

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

        1424. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Oregon Plaintiff and the Oregon Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1425. As a direct and proximate result of Ford’s breach of contract, Oregon

Plaintiff and the Oregon Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.




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                                     COUNT 68

                          FRAUDULENT CONCEALMENT
                            (BASED ON OREGON LAW)

      1426. Oregon Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1427. This claim is brought by Oregon Plaintiff on behalf of the Oregon

Subclass.

      1428. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Oregon Plaintiff and the Oregon Subclass information that

is highly relevant to their purchasing decision.

      1429. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1430. Ford further affirmatively misrepresented to Oregon Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling


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had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1431. Ford knew these representations were false when made.

      1432. The Coastdown Cheating Vehicles purchased or leased by Oregon

Plaintiff and the Oregon Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1433. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Oregon Plaintiff and the

Oregon Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1434. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.




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      1435. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Oregon Plaintiffs and the Oregon Subclass did not know of these facts and

Ford actively concealed these facts from Oregon Plaintiff and the Oregon Subclass.

      1436. Oregon Plaintiff and the Oregon Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Oregon Plaintiff and the Oregon Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Oregon Plaintiff and the Oregon Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1437. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Oregon Plaintiff and the Oregon Subclass placed

in its representations.

      1438. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Oregon Plaintiff and the Oregon Subclass



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members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1439. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Oregon Plaintiff and the Oregon Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Oregon Plaintiff and the Oregon Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Oregon Plaintiff and the

Oregon Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Oregon Plaintiff and the Oregon Subclass members



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that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      1440. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Oregon Plaintiff

and the Oregon Subclass.

      1441. Ford has still not made full and adequate disclosures and continues to

defraud Oregon Plaintiff and the Oregon Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1442. Oregon Plaintiff and the Oregon Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Oregon Plaintiff’s and the Oregon Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Oregon Plaintiff, or, Oregon Subclass members.




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      1443. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Oregon Plaintiff and the Oregon Subclass have

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Oregon Plaintiff and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      1444. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Oregon Plaintiff and the Oregon Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1445. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Oregon Plaintiff’s

and the Oregon Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




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      Claims Brought on Behalf of the Pennsylvania Subclass

                                      COUNT 69

           VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE
             PRACTICES AND CONSUMER PROTECTION LAW
                  (73 PA. CONS. STAT. § 201-1 ET SEQ.)

      1446. Plaintiff Steven Hull (“Pennsylvania Plaintiff”) hereby incorporate by

reference the allegations contained in the preceding paragraphs of this complaint.

      1447. This claim is brought by Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      1448. The Pennsylvania Unfair Trade Practices and Consumer Protection

Law (“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including

representing that goods or services have characteristics, benefits or qualities that they

do not have; representing that goods or services are of a particular standard, quality

or grade if they are of another; advertising goods or services with intent not to sell

them as advertised and certified; and engaging in any other fraudulent or deceptive

conduct which creates a likelihood of confusion or misunderstanding. 73 PA. CONS.

STAT. § 201-2(4).

      1449. Ford, Pennsylvania Plaintiff, and Pennsylvania Class members are

“persons” within the meaning of 73 PA. CONS. STAT. § 201-2(2).




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      1450. Pennsylvania Plaintiff purchased a Coastdown Cheating Vehicle

primarily for personal, family, or household purposes within the meaning of 73 PA.

CONS. STAT. § 201-9.2.

      1451. All of the acts complained of herein were perpetrated by Ford in the

course of trade or commerce within the meaning of 73 PA. CONS. STAT. § 201-2(3).

      1452. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contained a

mileage cheat device, and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle.

      1453. Ford also willfully failed to disclose that the Coastdown Cheating

Vehicles do not have the advertised fuel economy, contain a mileage cheat device;

and that fuel economy were far worse than a reasonable consumer would expect

given the premium paid for these vehicles over a comparable vehicle. Ford also

engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression, or omission of any

material fact with intent that others rely upon such concealment, suppression, or

omission, in connection with the sale of the Coastdown Cheating Vehicles.

      1454. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Pennsylvania Plaintiff and the



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Pennsylvania Subclass members, about the true performance of the Coastdown

Cheating Vehicles, the lower fuel economy, the shorter range of the vehicle due to

its lower fuel economy, the increased environmental impact of Ford vehicles, and

the true value of the Coastdown Cheating Vehicles.

      1455. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Pennsylvania

Plaintiff and the Pennsylvania Subclass.

      1456. Ford knew or should have known that its conduct violated the

Pennsylvania CPL.

      1457. Ford owed Pennsylvania Plaintiff and the Pennsylvania Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.      Possessed exclusive knowledge that it manipulated
                    the testing, certification, and onboard vehicle
                    reporting of fuel efficiency;
            b.      Intentionally concealed the foregoing from
                    Pennsylvania Plaintiff and the Pennsylvania
                    Subclass; and/or

            c.      Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy or presence of a fuel
                    efficiency cheat device in the Coastdown Cheating
                    Vehicles, while purposefully withholding material
                    facts from Pennsylvania Plaintiff and the
                    Pennsylvania Subclass that contradicted these
                    representations.


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      1458. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Pennsylvania Plaintiff and the

Pennsylvania Subclass.

      1459. Pennsylvania Plaintiff and the Pennsylvania Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. Pennsylvania Plaintiff and the Pennsylvania

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the Pennsylvania CPL.

      1460. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Pennsylvania CPL. As a direct and proximate

result of Ford’s violations of the Pennsylvania CPL, Pennsylvania Plaintiff and the

Pennsylvania Subclass have suffered injury-in-fact and/or actual damage.

      1461. Ford’s violations present a continuing risk to Pennsylvania Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1462. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma



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attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1463. Ford is liable to Plaintiffs and the Pennsylvania Subclass for treble their

actual damages or $100, whichever is greater, and attorneys’ fees and costs. 73 PA.

CONS. STAT. § 201-9.2(a). Plaintiffs and the Pennsylvania Subclass are also entitled

to an award of punitive damages given that Ford’s conduct was malicious, wanton,

willful, oppressive, or exhibited a reckless indifference to the rights of others.

                                     COUNT 70

                           BREACH OF CONTRACT
                       (BASED ON PENNSYLVANIA LAW)

      1464. Pennsylvania Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1465. This claim is brought by Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      1466. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Pennsylvania Plaintiff and the Pennsylvania Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Pennsylvania Plaintiff and the Pennsylvania

Subclass would not have purchased or leased the Coastdown Cheating Vehicles,


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would not have purchased or leased the Coastdown Cheating Vehicles at the prices

they paid, and/or would have purchased or leased less expensive alternative vehicles

that did not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Pennsylvania Plaintiff and the Pennsylvania Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1467. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Pennsylvania Plaintiff and the Pennsylvania

Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      1468. As a direct and proximate result of Ford’s breach of contract,

Pennsylvania Plaintiff and the Pennsylvania Subclass have been damaged in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.




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                                     COUNT 71

                         FRAUDULENT CONCEALMENT
                       (BASED ON PENNSYLVANIA LAW)

      1469. Pennsylvania Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1470. This claim is brought by Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      1471. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Pennsylvania Plaintiff and the Pennsylvania Subclass

information that is highly relevant to their purchasing decision.

      1472. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1473. Ford further affirmatively misrepresented to Pennsylvania Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling


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had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1474. Ford knew these representations were false when made.

      1475. The Coastdown Cheating Vehicles purchased or leased by

Pennsylvania Plaintiff and the Pennsylvania Subclass were, in fact, defective, with

reduced fuel efficiency and a fuel efficiency cheat device.

      1476. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Pennsylvania Plaintiff and

the Pennsylvania Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      1477. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.




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      1478. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Pennsylvania Plaintiff and the Pennsylvania Subclass did not know of these

facts and Ford actively concealed these facts from Pennsylvania Plaintiff and the

Pennsylvania Subclass.

      1479. Pennsylvania Plaintiff and the Pennsylvania Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Pennsylvania Plaintiff and the

Pennsylvania Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Pennsylvania Plaintiff and the Pennsylvania

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      1480. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Pennsylvania Plaintiff and the Pennsylvania

Subclass placed in its representations.

      1481. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because



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the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Pennsylvania Plaintiff and the Pennsylvania

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1482. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Pennsylvania Plaintiff and the Pennsylvania Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to Pennsylvania Plaintiff and the Pennsylvania Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by Pennsylvania

Plaintiff and the Pennsylvania Subclass members. Whether an automobile is fuel



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efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to Pennsylvania Plaintiff and the

Pennsylvania Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1483. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Pennsylvania

Plaintiff and the Pennsylvania Subclass.

      1484. Ford has still not made full and adequate disclosures and continues to

defraud Pennsylvania Plaintiff and the Pennsylvania Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      1485. Pennsylvania Plaintiff and the Pennsylvania Subclass were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Pennsylvania Plaintiff’s and the Pennsylvania Subclass members’ actions



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were justified. Ford was in exclusive control of the material facts, and such facts

were not generally known to the public, Pennsylvania Plaintiff, or, Pennsylvania

Subclass members.

      1486. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Pennsylvania Plaintiff and the Pennsylvania

Subclass have sustained damage because they overpaid for their vehicles and own

vehicles that diminished in value as a result of Ford’s concealment, and suffered and

continue to suffer increased fuel costs over what was represented by Ford. Had they

been aware of the true facts, Pennsylvania Plaintiff and Class members would not

have purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1487. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Pennsylvania Plaintiff and the Pennsylvania Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      1488. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Pennsylvania

Plaintiff’s and the Pennsylvania Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of




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punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

      Claims Brought on Behalf of the South Carolina Subclass
                                    COUNT 72

                     VIOLATION OF THE SOUTH CAROLINA
                        UNFAIR TRADE PRACTICES ACT
                         (S.C. CODE ANN. § 39-5-10 et seq.)

      1489. Plaintiff Matthew Brownlee (“South Carolina Plaintiff”) hereby

incorporates by reference the allegations contained in the preceding paragraphs of

this complaint.

      1490. This claim is brought by South Carolina Plaintiff on behalf of the South

Carolina Subclass.

      1491. The South Carolina Unfair Trade Practices Act (“South Carolina

UTPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade

or commerce.” S.C. CODE ANN. § 39-5-20(a).

      1492. Ford is a “person” under S.C. CODE ANN. § 39-5-10.

      1493. In the course of its business, Ford also willfully failed to disclose that

the Coastdown Cheating Vehicles do not have the advertised fuel economy, contain

a mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,



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deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1494. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including South Carolina Plaintiff and the South

Carolina Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      1495. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead South Carolina

Plaintiff and the South Carolina Subclass.

      1496. Ford knew or should have known that its conduct violated the South

Carolina UTPA.

      1497. Ford owed South Carolina Plaintiff and the South Carolina Subclass a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;



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            b.     Intentionally concealed the foregoing from South
                   Carolina Plaintiff and the South Carolina Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from South Carolina Plaintiff and the South
                   Carolina Subclass that contradicted these
                   representations.

      1498. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to South Carolina Plaintiff and

the South Carolina Subclass.

      1499. South Carolina Plaintiff and the South Carolina Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. South Carolina Plaintiff and the South

Carolina Subclass members who purchased the Coastdown Cheating Vehicles either

would have paid less for their vehicles or would not have purchased or leased them

at all but for Ford’s violations of the South Carolina UTPA.

      1500. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the South Carolina UTPA. As a direct and proximate

result of Ford’s violations of the South Carolina UTPA, South Carolina Plaintiff and

the South Carolina Subclass have suffered injury-in-fact and/or actual damage.




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      1501. Ford’s violations present a continuing risk to South Carolina Plaintiff

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      1502. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1503. Pursuant to S.C. CODE ANN. § 39-5-140(a), Plaintiff seeks monetary

relief to recover their economic losses. Because Ford’s actions were willful and

knowing, Plaintiffs’ damages should be trebled.

      1504. Plaintiff further alleges that Ford’s malicious and deliberate conduct

warrants an assessment of punitive damages because it carried out despicable

conduct with willful and conscious disregard of the rights of others. Ford’s unlawful

conduct constitutes malice, oppression, and fraud warranting punitive damages.

      1505. Plaintiff further seeks an order enjoining each Ford’s unfair or

deceptive acts or practices.




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                                     COUNT 73

              VIOLATION OF THE SOUTH CAROLINA
       REGULATION OF MANUFACTURERS, DISTRIBUTORS, AND
                          DEALERS ACT
                 (S.C. CODE ANN. § 56-15-10 et seq.)

      1506. South Carolina Plaintiff hereby incorporates by reference the

allegations contained in the preceding paragraphs of this complaint.

      1507. This claim is brought by South Carolina Plaintiff on behalf of the South

Carolina Subclass.

      1508. Ford is a “manufacturer” under S.C. CODE ANN. § 56-15-10.

      1509. Ford participated in unfair or deceptive acts or practices that violated

the South Carolina Regulation of Manufacturers, Distributors, and Dealers Act

(“Dealers Act”) by willfully failing to disclose that the Coastdown Cheating

Vehicles do not have the advertised fuel economy, contain a mileage cheat device,

and that the fuel economy was far worse than a reasonable consumer would expect

given the premium paid for these vehicles over a comparable vehicle.

      1510. Ford’s bad faith and unconscionable actions include, but are not limited

to:

            a.       Representing that the Coastdown Cheating Vehicles
                     have characteristics, uses, benefits, and qualities
                     that they do not have;

            b.       Representing that the Coastdown Cheating Vehicles
                     are of a particular standard, quality, and grade when
                     they are not;


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             c.     Advertising the Coastdown Cheating vehicles are of
                    a particular standard, quality, and grade when they
                    are not;

             d.     Representing that a transaction involving the
                    Coastdown Cheating Vehicles confers or involves
                    rights, remedies, and obligations that it does not;
                    and/or
             e.     Representing that the subject of a transaction
                    involving the Coastdown Cheating Vehicles has
                    been supplied in accordance with a previous
                    representation when it has not.
      1511. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to South Carolina Plaintiff and

the South Carolina Subclass.

      1512. South Carolina Plaintiff and the South Carolina Subclass suffered

ascertainable loss caused by Ford’s unfair or deceptive acts or practices. South

Carolina Plaintiff and the South Carolina Subclass would not have purchased the

vehicle or would have paid less for it but for Ford’s violations of the Dealers Act.

South Carolina Plaintiff and the South Carolina Subclass has suffered an

ascertainable loss as a result of Ford’s violations of the Dealers Act.

      1513. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Dealers Act. As a direct and proximate result of

Ford’s violations of the Dealers Act, South Carolina Plaintiff and the South Carolina

Subclass have suffered injury-in-fact and/or actual damage.




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      1514. Ford’s violations present a continuing risk to South Carolina Plaintiff

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      1515. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1516. Pursuant to S.C. CODE ANN. § 56-15-110, Plaintiff seeks monetary

relief to recover their economic losses. Because Ford’s actions were willful and

knowing, Plaintiffs’ damages should be trebled.

      1517. Plaintiff further alleges that Ford’s malicious and deliberate conduct

warrants an assessment of punitive damages because it carried out despicable

conduct with willful and conscious disregard of the rights of others. Ford’s unlawful

conduct constitutes malice, oppression, and fraud warranting punitive damages.

      1518. Plaintiff further seeks an order enjoining each Ford’s unfair or

deceptive acts or practices.




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                                    COUNT 74

                          BREACH OF CONTRACT
                     (BASED ON SOUTH CAROLINA LAW)

      1519. South Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1520. This claim is brought by the South Carolina Plaintiff on behalf of South

Carolina Subclass.

      1521. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused South Carolina Plaintiff and the South Carolina Subclass members

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, South Carolina Plaintiff and the South Carolina

Subclass members would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage or fuel efficiency cheat

device. Accordingly, South Carolina Plaintiff and the South Carolina Subclass

members overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.




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      1522. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to South Carolina Plaintiff and the South Carolina

Subclass members defective Coastdown Cheating Vehicles and by misrepresenting

or failing to disclose that the Coastdown Cheating Vehicles do not provide the fuel

efficiency that was advertised and certified, and their mileage is far worse than a

reasonable consumer would expect given the premium paid for these vehicles and

the representation made by Ford.

      1523. As a direct and proximate result of Ford’s breach of contract, South

Carolina Plaintiff and the South Carolina Subclass have been damaged in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

                                   COUNT 75

                      FRAUDULENT CONCEALMENT
                    (BASED ON SOUTH CAROLINA LAW)

      1524. South Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1525. This claim is brought by the South Carolina Plaintiff on behalf of the

South Carolina Subclass.

      1526. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and


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their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied South Carolina Plaintiff and the

South Carolina Subclass members information that is highly relevant to their

purchasing decision.

      1527. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1528. Ford further affirmatively misrepresented to South Carolina Plaintiff

and the South Carolina Subclass in advertising and other forms of communication,

including standard and uniform material provided with each car that the Coastdown

Cheating Vehicles it was selling had no significant defects, had the advertised and

certified fuel efficiency, and did not reveal the existence of a mileage cheat device.

      1529. Ford knew these representations were false when made.

      1530. The Coastdown Cheating Vehicles purchased or leased by South

Carolina Plaintiff and the South Carolina Subclass members were, in fact, defective,

with reduced fuel efficiency and a fuel efficiency cheat device.




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      1531. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because South Carolina Plaintiff and

the South Carolina Subclass members relied on Ford’s material representations or

omissions of fact that the Coastdown Cheating Vehicles they were purchasing were

fuel efficient and free from defects.

      1532. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1533. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; South Carolina Plaintiff and the South Carolina Subclass members did not

know of these facts and Ford actively concealed these facts from South Carolina

Plaintiff and the South Carolina Subclass members.

      1534. South Carolina Plaintiff and the South Carolina Subclass members

reasonably relied upon Ford’s deception. They had no way of knowing that Ford’s



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representations were false and/or misleading. As consumers, South Carolina

Plaintiff and the South Carolina Subclass members did not, and could not, unravel

Ford’s deception on their own. Rather, Ford intended to deceive South Carolina

Plaintiff and the South Carolina Subclass members by concealing the true facts about

the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1535. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that South Carolina Plaintiff and the South Carolina

Subclass members placed in its representations.

      1536. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including South Carolina Plaintiff and the South Carolina

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1537. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these



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vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by South Carolina Plaintiff and the South Carolina Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to South Carolina Plaintiff and the South Carolina Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by South Carolina

Plaintiff and the South Carolina Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to South Carolina Plaintiff and

the South Carolina Subclass members that they were purchasing or leasing fuel

efficient vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1538. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its



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vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of South Carolina

Plaintiff and the South Carolina Subclass members.

      1539. Ford has still not made full and adequate disclosures and continues to

defraud South Carolina Plaintiff and the South Carolina Subclass members by

concealing material information regarding the fuel efficiency of its Coastdown

Cheating Vehicles.

      1540. South Carolina Plaintiff and the South Carolina Subclass members

were unaware of the omitted material facts referenced herein, and they would not

have acted as they did if they had known of the concealed and/or suppressed facts,

in that they would not have purchased purportedly fuel efficient vehicles

manufactured by Ford, and/or would have taken other affirmative steps in light of

the information concealed from them. South Carolina Plaintiff’s and the South

Carolina Subclass members’ actions were justified. Ford was in exclusive control of

the material facts, and such facts were not generally known to the public, South

Carolina Plaintiff, or the South Carolina Subclass members.

      1541. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to South Carolina Plaintiff and the South Carolina Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all




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compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      1542. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of South Carolina

Plaintiff’s and South Carolina Subclass members’ rights and the representations that

Ford made to them were made in order to enrich Ford. Ford’s conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in the

future, which amount is to be determined according to proof.

      Claims Brought on Behalf of the South Dakota Subclass

                                    COUNT 76

           VIOLATION OF THE SOUTH DAKOTA DECEPTIVE
         TRADE PRACTICES AND CONSUMER PROTECTION LAW
                   (S.D. CODIFIED LAWS § 37-24-6)

      1543. Plaintiff Robert Raney (“South Dakota Plaintiff”) hereby incorporates

by reference the allegations contained in the preceding paragraphs of this complaint.

      1544. This claim is brought by South Dakota Plaintiff on behalf of the South

Dakota Subclass.

      1545. The South Dakota Deceptive Trade Practices and Consumer Protection

Law (“South Dakota CPL”) prohibits deceptive acts or practices, which include

“[k]nowingly act[ing], us[ing], or employ[ing] any deceptive act or practice, fraud,

false pretense, false promises, or misrepresentation or to conceal, suppress, or omit



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any material fact in connection with the sale or advertisement of any merchandise,

regardless of whether any person has in fact been misled, deceived, or damaged

thereby.” S.D. CODIFIED LAWS §§ 37-24-6(1), 37-24-31.

      1546. All of the acts complained of herein were perpetrated by Ford in the

course of trade or commerce.

      1547. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle.

      1548. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1549. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including South Dakota Plaintiff and the South

Dakota Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower




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fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      1550. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead South Dakota

Plaintiff and the South Dakota Subclass.

      1551. Ford knew or should have known that its conduct violated the South

Dakota CPL.

      1552. Ford owed South Dakota Plaintiff and the South Dakota Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

            b.     Intentionally concealed the foregoing from South
                   Dakota Plaintiff and the South Dakota Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from South Dakota Plaintiff and the South
                   Dakota Subclass that contradicted these
                   representations.




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      1553. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to South Dakota Plaintiff and the

South Dakota Subclass.

      1554. South Dakota Plaintiff and the South Dakota Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. South Dakota Plaintiff and the South Dakota

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the South Dakota CPL.

      1555. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the South Dakota CPL. As a direct and proximate

result of Ford’s violations of the South Dakota CPL, South Dakota Plaintiff and the

South Dakota Subclass have suffered injury-in-fact and/or actual damage.

      1556. Ford’s violations present a continuing risk to South Dakota Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1557. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma



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attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1558. Under S.D. CODIFIED LAWS § 37-24-31, Plaintiffs are entitled to a

recovery of their actual damages suffered as a result of Ford’s acts and practices.

                                    COUNT 77

                           BREACH OF CONTRACT
                       (BASED ON SOUTH DAKOTA LAW)
      1559. South Dakota Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1560. This claim is brought by the South Dakota Plaintiff on behalf of South

Dakota Subclass.

      1561. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused South Dakota Plaintiff and the South Dakota Subclass members to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, South Dakota Plaintiff and the South Dakota

Subclass members would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage or fuel efficiency cheat


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device. Accordingly, South Dakota Plaintiff and the South Dakota Subclass

members overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      1562. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to South Dakota Plaintiff and the South Dakota

Subclass Class members defective Coastdown Cheating Vehicles and by

misrepresenting or failing to disclose that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford.

      1563. As a direct and proximate result of Ford’s breach of contract, South

Dakota Plaintiff and the South Dakota Subclass have been damaged in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

                                     COUNT 78

                        FRAUDULENT CONCEALMENT
                      (BASED ON SOUTH DAKOTA LAW)

      1564. South Dakota Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.




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      1565. This claim is brought by the South Dakota Plaintiff on behalf of the

South Dakota Subclass.

      1566. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied South Dakota Plaintiff and the South

Dakota Subclass members information that is highly relevant to their purchasing

decision.

      1567. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1568. Ford further affirmatively misrepresented to South Dakota Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1569. Ford knew these representations were false when made.



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      1570. The Coastdown Cheating Vehicles purchased or leased by South

Dakota Plaintiff and the South Dakota Subclass members were, in fact, defective,

with reduced fuel efficiency and a fuel efficiency cheat device.

      1571. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because South Dakota Plaintiff and

the South Dakota Subclass members relied on Ford’s material representations or

omissions of fact that the Coastdown Cheating Vehicles they were purchasing were

fuel efficient and free from defects.

      1572. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1573. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; South Dakota Plaintiff and the South Dakota Subclass members did not know




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of these facts and Ford actively concealed these facts from South Dakota Plaintiff

and the South Dakota Subclass members.

      1574. South Dakota Plaintiff and the South Dakota Subclass members

reasonably relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, South Dakota Plaintiff

and the South Dakota Subclass members did not, and could not, unravel Ford’s

deception on their own. Rather, Ford intended to deceive South Dakota Plaintiff and

the South Dakota Subclass members by concealing the true facts about the

Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1575. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that South Dakota Plaintiff and the South Dakota

Subclass members placed in its representations.

      1576. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including South Dakota Plaintiff and the South Dakota




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Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1577. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by South Dakota Plaintiff and the South Dakota Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to South Dakota Plaintiff and the South Dakota Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by South Dakota

Plaintiff and the South Dakota Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to South Dakota Plaintiff and the



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South Dakota Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1578. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of South Dakota

Plaintiff and the South Dakota Subclass members.

      1579. Ford has still not made full and adequate disclosures and continues to

defraud South Dakota Plaintiff and the South Dakota Subclass members by

concealing material information regarding the fuel efficiency of its Coastdown

Cheating Vehicles.

      1580. South Dakota Plaintiff and the South Dakota Subclass members were

unaware of the omitted material facts referenced herein, and they would not have

acted as they did if they had known of the concealed and/or suppressed facts, in that

they would not have purchased purportedly fuel efficient vehicles manufactured by

Ford, and/or would have taken other affirmative steps in light of the information

concealed from them. South Dakota Plaintiff’s and the South Dakota Subclass

members’ actions were justified. Ford was in exclusive control of the material facts,




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and such facts were not generally known to the public, South Dakota Plaintiff, or

South Dakota Subclass members.

      1581. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to South Dakota Plaintiff and the South Dakota Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      1582. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of South Carolina

Plaintiff’s and South Dakota Subclass members’ rights and the representations that

Ford made to them were made in order to enrich Ford. Ford’s conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in the

future, which amount is to be determined according to proof.

      Claims Brought on Behalf of the Tennessee Subclass
                                    COUNT 79

    VIOLATION OF THE TENNESSEE CONSUMER PROTECTION ACT
                  (TENN. CODE § 47-18-101, et seq.)

      1583. Plaintiff James Williams (“Tennessee Plaintiff”) incorporates by

reference all paragraphs alleged herein.

      1584. This claim is brought by Tennessee Plaintiff on behalf of the Tennessee

Subclass.


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       1585. Tennessee Plaintiff and the Tennessee Subclass are “natural persons”

and “consumers” within the meaning of TENN. CODE § 47-18-103(2).

       1586. Ford is a “person” within the meaning of TENN. CODE § 47-18-103(2).

       1587. Ford’s conduct complained of herein affected “trade,” “commerce” or

“consumer transactions” within the meaning of TENN. CODE § 47-18-103(19).

       1588. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits

“[u]nfair or deceptive acts or practices affecting the conduct of any trade or

commerce,” including but not limited to: “Representing that goods or services have

. . . characteristics, [or] . . . benefits . . . that they do not have . . . .”; “Representing

that goods or services are of a particular standard, quality or grade . . . if they are of

another”; and “Advertising goods or services with intent not to sell them as

advertised.” TENN. CODE § 47-18-104. Ford violated the Tennessee CPA by

engaging in unfair or deceptive acts, including representing that Coastdown

Cheating Vehicles have characteristics or benefits that they did not have;

representing that Coastdown Cheating Vehicles are of a particular standard, quality,

or grade when they are of another; and advertising Coastdown Cheating Vehicles

with intent not to sell them as advertised.

       1589. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contained a

mileage cheat device, and that fuel economy were far worse than a reasonable



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consumer would expect given the premium paid for these vehicles over a comparable

vehicle.

      1590. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1591. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Tennessee Plaintiff and the Tennessee

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1592. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Tennessee

Plaintiff and the Tennessee Subclass.

      1593. Ford knew or should have known that its conduct violated the

Tennessee CPA.




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      1594. Ford owed Tennessee Plaintiff and the Tennessee Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.    Possessed exclusive knowledge that it manipulated
                  the testing, certification, and onboard vehicle
                  reporting of fuel efficiency;

            b.    Intentionally concealed the foregoing from
                  Tennessee Plaintiff and the Tennessee Subclass;
                  and/or
            c.    Made incomplete representations that it
                  manipulated the certification testing and failed to
                  disclose the true fuel economy or presence of a fuel
                  efficiency cheat device in the Coastdown Cheating
                  Vehicles, while purposefully withholding material
                  facts from Tennessee Plaintiff and the Tennessee
                  Subclass that contradicted these representations.

      1595. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Tennessee Plaintiff and the

Tennessee Subclass.

      1596. Tennessee Plaintiff and the Tennessee Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Tennessee Plaintiff and the Tennessee Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Tennessee CPA.




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      1597. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Tennessee CPA. As a direct and proximate result

of Ford’s violations of the Tennessee CPA, Tennessee Plaintiff and the Tennessee

Subclass have suffered injury-in-fact and/or actual damage.

      1598. Ford’s violations present a continuing risk to Tennessee Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1599. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1600. Pursuant to TENN. CODE § 47-18-109(a), Tennessee Plaintiff,

individually and on behalf of the Tennessee Subclass members, seeks monetary

relief against Ford measured as actual damages in an amount to be determined at

trial, treble damages as a result of Ford’s willful or knowing violations, and any other

just and proper relief available under the Tennessee CPA.




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                                    COUNT 80

                            BREACH OF CONTRACT
                          (BASED ON TENNESSEE LAW)

      1601. Tennessee Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1602. This claim is brought by Tennessee Plaintiff on behalf of the Tennessee

Subclass.

      1603. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Tennessee Plaintiff and the Tennessee Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Tennessee Plaintiff and the Tennessee Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Tennessee Plaintiff and the Tennessee Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1604. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


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contracts by selling or leasing to Tennessee Plaintiff and the Tennessee Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1605. As a direct and proximate result of Ford’s breach of contract, Tennessee

Plaintiff and the Tennessee Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                     COUNT 81

                          FRAUDULENT CONCEALMENT
                           (BASED ON TENNESSEE LAW)
      1606. Tennessee Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1607. This claim is brought by Tennessee Plaintiff on behalf of the Tennessee

Subclass.

      1608. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


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for the truth and denied Tennessee Plaintiff and the Tennessee Subclass information

that is highly relevant to their purchasing decision.

      1609. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1610. Ford further affirmatively misrepresented to Tennessee Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1611. Ford knew these representations were false when made.

      1612. The Coastdown Cheating Vehicles purchased or leased by Tennessee

Plaintiff and the Tennessee Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1613. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Tennessee Plaintiff and the



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Tennessee Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      1614. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1615. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Tennessee Plaintiff and the Tennessee Subclass did not know of these facts

and Ford actively concealed these facts from Tennessee Plaintiff and the Tennessee

Subclass.

      1616. Tennessee Plaintiff and the Tennessee Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Tennessee Plaintiff and the Tennessee

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Tennessee Plaintiff and the Tennessee Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.



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      1617. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Tennessee Plaintiff and the Tennessee Subclass

placed in its representations.

      1618. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Tennessee Plaintiff and the Tennessee Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1619. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Tennessee Plaintiff and the Tennessee Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the



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qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Tennessee Plaintiff and the Tennessee Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Tennessee Plaintiff and the

Tennessee Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Tennessee Plaintiff and the Tennessee Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1620. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Tennessee

Plaintiff and the Tennessee Subclass.




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      1621. Ford has still not made full and adequate disclosures and continues to

defraud Tennessee Plaintiff and the Tennessee Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1622. Tennessee Plaintiff and the Tennessee Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Tennessee Plaintiff’s and the Tennessee Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Tennessee Plaintiff, or, Tennessee Subclass members.

      1623. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Tennessee Plaintiff and the Tennessee Subclass

have sustained damage because they overpaid for their vehicles and own vehicles

that diminished in value as a result of Ford’s concealment, and suffered and continue

to suffer increased fuel costs over what was represented by Ford. Had they been

aware of the true facts, Tennessee Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1624. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Tennessee Plaintiff and the Tennessee Subclass for damages in an amount



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to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1625. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Tennessee Plaintiff’s

and the Tennessee Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Texas Subclass

                                     COUNT 82

            VIOLATIONS OF THE TEXAS DECEPTIVE TRADE
            PRACTICES AND CONSUMER PROTECTION ACT
                (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

      1626. Plaintiffs David Brewer, Rosalynda Garza, Marshall B. Lloyd, and

Michael Smith (“Texas Plaintiffs”) incorporate by reference all paragraphs alleged

herein.

      1627. This claim is brought by Texas Plaintiffs on behalf of the Texas

Subclass.

      1628. Texas Plaintiffs and the Texas Subclass members are individuals with

assets of less than $25 million (or are controlled by corporations or entities with less

than $25 million in assets). See TEX. BUS. & COM. CODE § 17.41.



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      1629. The Texas Deceptive Trade Practices-Consumer Protection Act

(“Texas DTPA”) provides a private right of action to a consumer where the

consumer suffers economic damage as the result of either (i) the use of false,

misleading, or deceptive act or practice specifically enumerated in TEX. BUS. &

COM. CODE § 17.46(b); or (ii) “an unconscionable action or course of action by any

person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA declares

several specific actions to be unlawful, including: “(5) Representing that goods or

services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

qualities that they do not have”; “(7) Representing that goods or services are of a

particular standard, quality, or grade, or that goods are of a particular style or model,

if they are of another”; and “(9) advertising goods or services with intent not to sell

them as advertised.” An “unconscionable action or course of action” means “an act

or practice which, to a consumer’s detriment, takes advantage of the lack of

knowledge, ability, experience, or capacity of the consumer to a grossly unfair

degree.” TEX. BUS. & COM. CODE § 17.45(5). As detailed herein, Ford has engaged

in an unconscionable action or course of action and thereby caused economic

damages to the Texas Class.

      1630. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contained a

mileage cheat device, and that fuel economy were far worse than a reasonable



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consumer would expect given the premium paid for these vehicles over a comparable

vehicle.

      1631. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1632. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Texas Plaintiffs and the Texas Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1633. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Texas Plaintiffs

and the Texas Subclass.

      1634. Ford knew or should have known that its conduct violated the Texas

DTPA.




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      1635. Ford owed Texas Plaintiffs and the Texas Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

            b.     Intentionally concealed the foregoing from Texas
                   Plaintiffs and the Texas Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Texas Plaintiffs and the Texas Subclass
                   that contradicted these representations.

      1636. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Texas Plaintiffs and the Texas

Subclass.

      1637. Texas Plaintiffs and the Texas Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Texas Plaintiffs and the Texas Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Texas DTPA.




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      1638. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Texas DTPA. As a direct and proximate result of

Ford’s violations of the Texas DTPA, Texas Plaintiffs and the Texas Subclass have

suffered injury-in-fact and/or actual damage.

      1639. Ford’s violations present a continuing risk to Texas Plaintiffs as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      1640. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1641. On June 20, 2019, Plaintiffs sent a letter complying with TEX. BUS. &

COM. CODE Ann. § 17.505 to Ford.

      1642. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Texas in

accordance with TEX. BUS. & COM. CODE Ann. § 17:501.




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      1643. Texas Plaintiffs seek monetary relief against Ford measured as actual

damages in an amount to be determined at trial, treble damages for Ford’s knowing

violations of the Texas DTPA, and any other just and proper relief available under

the Texas DTPA.

      1644. Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE

§ 17.50(b)(3) & (4), Texas Plaintiffs are also entitled to disgorgement or to

rescission or to any other relief necessary to restore any money or property that was

acquired from Texas Plaintiffs based on violations of the Texas DTPA or which the

Court deems proper.

      1645. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Texas in

accordance with Tex. Bis. & Com. Code § 17:501.

                                    COUNT 83

                            BREACH OF CONTRACT
                            (BASED ON TEXAS LAW)

      1646. Texas Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      1647. This claim is brought by Texas Plaintiffs on behalf of the Texas

Subclass.




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        1648. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Texas Plaintiffs and the Texas Subclass to make their purchases or

leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and

omissions, Texas Plaintiffs and the Texas Subclass would not have purchased or

leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage

or fuel efficiency cheat device. Accordingly, Texas Plaintiffs and the Texas Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        1649. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Texas Plaintiffs and the Texas Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.



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      1650. As a direct and proximate result of Ford’s breach of contract, Texas

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 84

                         FRAUDULENT CONCEALMENT
                           (BASED ON TEXAS LAW)
      1651. Texas Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      1652. This claim is brought by Texas Plaintiffs on behalf of the Texas

Subclass.

      1653. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Texas Plaintiffs and the Texas Subclass information that is

highly relevant to their purchasing decision.

      1654. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to




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provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1655. Ford further affirmatively misrepresented to Texas Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1656. Ford knew these representations were false when made.

      1657. The Coastdown Cheating Vehicles purchased or leased by Texas

Plaintiffs and the Texas Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1658. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Texas Plaintiffs and the

Texas Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1659. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details



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about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1660. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Texas Plaintiffs and the Texas Subclass did not know of these facts and Ford

actively concealed these facts from Texas Plaintiffs and the Texas Subclass.

      1661. Texas Plaintiffs and the Texas Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Texas Plaintiffs and the Texas Subclass did not,

and could not, unravel Ford’s deception on their own. Rather, Ford intended to

deceive Texas Plaintiffs and the Texas Subclass by concealing the true facts about

the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1662. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Texas Plaintiffs and the Texas Subclass placed

in its representations.



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      1663. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Texas Plaintiffs and the Texas Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1664. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Texas Plaintiffs and the Texas Subclass members. Ford also had a

duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Texas Plaintiffs and the Texas Subclass members, Ford had the duty

to disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown



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Cheating Vehicles purchased or leased by Texas Plaintiffs and the Texas Subclass

members. Whether an automobile is fuel efficient and whether it accurately

measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Texas Plaintiffs and the Texas Subclass members that they were

purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      1665. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Texas Plaintiffs

and the Texas Subclass.

      1666. Ford has still not made full and adequate disclosures and continues to

defraud Texas Plaintiffs and the Texas Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1667. Texas Plaintiffs and the Texas Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.



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Texas Plaintiffs’ and the Texas Subclass members’ actions were justified. Ford was

in exclusive control of the material facts, and such facts were not generally known

to the public, Texas Plaintiffs, or Texas Subclass members.

      1668. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Texas Plaintiffs and the Texas Subclass have

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Texas Plaintiff and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      1669. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Texas Plaintiffs and the Texas Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1670. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Texas Plaintiffs’ and

the Texas Subclass’s rights and the representations that Ford made to them in order

to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an

amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.



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       Claims Brought on Behalf of the Utah Subclass

                                       COUNT 85

      VIOLATION OF THE UTAH CONSUMER SALE PRACTICES ACT
                (UTAH CODE ANN. § 13-11-1 ET SEQ.)
       1671. Plaintiff Al Balls (“Utah Plaintiff”) hereby incorporates by reference

the allegations contained in the preceding paragraphs of this complaint.

       1672. This claim is brought by Utah Plaintiff on behalf of the Utah Subclass.

       1673. The Utah Consumer Sales Practices Act (“Utah CSPA”) makes

unlawful any “deceptive act or practice by a supplier in connection with a consumer

transaction,” including but not limited to indicating that the subject of a consumer

transaction has sponsorship, approval, performance characteristics, accessories,

uses, or benefits, if it has not; indicating that the subject of a consumer transaction

is of a particular standard, quality, grade, style, or model, if it is not; and “indicat[ing]

that a specific price advantage exists, if it does not.” UTAH CODE ANN. § 13-11-4.

       1674. Ford willfully failed to disclose that the Coastdown Cheating Vehicles

do not have the advertised fuel economy, contain a mileage cheat device; and that

fuel economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact




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with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      1675. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1676. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Utah Plaintiff and the Utah Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1677. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Utah Plaintiff and

the Utah Subclass.

      1678. Ford knew or should have known that its conduct violated the Utah

CSPA.




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      1679. Ford owed Utah Plaintiff and the Utah Subclass a duty to disclose the

performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

            b.     Intentionally concealed the foregoing from Utah
                   Plaintiff and the Utah Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Utah Plaintiff and the Utah Subclass that
                   contradicted these representations.

      1680. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Utah Plaintiff and the Utah

Subclass.

      1681. Utah Plaintiff and the Utah Subclass suffered ascertainable loss caused

by Ford’s misrepresentations and its concealment of and failure to disclose material

information. Utah Plaintiff and the Utah Subclass members who purchased the

Coastdown Cheating Vehicles either would have paid less for their vehicles or would

not have purchased or leased them at all but for Ford’s violations of the Utah CSPA.

      1682. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Utah CSPA. As a direct and proximate result of


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Ford’s violations of the Utah CSPA, Utah Plaintiff and the Utah Subclass have

suffered injury-in-fact and/or actual damage.

      1683. Ford’s violations present a continuing risk to Utah Plaintiff as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      1684. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1685. Ford knew, or had reason to know, that consumers would rely on their

failure to disclose the defects in its emissions system. Ford therefore engaged in an

unconscionable act within the meaning of UTAH CODE ANN. § 13-11-5.

      1686. Pursuant to UTAH CODE ANN. § 13-11-4, Utah Plaintiff seek monetary

relief measured as the greater of (a) actual damages in an amount to be determined

at trial and (b) statutory damages in the amount of $2,000 for each Plaintiff;

reasonable attorneys’ fees; and any other just and proper relief available under the

Utah CSPA.




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      1687. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Utah in accordance

with UTAH CODE ANN. § 13-11-4, et seq.

                                    COUNT 86

                             BREACH OF CONTRACT
                             (BASED ON UTAH LAW)
      1688. Utah Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      1689. This claim is brought by Utah Plaintiff on behalf of the Utah Subclass.

      1690. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Utah Plaintiff and the Utah Subclass to make their purchases or

leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and

omissions, Utah Plaintiff and the Utah Subclass would not have purchased or leased

the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage

or fuel efficiency cheat device. Accordingly, Utah Plaintiff and the Utah Subclass




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overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        1691. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Utah Plaintiff and the Utah Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1692. As a direct and proximate result of Ford’s breach of contract, Utah

Plaintiff and the Utah Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                     COUNT 87

                         FRAUDULENT CONCEALMENT
                            (BASED ON UTAH LAW)

        1693. Utah Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

        1694. This claim is brought by Utah Plaintiff on behalf of the Utah Subclass.




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      1695. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Utah Plaintiff and the Utah Subclass information that is

highly relevant to their purchasing decision.

      1696. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1697. Ford further affirmatively misrepresented to Utah Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1698. Ford knew these representations were false when made.

      1699. The Coastdown Cheating Vehicles purchased or leased by Utah

Plaintiff and the Utah Subclass were, in fact, defective, with reduced fuel efficiency

and a fuel efficiency cheat device.



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      1700. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Utah Plaintiff and the Utah

Subclass relied on Ford’s material representations or omissions of fact that the

Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1701. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1702. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Utah Plaintiff and the Utah Subclass did not know of these facts and Ford

actively concealed these facts from Utah Plaintiff and the Utah Subclass.

      1703. Utah Plaintiff and the Utah Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Utah Plaintiff and the Utah Subclass did not, and



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could not, unravel Ford’s deception on their own. Rather, Ford intended to deceive

Utah Plaintiff and the Utah Subclass by concealing the true facts about the

Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1704. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Utah Plaintiff and the Utah Subclass placed in

its representations.

      1705. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Utah Plaintiff and the Utah Subclass members,

highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.

      1706. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to



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such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Utah Plaintiff and the Utah Subclass members. Ford also had a duty

to disclose because it made general affirmative representations about the qualities of

its vehicles with respect to fuel efficiency, which were misleading, deceptive, and

incomplete without the disclosure of the additional facts set forth above regarding

the actual mileage of its vehicles. Having volunteered to provide information to

Utah Plaintiff and the Utah Subclass members, Ford had the duty to disclose not just

the partial truth, but the entire truth. These omitted and concealed facts were material

because they directly impact the value of the Coastdown Cheating Vehicles

purchased or leased by Utah Plaintiff and the Utah Subclass members. Whether an

automobile is fuel efficient and whether it accurately measures its own gasoline

consumption are material concerns to a consumer. Ford represented to Utah Plaintiff

and the Utah Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1707. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Utah Plaintiff

and the Utah Subclass.



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      1708. Ford has still not made full and adequate disclosures and continues to

defraud Utah Plaintiff and the Utah Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1709. Utah Plaintiff and the Utah Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Utah Plaintiff’s and the Utah Subclass members’ actions were justified. Ford was in

exclusive control of the material facts, and such facts were not generally known to

the public, Utah Plaintiff, or, Utah Subclass members.

      1710. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Utah Plaintiff and the Utah Subclass have

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Utah Plaintiff and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      1711. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Utah Plaintiff and the Utah Subclass for damages in an amount to be proven



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at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1712. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Utah Plaintiff’s and

the Utah Subclass’s rights and the representations that Ford made to them in order

to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an

amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Virginia Subclass

                                     COUNT 88

     VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                 (VA. CODE ANN. § 59.1-196 et seq.)

      1713. Plaintiff Kenneth Bernard (“Virginia Plaintiff”) hereby incorporate by

reference the allegations contained in the preceding paragraphs of this complaint.

      1714. This claim is brought by Virginia Plaintiff on behalf of the Virginia

Subclass.

      1715. The Virginia Consumer Protection Act (“Virginia CPA”) lists

prohibited “practices,” which include “[u]sing any other deception, fraud, false

pretense, false promise, or misrepresentation in connection with a consumer

transaction.” VA. CODE ANN. § 59.1-200.

      1716. Ford is a “supplier” under VA. CODE ANN. § 59.1-198.


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      1717. Each sale and lease of a Coastdown Cheating Vehicle was a “consumer

transaction” within the meaning of VA. CODE ANN. § 59.1-198.

      1718. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1719. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Virginia Plaintiff and the Virginia Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1720. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Virginia Plaintiff

and the Virginia Subclass.



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       1721. Ford knew or should have known that its conduct violated the Virginia

CPA.

       1722. Ford owed Virginia Plaintiff and the Virginia Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.      Possessed exclusive knowledge that it manipulated
                     the testing, certification, and onboard vehicle
                     reporting of fuel efficiency;

             b.      Intentionally concealed the foregoing from Virginia
                     Plaintiff and the Virginia Subclass; and/or

             c.      Made incomplete representations that it
                     manipulated the certification testing and failed to
                     disclose the true fuel economy or presence of a fuel
                     efficiency cheat device in the Coastdown Cheating
                     Vehicles, while purposefully withholding material
                     facts from Virginia Plaintiff and the Virginia
                     Subclass that contradicted these representations.

       1723. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Virginia Plaintiff and the

Virginia Subclass.

       1724. Virginia Plaintiff and the Virginia Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Virginia Plaintiff and the Virginia Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their




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vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Virginia CPA.

      1725. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Virginia CPA. As a direct and proximate result of

Ford’s violations of the Virginia CPA, Virginia Plaintiff and the Virginia Subclass

have suffered injury-in-fact and/or actual damage.

      1726. Ford’s violations present a continuing risk to Virginia Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1727. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1728. Pursuant to VA. CODE ANN. § 59.1-204, Virginia Plaintiff seek

monetary relief against Ford measured as the greater of (a) actual damages in an

amount to be determined at trial and (b) statutory damages in the amount of $500 for

each Plaintiff. Because Ford’s conduct was committed willfully and knowingly,




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Virginia Plaintiff is entitled to recover, for each plaintiff, the greater of (a) three

times actual damages or (b) $1,000.

      1729. Virginia Plaintiff also seeks an order enjoining Ford’s unfair and/or

deceptive acts or practices, punitive damages, and attorneys’ fees, and any other just

and proper relief available under VA. CODE ANN. § 59.1-204 et seq.

                                     COUNT 89

                             BREACH OF CONTRACT
                           (BASED ON VIRGINIA LAW)
      1730. Virginia Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1731. This claim is brought by Virginia Plaintiff on behalf of the Virginia

Subclass.

      1732. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Virginia Plaintiff and the Virginia Subclass to make their purchases

or leases of the Coastdown Cheating Vehicles. Absent those misrepresentations and

omissions, Virginia Plaintiff and the Virginia Subclass would not have purchased or

leased the Coastdown Cheating Vehicles, would not have purchased or leased the

Coastdown Cheating Vehicles at the prices they paid, and/or would have purchased

or leased less expensive alternative vehicles that did not contain the reduced mileage


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or fuel efficiency cheat device. Accordingly, Virginia Plaintiff and the Virginia

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      1733. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Virginia Plaintiff and the Virginia Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1734. As a direct and proximate result of Ford’s breach of contract, Virginia

Plaintiff and the Virginia Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                     COUNT 90

                            FRAUDULENT CONCEALMENT
                             (BASED ON VIRGINIA LAW)

      1735. Virginia Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.




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      1736. This claim is brought by Virginia Plaintiff on behalf of the Virginia

Subclass.

      1737. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Virginia Plaintiff and the Virginia Subclass information that

is highly relevant to their purchasing decision.

      1738. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1739. Ford further affirmatively misrepresented to Virginia Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1740. Ford knew these representations were false when made.




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      1741. The Coastdown Cheating Vehicles purchased or leased by Virginia

Plaintiff and the Virginia Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1742. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Virginia Plaintiff and the

Virginia Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1743. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1744. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Virginia Plaintiff and the Virginia Subclass did not know of these facts and

Ford actively concealed these facts from Virginia Plaintiff and the Virginia Subclass.



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      1745. Virginia Plaintiff and the Virginia Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Virginia Plaintiff and the Virginia Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Virginia Plaintiff and the Virginia Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1746. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Virginia Plaintiff and the Virginia Subclass

placed in its representations.

      1747. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Virginia Plaintiff and the Virginia Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1748. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



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far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Virginia Plaintiff and the Virginia Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Virginia Plaintiff and the Virginia Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Virginia Plaintiff and the

Virginia Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Virginia Plaintiff and the Virginia Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.




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      1749. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Virginia Plaintiff

and the Virginia Subclass.

      1750. Ford has still not made full and adequate disclosures and continues to

defraud Virginia Plaintiff and the Virginia Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1751. Virginia Plaintiff and the Virginia Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Virginia Plaintiff’s and the Virginia Subclass members’ actions were justified.

Ford was in exclusive control of the material facts, and such facts were not generally

known to the public, Virginia Plaintiff, or, Virginia Subclass members.

      1752. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Virginia Plaintiff and the Virginia Subclass have

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to



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suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Virginia Plaintiff and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      1753. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Virginia Plaintiff and the Virginia Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1754. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Virginia Plaintiff’s

and the Virginia Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

      Claims Brought on Behalf of the Washington Subclass
                                     COUNT 91

                    VIOLATION OF THE WASHINGTON
                      CONSUMER PROTECTION ACT
                  (WASH. REV. CODE ANN. § 19.86.010 et seq.)

      1755. Plaintiffs John Jung, Jeffrey Quizhpi, and Rick Shurtliff (“Washington

Plaintiffs”) hereby incorporate by reference the allegations contained in the

preceding paragraphs of this complaint.



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      1756. This claim is brought by Washington Plaintiffs on behalf of the

Washington Subclass.

      1757. The Washington Consumer Protection Act (“Washington CPA”)

broadly prohibits “[u]nfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” WASH. REV. CODE ANN.

§ 19.96.010.

      1758. Ford committed the acts complained of herein in the course of “trade”

or “commerce” within the meaning of WASH. REV. CODE ANN. § 19.96.010.

      1759. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable

consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1760. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Washington Plaintiffs and the Washington

Subclass members, about the true performance of the Coastdown Cheating Vehicles,



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the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1761. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Washington

Plaintiffs and the Washington Subclass.

      1762. Ford knew or should have known that its conduct violated the

Washington CPA.

      1763. Ford owed Washington Plaintiffs and the Washington Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.    Possessed exclusive knowledge that it manipulated
                  the testing, certification, and onboard vehicle
                  reporting of fuel efficiency;
            b.    Intentionally concealed the foregoing from
                  Washington Plaintiffs and the Washington
                  Subclass; and/or

            c.    Made incomplete representations that it
                  manipulated the certification testing and failed to
                  disclose the true fuel economy or presence of a fuel
                  efficiency cheat device in the Coastdown Cheating
                  Vehicles, while purposefully withholding material
                  facts from Washington Plaintiffs and the
                  Washington Subclass that contradicted these
                  representations.




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      1764. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Washington Plaintiffs and the

Washington Subclass.

      1765. Washington Plaintiffs and the Washington Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. Washington Plaintiffs and the Washington

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the Washington CPA.

      1766. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Washington CPA. As a direct and proximate result

of Ford’s violations of the Washington CPA, Washington Plaintiffs and the

Washington Subclass have suffered injury-in-fact and/or actual damage.

      1767. Ford’s violations present a continuing risk to Washington Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1768. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma



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attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1769. Ford is liable to Plaintiffs for damages in amounts to be proven at trial,

including attorneys’ fees, costs, and treble damages, as well as any other remedies

the Court may deem appropriate under WASH. REV. CODE ANN. § 19.86.090.

      1770. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Washington in

accordance with WASH. REV. CODE ANN. § 19.86.095.

                                    COUNT 92

                             BREACH OF CONTRACT
                          (BASED ON WASHINGTON LAW)

      1771. Washington Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      1772. This claim is brought by Washington Plaintiffs on behalf of the

Washington Subclass.

      1773. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Washington Plaintiffs and the Washington Subclass to make their

purchases or leases of the Coastdown Cheating Vehicles. Absent those


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misrepresentations and omissions, Washington Plaintiffs and the Washington

Subclass would not have purchased or leased the Coastdown Cheating Vehicles,

would not have purchased or leased the Coastdown Cheating Vehicles at the prices

they paid, and/or would have purchased or leased less expensive alternative vehicles

that did not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Washington Plaintiffs and the Washington Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1774. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Washington Plaintiffs and the Washington Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1775. As a direct and proximate result of Ford’s breach of contract,

Washington Plaintiffs and the Class have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.




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                                     COUNT 93

                           FRAUDULENT CONCEALMENT
                          (BASED ON WASHINGTON LAW)

      1776. Washington Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

      1777. This claim is brought by Washington Plaintiffs on behalf of the

Washington Subclass.

      1778. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Washington Plaintiffs and the Washington Subclass

information that is highly relevant to their purchasing decision.

      1779. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1780. Ford further affirmatively misrepresented to Washington Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling


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had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1781. Ford knew these representations were false when made.

      1782. The Coastdown Cheating Vehicles purchased or leased by Washington

Plaintiffs and the Washington Subclass were, in fact, defective, with reduced fuel

efficiency and a fuel efficiency cheat device.

      1783. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Washington Plaintiffs and

the Washington Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      1784. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.




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      1785. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Washington Plaintiffs and the Washington Subclass did not know of these

facts and Ford actively concealed these facts from Washington Plaintiffs and the

Washington Subclass.

      1786. Washington Plaintiffs and the Washington Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Washington Plaintiffs and the

Washington Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Washington Plaintiffs and the Washington

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      1787. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Washington Plaintiffs and the Washington

Subclass placed in its representations.

      1788. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because



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the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Washington Plaintiffs and the Washington

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1789. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Washington Plaintiffs and the Washington Subclass members. Ford

also had a duty to disclose because it made general affirmative representations about

the qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Washington Plaintiffs and the Washington Subclass members, Ford

had the duty to disclose not just the partial truth, but the entire truth. These omitted

and concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Washington Plaintiffs and the

Washington Subclass members. Whether an automobile is fuel efficient and whether



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it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Washington Plaintiffs and the Washington Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1790. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Washington

Plaintiffs and the Washington Subclass.

      1791. Ford has still not made full and adequate disclosures and continues to

defraud Washington Plaintiffs and the Washington Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1792. Washington Plaintiffs and the Washington Subclass were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Washington Plaintiffs’ and the Washington Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not



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generally known to the public, Washington Plaintiffs, or Washington Subclass

members.

      1793. Because of the concealment and/or suppression of the facts, and the

inclusion of a mileage cheat device, Washington Plaintiffs and the Washington

Subclass have sustained damage because they overpaid for their vehicles and own

vehicles that diminished in value as a result of Ford’s concealment, and suffered and

continue to suffer increased fuel costs over what was represented by Ford. Had they

been aware of the true facts, Washington Plaintiffs and Class members would not

have purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1794. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Washington Plaintiffs and the Washington Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      1795. Ford’s    acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Washington

Plaintiffs’ and the Washington Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.



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      Claims Brought on Behalf of the Wisconsin Subclass

                                   COUNT 94

                     VIOLATION OF THE WISCONSIN
                    DECEPTIVE TRADE PRACTICES ACT
                          (WIS. STAT. § 110.18)

      1796. Plaintiff   Stephen   Leszczynski    (“Wisconsin     Plaintiff”)   hereby

incorporates by reference the allegations contained in the preceding paragraphs of

this complaint.

      1797. This claim is brought by the Wisconsin Plaintiff on behalf of Wisconsin

Subclass.

      1798. The Wisconsin Deceptive Trade Practices Act (Wisconsin DTPA)

prohibits a “representation or statement of fact which is untrue, deceptive or

misleading.” WIS. STAT. § 100.18(1).

      1799. Ford is a “person, firm, corporation or association” within the meaning

of WIS. STAT. § 100.18(1).

      1800. Wisconsin Plaintiff and Wisconsin Class members are members of “the

public” within the meaning of WIS. STAT. § 100.18(1). Plaintiff purchased or leased

one or more Coastdown Cheating Vehicles.

      1801. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy, contain a

mileage cheat device; and that fuel economy were far worse than a reasonable



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consumer would expect given the premium paid for these vehicles over a comparable

vehicle. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1802. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Wisconsin Plaintiff and the Wisconsin

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1803. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Wisconsin

Plaintiff and the Wisconsin Subclass.

      1804. Ford knew or should have known that its conduct violated the

Wisconsin DTPA.

      1805. Ford owed Wisconsin Plaintiff and the Wisconsin Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:



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            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and onboard vehicle
                   reporting of fuel efficiency;

            b.     Intentionally concealed the foregoing from
                   Wisconsin Plaintiff and the Wisconsin Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy or presence of a fuel
                   efficiency cheat device in the Coastdown Cheating
                   Vehicles, while purposefully withholding material
                   facts from Wisconsin Plaintiff and the Wisconsin
                   Subclass that contradicted these representations.

      1806. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Wisconsin Plaintiff and the

Wisconsin Subclass.

      1807. Wisconsin Plaintiff and the Wisconsin Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Wisconsin Plaintiff and the Wisconsin Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Wisconsin DTPA.

      1808. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Wisconsin DTPA. As a direct and proximate result

of Ford’s violations of the Wisconsin DTPA, Wisconsin Plaintiff and the Wisconsin

Subclass have suffered injury-in-fact and/or actual damage.

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      1809. Ford’s violations present a continuing risk to Wisconsin Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1810. Because Ford fraudulently concealed the presence of a mileage cheat

device and the true fuel economy of the Coastdown Cheating Vehicles, resulting in

a raft of negative publicity once the defects finally began to be disclosed, the value

of the Coastdown Cheating Vehicles has greatly diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      1811. Plaintiff is entitled to damages and other relief provided for under WIS.

STAT. § 100.18(11)(b)(2). Because Ford’s conduct was committed knowingly and/or

intentionally, Plaintiff is entitled to treble damages.

      1812. Plaintiff also seeks court costs and attorneys’ fees under WIS. STAT.

§ 110.18(11)(b)(2).

                                      COUNT 95

                                BREACH OF CONTRACT
                              (BASED ON WISCONSIN LAW)

      1813. Wisconsin Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1814. This claim is brought by the Wisconsin Plaintiff on behalf of Wisconsin

Subclass.


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      1815. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the existence of the Coastdown Cheating Vehicles’

onboard fuel efficiency cheat device and lower fuel economy than advertised and

certified, caused Wisconsin Plaintiff and the Wisconsin Subclass members to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Wisconsin Plaintiff and the Wisconsin Subclass

members would not have purchased or leased the Coastdown Cheating Vehicles,

would not have purchased or leased the Coastdown Cheating Vehicles at the prices

they paid, and/or would have purchased or leased less expensive alternative vehicles

that did not contain the reduced mileage or fuel efficiency cheat device. Accordingly,

Wisconsin Plaintiff and the Wisconsin Subclass members overpaid for the

Coastdown Cheating Vehicles and did not receive the benefit of their bargain.

      1816. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Wisconsin Plaintiff and the Wisconsin Subclass

members defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.



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      1817. As a direct and proximate result of Ford’s breach of contract, Wisconsin

Plaintiff and the Wisconsin Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 96

                          FRAUDULENT CONCEALMENT
                           (BASED ON WISCONSIN LAW)
      1818. Wisconsin Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

      1819. This claim is brought by the Wisconsin Plaintiff on behalf of the

Wisconsin Subclass.

      1820. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Wisconsin Plaintiff and the

Wisconsin Subclass members information that is highly relevant to their purchasing

decision.

      1821. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


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provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1822. Ford further affirmatively misrepresented to Wisconsin Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects, had the advertised and certified fuel efficiency, and did

not reveal the existence of a mileage cheat device.

      1823. Ford knew these representations were false when made.

      1824. The Coastdown Cheating Vehicles purchased or leased by Wisconsin

Plaintiff and the Wisconsin Subclass members were, in fact, defective, with reduced

fuel efficiency and a fuel efficiency cheat device.

      1825. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Wisconsin Plaintiff and the

Wisconsin Subclass members relied on Ford’s material representations or omissions

of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      1826. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details



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about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency and existence

of a fuel efficiency cheat device, making other disclosures about the fuel efficiency

deceptive.

      1827. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications and inclusion of a fuel efficiency defeat device was known only to

Ford; Wisconsin Plaintiff and the Wisconsin Subclass members did not know of

these facts and Ford actively concealed these facts from Wisconsin Plaintiff and the

Wisconsin Subclass members.

      1828. Wisconsin Plaintiff and the Wisconsin Subclass members reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, Wisconsin Plaintiff and

the Wisconsin Subclass members did not, and could not, unravel Ford’s deception

on their own. Rather, Ford intended to deceive Wisconsin Plaintiff and the

Wisconsin Subclass members by concealing the true facts about the Coastdown

Cheating Vehicles’ lack of fuel efficiency.

      1829. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized



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profits and sales above the trust that Wisconsin Plaintiff and the Wisconsin Subclass

members placed in its representations.

      1830. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Wisconsin Plaintiff and the Wisconsin Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1831. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Wisconsin Plaintiff and the Wisconsin Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Wisconsin Plaintiff and the Wisconsin Subclass members, Ford had



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the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Wisconsin Plaintiff and the

Wisconsin Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Wisconsin Plaintiff and the Wisconsin Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1832. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Wisconsin

Plaintiff and the Wisconsin Subclass members.

      1833. Ford has still not made full and adequate disclosures and continues to

defraud Wisconsin Plaintiff and the Wisconsin Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      1834. Wisconsin Plaintiff and the Wisconsin Subclass members were

unaware of the omitted material facts referenced herein, and they would not have



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acted as they did if they had known of the concealed and/or suppressed facts, in that

they would not have purchased purportedly fuel efficient vehicles manufactured by

Ford, and/or would have taken other affirmative steps in light of the information

concealed from them. Wisconsin Plaintiff’s and the Wisconsin Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such

facts were not generally known to the public, Wisconsin Plaintiff, or the Wisconsin

Subclass members.

      1835. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Wisconsin Plaintiff and the Wisconsin Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1836. Ford’s     acts were done wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Wisconsin Plaintiff’s

and Wisconsin Subclass members’ rights and the representations that Ford made to

them were made in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.




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      Claims brought on behalf of the other state classes

                                    COUNT 97

      VIOLATION OF THE ALASKA UNFAIR TRADE PRACTICES
               AND CONSUMER PROTECTION ACT
              (ALASKA STAT. ANN. § 45.50.471 et seq.)

      1837. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1838. This claim is included here for notice purposes only. Once the statutory

notice period has expired, Plaintiffs will amend their complaint to bring this claim

on behalf of Alaska purchasers and lessees who are members of the Class.

      1839. The Alaska Unfair Trade Practices and Consumer Protection Act

(Alaska CPA) declared unfair methods of competition and unfair or deceptive acts

or practices in the conduct of trade or commerce unlawful, including “using or

employing deception, fraud, false pretense, false promise, misrepresentation, or

knowingly concealing, suppressing, or omitting a material fact with intent that others

rely upon the concealment, suppression or omission in connection with the sale or

advertisement of goods or services whether or not a person has in fact been misled,

deceived or damaged.” ALASKA STAT. ANN. § 45.50.471.

      1840. Pursuant to ALASKA STAT ANN. § 45.50.531, Plaintiffs will amend their

Complaint to seek monetary relief against Ford measured as the greater of (a) three




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times the actual damages in an amount to be determined at trial or (b) $500 for each

plaintiff.

       1841. Plaintiffs also will amend to seek an order enjoining Ford’s unfair,

unlawful, and/or deceptive practices pursuant to            ALASKA STAT. ANN.

§ 45.50.535(b)(1), attorneys’ fees, and any other just and proper relief available

under the Alaska CPA.

       1842. Plaintiffs sent a letter on June 20, 2019 complying with ALASKA STAT.

ANN. § 45.50.535(b)(1) to Ford.

                                    COUNT 98

         VIOLATION OF THE ARIZONA CONSUMER FRAUD ACT
                (ARIZONA REV. STAT. § 44-1521 et seq.)
       1843. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

       1844. This claim is brought by Plaintiffs on behalf of Arizona purchasers and

lessees who are members of the Class.

       1845. The Arizona Consumer Fraud Act (Arizona CFA) provides that “[t]he

act, use or employment by any person of any deception, deceptive act or practice,

fraud . . . , misrepresentation, or concealment, suppression or omission of any

material fact with intent that others rely upon such concealment, suppression or

omission, in connection with the sale . . . of any merchandise whether or not any

person has in fact been misled, deceived or damaged thereby, is declared to be an


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unlawful practice.” ARIZ. REV. STAT. § 44-1522(A). Ford failed to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, they contain a mileage cheat device that continually lies to the

consumer, and their mileage is far worse than a reasonable consumer would expect

given the premium paid for these vehicles and the representation made by Ford.

      1846. Ford, Plaintiffs, and Arizona Class members are “persons” within the

meaning of the Arizona CFA, ARIZ. REV. STAT. § 44-1521(6).

      1847. Each Coastdown Cheating Vehicle at issue is “merchandise” within the

meaning of ARIZ. REV. STAT. § 44-1521(5).

      1848. Ford’s conduct, as set forth above, occurred in the conduct of trade or

commerce.

      1849. Pursuant to the Arizona CFA, Plaintiffs seek monetary relief against

Ford in an amount to be determined at trial. Plaintiffs also seek punitive damages

because Ford engaged in aggravated and outrageous conduct with an evil mind.

      1850. Plaintiffs also seek an order enjoining Ford’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available

under the Arizona CFA.




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                                     COUNT 99

                      VIOLATION OF THE ARKANSAS
                    DECEPTIVE TRADE PRACTICES ACT
                     (ARK. CODE ANN. § 4-88-101 et seq.)
      1851. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1852. This claim is brought by Plaintiffs on behalf of Arkansas purchasers

and lessees who are members of the class.

      1853. The Arkansas Deceptive Trade Practices Act (Arkansas DTPA)

prohibits “[d]eceptive and unconscionable trade practices,” which include but are

not limited to “[e]ngaging in any . . . unconscionable false, or deceptive act or

practice in business, commerce, or trade.” ARK. CODE. ANN. § 4-88-107(a)(10). The

Arkansas DTPA also prohibits, in connection with the sale or advertisement of any

goods, “(1) the act, use, or employment by any person of any deception, fraud, or

pretense; or (2) the concealment, suppression, or omission of any material fact with

intent that other rely upon the concealment, suppression, or omission.” ARK CODE.

ANN. § 4-88-108. Ford failed to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford.




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      1854. Ford, Plaintiffs, and Arkansas Class members are “persons” within the

meaning of ARK. CODE. ANN. § 4-88-102(5).

      1855. Each Coastdown Cheating Vehicle at issue constitutes “goods” within

the meaning of ARK. CODE ANN. § 4-88-102(4).

      1856. Plaintiffs seek monetary relief against Ford in an amount to be

determined at trial. Plaintiffs also seek punitive damages because Ford acted

wantonly in causing Plaintiffs’ and Arkansas Class members’ injuries, or with such

a conscious indifference to the consequences that malice may be inferred.

      1857. Plaintiffs also seek an order enjoining Ford’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available

under the Arkansas DTPA.

                                   COUNT 100

                   VIOLATION OF THE CONNECTICUT
                    UNFAIR TRADE PRACTICES ACT
                   (CONN. GEN. STAT. § 42-110A et seq.)
      1858. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1859. This claim is brought by Plaintiffs on behalf of Connecticut purchasers

and lessees who are members of the Class.

      1860. The Connecticut Unfair Trade Practices Act (Connecticut UTPA)

provides: “No person shall engage in unfair methods of competition and unfair or



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deceptive acts or practices in the conduct of any trade or commerce.” CONN. GEN.

STAT. § 42-110b(a).

      1861. Plaintiffs, Connecticut Class members, and Ford are each a “person”

within the meaning of CONN. GEN. STAT. § 42-110a(3).

      1862. Ford’s challenged conduct occurred in “trade” or “commerce” within

the meaning of CONN. GEN. STAT. § 42-110a(4).

      1863. Plaintiffs and Connecticut Class members are entitled to recover their

actual damages, punitive damages, and attorneys’ fees pursuant to CONN. GEN. STAT.

§ 42-110g.

      1864. Ford acted with reckless indifference to another’s rights, or wanton or

intentional violation of another’s rights, and otherwise engaged in conduct

amounting to a particularly aggravated, deliberate disregard for the rights of others.

Therefore, punitive damages are warranted.

                                    COUNT 101

        VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT
                   (DEL. CODE TIT. 6, § 2513 et seq.)

      1865. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1866. This claim is brought by Plaintiffs on behalf of Delaware purchasers

and lessees who are members of the Class.




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      1867. The Delaware Consumer Fraud Act (Delaware CFA) prohibits the “act,

use, or employment by any person of any deception, fraud, false pretense, false

promise, misrepresentation, or the concealment, suppression, or omission of any

material fact with intent that others rely upon such concealment, suppression, or

omission, in connection with the sale, lease or advertisement of any merchandise,

whether or nor any person has in fact been misled, deceived, or damaged thereby.”

DEL. CODE TIT. 6, § 2513(a).

      1868. Ford is a “person” within the meaning of DEL. CODE TIT. 6, § 2511(7).

      1869. Ford’s actions, as set forth above, occurred in the conduct of trade or

commerce.

      1870. Plaintiffs seeks damages under the Delaware CFA for injury resulting

from the direct and natural consequences of Ford’s unlawful conduct. See, e.g.,

Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1980). Plaintiffs also

seek an order enjoining Ford’s unfair, unlawful, and/or deceptive practices,

declaratory relief, attorneys’ fees, and any other just and proper relief available under

the Delaware CFA.

      1871. Ford engaged in gross, oppressive, or aggravated conduct justifying the

imposition of punitive damages.




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                                   COUNT 102

                 VIOLATION OF THE HAWAII ACT § 480-2(A)
                      (HAW. REV. STAT. § 480 et seq.)

      1872. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1873. This claim is brought by Plaintiffs on behalf of Hawaii purchasers and

lessees who are members of the Class.

      1874. HAWAII REV. STAT. § 480-2(a) prohibits “unfair methods of

competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.”

      1875. Ford is a “person” under HAW. REV. STAT. § 480-1.

      1876. Plaintiffs and Hawaii Class members are “consumer[s]” as defined by

HAW. REV. STAT. § 480-1, who purchased or leased the Coastdown Cheating

Vehicles at issue.

      1877. Pursuant to HAW. REV. STAT. § 480-13, Plaintiffs seek monetary relief

against Ford measured as the greater of (a) $1,000 and (b) threefold actual damages

in an amount to be determined at trial.

      1878. Under HAW. REV. STAT. § 480-13.5, Plaintiffs seek an additional award

against Ford of up to $10,000 for each violation directed at a Hawaii elder. Ford

knew or should have known that its conduct was directed to one or more Plaintiffs

who are elders. Ford’s conduct caused one or more of these elders to suffer a


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substantial loss of property set aside for retirement or for personal or family care and

maintenance, or assets essential to the health or welfare of the elder. Plaintiffs who

are elders are substantially more vulnerable to Ford’s conduct because of age, poor

health or infirmity, impaired understanding, restricted mobility, or disability, and

each of them suffered a substantial physical, emotional, or economic damage

resulting from Ford’s conduct.

                                    COUNT 103

                        VIOLATION OF THE INDIANA
                      DECEPTIVE CONSUMER SALES ACT
                           (IND. CODE § 24-5-0.5-3)

      1879. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1880. This claim is included here for notice purposes only. Once the statutory

notice period has expired, Plaintiffs will amend their complaint to bring this claim

on behalf of Indiana purchasers and lessees who are members of the Class.

      1881. Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a

person from engaging in a “deceptive business practice[s]” or acts, including but not

limited to “(1) That such subject of a consumer transaction has sponsorship,

approval, performance, characteristics, accessories, uses, or benefits that they do not

have, or that a person has a sponsorship, approval, status, affiliation, or connection

it does not have; (2) That such subject of a consumer transaction is of a particular



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standard, quality, grade, style or model, if it is not and if the supplier knows or should

reasonably know that it is not; . . . (7) That the supplier has a sponsorship, approval

or affiliation in such consumer transaction that the supplier does not have, and which

the supplier knows or should reasonably know that the supplier does not have; . . .

(b) Any representations on or within a product or its packaging or in advertising or

promotional materials which would constitute a deceptive act shall be the deceptive

act both of the supplier who places such a representation thereon or therein, or who

authored such materials, and such suppliers who shall state orally or in writing that

such representation is true if such other supplier shall know or have reason to know

that such representation was false.”

      1882. Ford is a “person” within the meaning of IND. CODE § 25-5-0.5-2(a)(2)

and a “supplier” within the meaning of IND. CODE § 24-5-0.5-2(a)(3).

      1883. Plaintiffs’ vehicle purchases are “consumer transactions” within the

meaning of IND. CODE § 24-5-0.5-2(a)(3).

      1884. Pursuant to IND. CODE § 24-5-0.5-4, once the statutory notice period

has expired, Plaintiffs will seek monetary relief against Ford measured as the greater

of (a) actual damages in an amount to be determined at trial and (b) statutory

damages in the amount of $500 for each plaintiff, including treble damages up to

$1,000 for Ford’s willfully deceptive acts.




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      1885. Plaintiffs will also amend to seek punitive damages based on the

outrageousness and recklessness of Ford’s conduct.

      1886. On June 20, 2019, Plaintiffs sent a letter complying with IND. CODE

§ 24-5-0.5-5(a) to Ford.

                                     COUNT 104

                 VIOLATION OF THE IOWA PRIVATE RIGHT
                 OF ACTION FOR CONSUMER FRAUDS ACT
                       (IOWA CODE § 714h.1 et seq.)

      1887. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1888. This claim is brought by Plaintiffs on behalf of Iowa purchasers and

lessees who are members of the Class.

      1889. The Iowa Private Right of Action for Consumer Frauds Act (Iowa CFA)

prohibits any “practice or act the person knows or reasonably should know is an

unfair practice, deception, fraud, false pretense, or false promise, or the

misrepresentation, concealment, suppression, or omission of a material fact, with the

intent that others rely upon the unfair practice, deception, fraud, false pretense, false

promise, misrepresentation, concealment, suppression or omission in connection

with the advertisement, sale, or lease of consumer merchandise.” IOWA CODE

§ 714H.3.

      1890. Ford is a “person” under IOWA CODE § 714H.2(7).



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      1891. Plaintiffs and Iowa Class members are “consumers” as defined by IOWA

CODE § 714H.2(3) who purchased or leased one or more Coastdown Cheating

Vehicles.

      1892. Pursuant to IOWA CODE § 714H.5, Plaintiffs seek an order enjoining

Ford’s unfair and/or deceptive acts or practices, actual damages, statutory damages

up to three times the amount of actual damages awarded as a result of Ford’s willful

and wanton disregard for the rights of others, attorneys’ fees, and other such

equitable relief as the court deems necessary to protect the public from further

violations of the Iowa CFA.

                                   COUNT 105

      VIOLATION OF THE KANSAS CONSUMER PROTECTION ACT
                 (KAN. STAT. ANN. § 50-623 et seq.)

      1893. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1894. This claim is brought by Plaintiffs on behalf of Kansas purchasers and

lessees who are members of the Class.

      1895. The Kansas Consumer Protection Act (Kansas CPA) states “[n]o

supplier shall engage in any deceptive act or practice in connection with a consumer

transaction.” KAN. STAT. ANN. § 50-626(a). Deceptive acts or practices include but

are not limited to “the willful use, in any oral or written representation, of

exaggeration, falsehood, innuendo or ambiguity as to a material fact” and “the


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willful failure to state a material fact, or the willful concealment, suppression or

omission of a material fact.” KAN. STAT. ANN. § 50-626.

       1896. Plaintiffs and Kansas Class members are “consumers” within the

meaning of KAN. STAT. ANN. § 50-624(b) who purchased or leased one or more

Coastdown Cheating Vehicles.

       1897. Each sale or lease of a Coastdown Cheating Vehicle to Plaintiffs was a

“consumer transaction” within the meaning of KAN. STAT. ANN. § 50-624(c).

       1898. Pursuant to KAN. STAT. ANN. § 50-634, Plaintiffs seek monetary relief

against Ford measured as the greater of (a) actual damages in an amount to be

determined at trial and (b) statutory damages in the amount of $10,000 for each

plaintiff.

       1899. Plaintiffs also seek an order enjoining Ford’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper

relief available under KAN. STAT. ANN. § 50-623 et seq.

                                    COUNT 106

    VIOLATIONS OF THE KENTUCKY CONSUMER PROTECTION ACT
                (KY. REV. STAT. § 367.110 ET SEQ.).

       1900. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

       1901. This claim is brought by Plaintiffs on behalf of Kentucky purchasers

and lessees who are members of the Class.


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      1902. Ford and Kentucky Class members are “persons” within the meaning

of the KY. REV. STAT. § 367.110(1).

      1903. Ford engaged in “trade” or “commerce” within the meaning of KY.

REV. STAT. § 367.110(2).

      1904. The Kentucky Consumer Protection Act (“Kentucky CPA”) makes

unlawful “[u]nfair, false, misleading, or deceptive acts or practices in the conduct of

any trade or commerce ….” KY. REV. STAT. § 367.170(1).

      615. Pursuant to KY. REV. STAT. ANN. § 367.220, Plaintiffs and Kentucky

Class members seek to recover actual damages in an amount to be determined at

trial; declaratory relief; attorneys’ fees; and any other just and proper relief available

under KY. REV. STAT. ANN. § 367.220.

                                     COUNT 107

      VIOLATION OF THE MAINE UNFAIR TRADE PRACTICES ACT
             (ME. REV. STAT. ANN. TIT. 5, § 205-A et seq.)

      1905. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1906. This claim is brought by Plaintiffs on behalf of Maine purchasers and

lessees who are members of the Class.

      1907. The Maine Unfair Trade Practices Act (Maine UTPA) makes unlawful

“[u]nfair methods of competition and unfair or deceptive acts or practices in the

conduct of any trade or commerce.” ME. REV. STAT. ANN. TIT. 5, § 207.


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      1908. Ford, Plaintiffs, and Maine Class members are “persons” within the

meaning of ME. REV. STAT. ANN. TIT. § 5, 206(2).

      1909. Ford is engaged in “trade” or “commerce” within the meaning of ME.

REV. STAT. ANN. TIT. § 5, 206(3).

      1910. Pursuant to ME. REV. STAT. ANN. TIT. 5, § 213, Plaintiffs seeks an order

enjoining Ford’s unfair and/or deceptive acts or practices.

      1911. On June 20, 2019, Plaintiffs sent a letter complying with ME. REV.

STAT. ANN.      TIT.   5, § 213(1-A) to Ford. This claim is included here for notice

purposes only. Once the statutory notice period has expired, Plaintiffs will amend

their complaint to bring this claim on behalf of Maine purchasers who are members

of the Class.

                                      COUNT 108

                        VIOLATION OF THE MASSACHUSETTS
                           GENERAL LAW CHAPTER 93(A)
                        (MASS. GEN. LAWS CH. 93A, § 1, et seq.)
      1912. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1913. This claim is brought by Plaintiffs on behalf of Massachusetts

purchasers and lessees who are members of the Class.

      1914. Defendant is a “person” within the meaning of Mass. Gen. Laws ch.

93A, § 1(a).



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      1915.. Massachusetts law (the “Massachusetts Act”) prohibits “unfair or

deceptive acts or practices in the conduct of any trade or commerce.” Mass. Gen.

Laws ch. 93A, § 2. Ford participated in misleading, false, or deceptive acts that

violated the Massachusetts Act.

      1916. Pursuant to Mass. Gen. Laws ch. 93A, § 9, Plaintiffs and the

Massachusetts Subclass seek monetary relief against Ford measured as the greater

of (a) actual damages in an amount to be determined at trial and (b) statutory

damages in the amount of $25 for each Plaintiff and each Massachusetts Subclass

member.    Because FORD’s conduct was committed willfully and knowingly,

Plaintiffs are entitled to recover, for each Plaintiff and each Massachusetts Subclass

member, up to three times actual damages, but no less than two times actual

damages.

      1917. Plaintiffs also seek an order enjoining Ford’s unfair and/or deceptive

acts or practices, punitive damages, and attorneys’ fees costs, and any other just and

proper relief available under the Massachusetts Act.

      1918. On June 20, 2019, Plaintiffs sent a letter complying with MASS. GEN.

LAWS CH. 93A, § 9(3) to Ford.




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                                    COUNT 109

    VIOLATION OF THE MISSISSIPPI CONSUMER PROTECTION ACT
               (MISS. CODE. ANN. § 75-24-1 ET SEQ.)

      1919. Plaintiff hereby incorporates by reference the allegations contained in

the preceding paragraphs of this complaint.

      1920. This claim is brought by Plaintiffs on behalf of Mississippi purchasers

and lessees who are members of the Class.

      1921. The Mississippi Consumer Protection Act (Mississippi CPA) prohibits

“unfair or deceptive trade practices in or affecting commerce.” MISS. CODE ANN.

§ 75-24-5(1). Unfair or deceptive practices include but are not limited to

“(e) Representing that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities that they do not have or that a person has a

sponsorship, approval, status, affiliation, or connection that he does not have”; “(g)

Representing that goods or services are of a particular standard, quality, or grade, or

that goods are of a particular style or model, if they are of another”; and “(i)

Advertising goods or services with intent not to sell them as advertised and

certified.” MISS. CODE ANN. § 75-24-5(2).

      1922. Plaintiffs seek actual damages in an amount to be determined at trial

and any other just and proper relief available under the Mississippi CPA.




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                                     COUNT 110

                     VIOLATION OF THE NEW HAMPSHIRE
                        CONSUMER PROTECTION ACT
                     (N.H. REV. STAT. ANN. § 358-A:1 et seq.)
      1923. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1924. This claim is brought by Plaintiffs on behalf of New Hampshire

purchasers and lessees who are members of the Class.

      1925. The New Hampshire Consumer Protection Act (New Hampshire CPA)

prohibits a person, in the conduct of any trade or commerce, from “using any unfair

or deceptive act or practice,” including “but . . . not limited to, the following: . . .

[r]epresenting that goods or services have . . . characteristics, . . . uses, benefits, or

quantities that they do not have”; “[r]epresenting that goods or services are of a

particular standard, quality, or grade, . . . if they are of another”; and “[a]dvertising

goods or services with intent not to sell them as advertised and certified.” N.H. REV.

STAT. § 358-A:2.

      1926. Ford, Plaintiffs, and New Hampshire Class members are “persons”

under N.H. REV. STAT. ANN. § 358-A:1.

      1927. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.H. REV. STAT. ANN. § 358-A:1.




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      1928. Because Ford’s willful conduct caused injury to Plaintiffs’ property

through violations of the New Hampshire CPA, Plaintiff seeks recovery of actual

damages or $1,000, whichever is greater; treble damages; costs and reasonable

attorneys’ fees; an order enjoining Ford’s unfair and/or deceptive acts and practices;

and any other just and proper relief under N.H. REV. STAT. ANN. § 358-A:10.

                                     COUNT 111

                       VIOLATION OF THE NEW MEXICO
                        UNFAIR TRADE PRACTICES ACT
                        (N.M. STAT. ANN. § 57-12-1 et seq.)

      1929. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1930. This claim is brought by Plaintiffs on behalf of New Mexico purchasers

and lessees who are members of the Class.

      1931. The New Mexico Unfair Trade Practices Act (New Mexico UTPA)

makes unlawful “a false or misleading oral or written statement, visual description

or other representation of any kind knowingly made in connection with the sale,

lease, rental or loan of goods or services . . . by a person in the regular course of the

person’s trade or commerce, that may, tends to or does deceive or mislead any

person,” including but not limited to “failing to state a material fact if doing so

deceives or tends to deceive.” N.M. STAT. ANN. § 57-12-2(D). Ford failed to disclose

that the Coastdown Cheating Vehicles did not have the advertised and certified fuel



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economy and also contained a mileage cheat device to continually misrepresent their

fuel economy to the driver; and that the fuel economy was far worse than a

reasonable consumer would expect given the premium paid for these vehicles over

a comparable vehicle.

      1932. Ford, Plaintiffs, and New Mexico Class members are “person[s]” under

N.M. STAT. ANN. § 57-12-2.

      1933. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.M. STAT. ANN. § 57-12-2.

      1934. Because Ford’s unconscionable, willful conduct caused actual harm to

Plaintiffs, Plaintiffs seek recovery of actual damages or $100, whichever is greater;

discretionary treble damages; punitive damages; and reasonable attorneys’ fees and

costs, as well as all other proper and just relief available under N.M. STAT. ANN.

§ 57-12-10.

                                   COUNT 112

     VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                   (N.D. CENT. CODE § 51-15-02)

      1935. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1936. This claim is brought by Plaintiffs on behalf of North Dakota

purchasers and lessees who are members of the Class.




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      1937. The North Dakota Consumer Fraud Act (North Dakota CFA) makes

unlawful “[t]he act, use, or employment by any person of any deceptive act or

practice, fraud, false pretense, false promise, or misrepresentation, with the intent

that others rely thereon in connection with the sale or advertisement of any

merchandise.” N.D. CENT. CODE § 51-15-02.

      1938. Ford, Plaintiffs, and North Dakota Class members are “persons” within

the meaning of N.D. CENT. CODE § 51-15-02(4).

      1939. Ford engaged in the “sale” of “merchandise” within the meaning of

N.D. CENT. CODE § 51-15-02(3), (5).

      1940. Ford knowingly committed the conduct described above and therefore,

under N.D. CENT. CODE § 51-15-09, Ford is liable to Plaintiffs for treble damages in

amounts to be proven at trial, as well as attorneys’ fees, costs, and disbursements.

Plaintiffs further seek an order enjoining Ford’s unfair and/or deceptive acts or

practices, and other just and proper available relief under the North Dakota CFA.

                                   COUNT 113

    VIOLATION OF THE RHODE ISLAND UNFAIR TRADE PRACTICES
               AND CONSUMER PROTECTION ACT
                  (R.I. GEN. LAWS § 6-13.1 et seq.)

      1941. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.




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      1942. This claim is brought by Plaintiffs on behalf of Rhode Island purchasers

and lessees who are members of the Class.

      1943. Rhode Island’s Unfair Trade Practices and Consumer Protection Act

(Rhode Island CPA) prohibits “unfair or deceptive acts or practices in the conduct

of any trade or commerce,” including “[e]ngaging in any act or practice that is unfair

or deceptive to the consumer” and “[u]sing any other methods, acts or practices

which mislead or deceive members of the public in a material respect.” R.I. GEN.

LAWS § 6-13.1-1(6).

      1944. Ford, Plaintiffs, and Rhode Island Class members are “persons” within

the meaning of R.I. GEN. LAWS § 6-13.1-1(3).

      1945. Ford was engaged in “trade” and “commerce” within the meaning of

R.I. GEN. LAWS § 6-13.1-1(5).

      1946. Plaintiffs purchased or leased Coastdown Cheating Vehicles primarily

for personal, family, or household purposes within the meaning of R.I. GEN. LAWS

§ 6-13.1-5.2(a).

      1947. Plaintiffs are entitled to recover the greater of actual damages or $200

pursuant to R.I. GEN. LAWS § 6-13.1-5.2(a). Plaintiffs also seek punitive damages at

the discretion of the Court.




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                                   COUNT 114

         VIOLATION OF THE VERMONT CONSUMER FRAUD ACT
                (VT. STAT. ANN. TIT. 9, § 2451 ET SEQ.)

      1948. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1949. This claim is brought by Plaintiffs on behalf of Vermont purchasers and

lessees who are members of the Class.

      1950. The Vermont Consumer Fraud Act (Vermont CFA) makes unlawful

“[u]nfair methods of competition in commerce, and unfair or deceptive acts or

practices in commerce.” VT. STAT. ANN. TIT. 9, § 2453(a).

      1951. Ford was a seller within the meaning of VT. STAT. ANN.             TIT.   9,

§ 2451(a)(c).

      1952. Plaintiffs are entitled to recover “appropriate equitable relief” and “the

amount of [their] damages, or the consideration or the value of the consideration

given by [them], reasonable attorney’s fees, and exemplary damages not exceeding

three times the value of the consideration given by [them],” pursuant to VT. STAT.

ANN. TIT. 9, § 2461(b).




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                                   COUNT 115

                   VIOLATION OF THE WEST VIRGINIA
                 CONSUMER CREDIT AND PROTECTION ACT
                      (W. VA. CODE § 46A-1-101 et seq.)
      1953. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1954. This claim is included here for notice purposes only. Once the statutory

notice period has expired, Plaintiffs will amend their complaint to bring this claim

on behalf of West Virginia purchasers and lessees who are members of the Class.

      1955. Ford is a “person” under W. VA. CODE § 46A-1-102(31).

      1956. Plaintiffs and West Virginia Class members are “consumers” as defined

by W. VA. CODE §§ 46A-1-102(12) and 46A-6-102(2), who purchased or leased one

or more Coastdown Cheating Vehicles.

      1957. Ford engaged in trade or commerce as defined by W. VA. CODE § 46A-

6-102(6).

      1958. The West Virginia Consumer Credit and Protection Act (West Virginia

CCPA) prohibits “unfair or deceptive acts or practices in the conduct of any trade or

commerce.” W. VA. CODE § 46A-6-104. Without limitation, “unfair or deceptive”

acts or practices include:

             (I) Advertising goods or services with intent not to sell
             them as advertised and certified; . . .
             (L) Engaging in any other conduct which similarly creates
             a likelihood of confusion or of misunderstanding;

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             (M) The act, use or employment by any person of any
             deception, fraud, false pretense, false promise or
             misrepresentation, or the concealment, suppression or
             omission of any material fact with intent that others rely
             upon such concealment, suppression or omission, in
             connection with the sale or advertisement of any goods or
             services, whether or not any person has in fact been
             misled, deceived or damaged thereby; [and]
             (N) Advertising, printing, displaying, publishing,
             distributing or broadcasting, or causing to be advertised
             and certified, printed, displayed, published, distributed or
             broadcast in any manner, any statement or representation
             with regard to the sale of goods or the extension of
             consumer credit including the rates, terms or conditions
             for the sale of such goods or the extension of such credit,
             which is false, misleading or deceptive or which omits to
             state material information which is necessary to make the
             statements therein not false, misleading or deceptive.
W. VA. CODE § 46A-6-102(7).
      1959. Pursuant to W. VA. CODE § 46A-6-106, once the statutory notice period

has expired, Plaintiffs will amend to seek monetary relief against Ford measured as

the greater of (a) actual damages in an amount to be determined at trial and (b)

statutory damages in the amount of $200 per violation of the West Virginia CCPA

for each Plaintiff.

      1960. Plaintiffs will also amend to seek punitive damages against Ford

because it carried out despicable conduct with willful and conscious disregard of the

rights of others, subjecting Plaintiffs to cruel and unjust hardship as a result.

      1961. Plaintiffs further seek an order enjoining Ford’s unfair or deceptive acts

or practices, restitution, punitive damages, costs of Court, attorney’s fees under W.




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VA. CODE § 46A-5-101, et seq., and any other just and proper relief available under

the West Virginia CCPA.

      1962. On June 20, 2019, Plaintiffs sent a letter complying with W. VA. CODE

§ 46A-6-106(b) to Ford. This claim is included here for notice purposes only. Once

the statutory notice period has expired, Plaintiffs will amend their complaint to bring

this claim on behalf of West Virginia purchasers who are members of the Class.

                                    COUNT 116

     VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                   (WYO. STAT. § 40-12-105 et seq.)
      1963. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      1964. This claim is included here for notice purposes only. Once the statutory

notice period has expired, Plaintiffs will amend their complaint to bring this claim

on behalf of Wyoming purchasers and lessees owho are members of the Class.

      1965. Pursuant to WYO. STAT. § 40-12-108(a), once the statutory notice

period has expired, Plaintiffs will amend to seek monetary relief against Ford

measured as actual damages in an amount to be determined at trial, in addition to

any other just and proper relief available under the Wyoming CPA.

      1966. On June 20, 2019, Plaintiffs sent a letter complying with WYO. STAT.

§ 45-12-109 to Ford. If Ford fails to remedy their unlawful conduct, Plaintiffs will

seek all damages and relief to which Plaintiffs are entitled.


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         1967. Notice pursuant to: Alabama Code § 8-19-10(e); Alaska Statutes

§ 45.50.535; California Civil Code § 1782; Georgia Code § 10-1-399; Indiana Code

§ 24-5-0.5-5(a); Maine Revised Statutes, Title 5, § 50-634(g); Massachusetts

General Laws Chapter 93A, § 9(3); Texas Business & Commercial Code § 17.505;

West Virginia Code § 46A-6-106(b); and Wyoming Statutes § 40-12-109 was sent

to Ford on June 20, 2019.

         Claims Brought on Behalf of the Nationwide Class

                                     COUNT 117

         VIOLATION OF THE MAGNUSSON-MOSS WARRANTY ACT
                       (15 U.S.C. §§ 2301 et seq.)

         1968. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

         1969. Plaintiffs bring this Count on behalf of themselves and the Nationwide

Class.

         1970. This Court has jurisdiction to decide claims brought under the

Magnuson-Moss Warranty Act (for the purpose of this Count, the “Act”) by virtue

of 28 U.S.C. § 1332(a)-(d).

         1971. Plaintiffs and the other Nationwide Class members are “consumers”

who purchased “consumer products” for purposes of 15 U.S.C. § 2301(1) and (3)

because they purchased Coastdown Cheating Vehicles for personal, family, or

household purposes.


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      1972. Ford is a “supplier” and “warrantor” within the meaning of 15 U.S.C.

§ 2301(4) and (5) because the company regularly sells Ford vehicles accompanied

by written Limited Warranties.

      1973. The Coastdown Cheating Vehicles are “consumer products” within the

meaning of the Act. 15 U.S.C. § 2301(1).

      1974. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer

who is damaged by the failure of a warrantor to comply with a written or implied

warranty.

      1975. The amount in controversy of the Plaintiffs’ individual claims meets or

exceeds $25.00 in value. In addition, the amount in controversy meets or exceeds

$50,000 in value (exclusive of interest and costs) on the basis of all claims to be

determined in this lawsuit.

      1976. Ford provided Plaintiffs and the members of the Nationwide Class with

written and implied warranties, which are covered under 15 U.S.C. § 2301(6) and

(7), respectively.

      1977. Ford breached these written and implied warranties as described in

detail above. Ford expressly warranted in advertisements and consumer-facing

communications, including on the window stickers themselves that were affixed to

the Coastdown Cheating Vehicles, that the Coastdown Cheating Vehicles achieve a

fuel economy rating of specific MPGs. Ford impliedly warranted that the Coastdown



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Cheating Vehicles would conform to the descriptions promised in Ford’s

advertisements and consumer-facing communications.

      1978. Ford breached these express warranties because the Coastdown

Cheating Vehicles did not achieve the specific fuel economy rating Ford advertised.

Moreover, Ford breached these implied warranties because the Coastdown Cheating

Vehicles did not and do not conform to the descriptions advertised.

      1979. The terms of the warranties became part of the basis of the bargain

between Ford and the Plaintiffs and all other Class members when deciding to

purchase a Coastdown Cheating Vehicle.

      1980. Plaintiffs and each of the other Nationwide Class members have had

sufficient direct dealings with either Ford or its agents (including Ford dealerships)

to establish privity of contract between Ford, on the one hand, and Plaintiffs and

each of the other Nationwide Class members, on the other hand. Moreover, privity

is not required here because Plaintiffs and each of the other Nationwide Class

members are intended third-party beneficiaries of contracts between Ford and its

dealers. The dealers were not intended to be the ultimate consumers of the

Coastdown Cheating Vehicles and have no rights under warranty agreements

provided with the Coastdown Cheating Vehicles; the warranty agreements were

designed for and intended to benefit the consumers only.




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      1981. Because Ford knew of the defect at the time of the sale, it has waived

any opportunity to cure.

      1982. As a direct and proximate result of Ford’s breach of written warranties

and implied warranties of merchantability, Plaintiffs and Nationwide Class members

have suffered damages in an amount to be determined at trial.

      1983. Plaintiffs, individually and on behalf of the Nationwide Class, seek all

damages permitted by law, including without limitation compensation for the

additional fuel required to drive the Coastdown Cheating Vehicles, compensation

for the inconvenience associated with the additional fill-ups, and the monetary

difference between the Coastdown Cheating Vehicles as warranted and as sold,

along with all other incidental and consequential damages, statutory attorney fees,

and all other relief allowed by law.

                                       COUNT 118

                        BREACH OF EXPRESS WARRANTY
      1984. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      1985. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.

      1986. Defendant was a merchant with respect to motor vehicles.




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      1987. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

provided a favorable fuel economy of specific MPGs, depending on the vehicle.

      1988. These affirmations and promises were part of the basis of the bargain

between the parties.

      1989. Defendant breached these warranties arising from its advertisements,

including window stickers, because the fuel economy ratings for its vehicles were

inaccurate.

      1990. As a direct and proximate result of Ford’s breach of express warranties,

Plaintiffs and members of the Class have been damaged in an amount to be

determined at trial.

                                     COUNT 119

                                             FRAUD
      1991. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      1992. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.

      1993. Defendant affirmatively misrepresented and concealed material facts

concerning the fuel economy of its vehicles.




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      1994. Defendant had a duty to disclose the true fuel economy based on its

superior knowledge and affirmative misrepresentations to the contrary.

      1995. Defendant affirmatively misrepresented and/or actively concealed

material facts, in whole or in part, intending to induce Plaintiffs and members of the

Class to purchase or lease their vehicles and at a higher price than they otherwise

would have.

      1996. Plaintiffs and the Class were unaware of these omitted material facts

and would not have acted as they did if they had known of the concealed and/or

suppressed facts.

                                       COUNT 120

                       NEGLIGENT MISREPRESENTATION

      1997. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      1998. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.

      1999. Defendant made fuel economy representations to Plaintiffs and

members of the Class that were not true.

      2000. Defendant      had    no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Plaintiffs and

Class members rely on these misrepresentations.



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      2001. Plaintiff reasonably relied on Defendant’s representations and as a

result Plaintiff and Class member were harmed.

                                     COUNT 121

                               UNJUST ENRICHMENT
      2002. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      2003. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.

      2004. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Plaintiffs.

      2005. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Plaintiffs and other Class members. It would be inequitable and unjust

for Ford to retain these wrongfully obtained profits.

      2006. Plaintiffs, therefore, seek an order requiring Ford to make restitution to

them and other members of the Class.

                              REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, respectfully request that the Court enter judgment in their favor and against

Defendant, as follows:



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       A.     Determining this action may be maintained as a Class action with

respect to the Class and certify it as such under Rule 23(b)(3), or alternatively certify

all issues and claims that are appropriately certified, and designate and appoint

Plaintiffs as Class Representatives and their counsel as Class Counsel;

       B.     Declaring, adjudging, and decreeing the conduct of the Defendant as

alleged herein to be unlawful, unfair, and deceptive;

       C.     Requiring that all Class members be notified about the lower fuel

economy ratings and higher emissions at Ford’s expense and providing correct fuel

economy and emissions ratings;

       D.     Awarding Plaintiffs and Class members restitution of all monies paid

to Defendant as a result of unlawful, deceptive, and unfair business practices;

       E.     Awarding Plaintiffs and Class members actual, compensatory damages

as proven at trial;

       F.     Ordering disgorgement of all profits wrongfully received by Ford for

the Coastdown Cheating Vehicles.

       G.     Awarding Plaintiffs and Class members all statutory penalties and

exemplary damages, as allowed by law;

       H.     Awarding Plaintiffs and Class members any and all equitable relief;

       I.     Awarding Plaintiffs and Class members reasonable attorneys’ fees,

costs, and pre- and post-judgment interest;



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      J.    Awarding restitution, including at the election of Class members,

recovery of the purchase price of their Coastdown Cheating Vehicles, or the

overpayment or diminution in value of their Coastdown Cheating Vehicles; and

      K.    Such other or further relief as may be appropriate.

                         DEMAND FOR JURY TRIAL

      Plaintiffs hereby demand a jury trial for all claims so triable.

DATED: January 27, 2020                 Respectfully Submitted,

                                        By: /s/ E. Powell Miller
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                                        Sharon S. Almonrode (P33938)
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                                    Class




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                          CERTIFICATE OF SERVICE

       I hereby certify that, on January 27, 2020 I electronically filed the foregoing

 with the Clerk of the Court using the ECF system which will notify all counsel of

 record authorized to receive such filings.

                                              THE MILLER LAW FIRM, P.C.

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